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   Collective Bargaining Agreement

   Consumer Financial Protection Bureau
   and National Treasury Employees Union




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Preamble
The Congress finds that experience in both private and public employment indicates that the
statutory protection of the right of employees to organize, bargain collectively, and participate
through labor organizations of their own choosing in decisions which affect them, safeguards the
public interest, contributes to the effective conduct of public business, and facilitates and
encourages the amicable settlement of disputes between employees and Employers involving
conditions of employment; and

The public interest demands the highest standards of employee performance and the continued
development and implementation of modern and progressive work practices to facilitate and
improve employee performance and the efficient accomplishment of the operations of the
government; and

The Consumer Financial Protection Bureau, hereinafter referred to as the "Employer" and the
National Treasury Employees Union, Chapter 335 (and any other appropriate chapter in the
same bargaining unit as designated by the Union in the future), hereinafter referred to as the
"Union," do hereby make and enter into this agreement collectively; the Employer and the
Union will be known as the "Parties."

The Parties enter into this Agreement with every intention to deal with each other in good faith
and to be governed by honesty, reason, and mutual respect.




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    1. Recognition and Coverage
Section 1
The Employer recognizes the Union as the exclusive representative of the following unit of
employees:

       All professional and nonprofessional employees employed by the Consumer Financial
       Protection Bureau (CFPB) nationwide, excluding all supervisors, management officials,
       and employees described in 5 U.S.C. 7112 (b)(2), (3), (4), (6), and (7).




Section 2
When the term "employee" is used in this Agreement, it is understood by the Parties that only
bargaining unit employees are referred to, unless otherwise stated.




Section 3
During the term of this Agreement, the Employer agrees that all new employees employed in the
unit described in Section 1 above will be automatically covered under the terms and conditions
of this Agreement.




Section 4
To the extent that any preexisting local or midterm agreements or any local practices between
the Union and the Employer conflict with the express terms of this Agreement, the terms of this
Agreement shall apply. At any time during the duration of this Agreement, the Parties may
mutually agree to open one (1) or more Articles; or may mutually agree to modify language in
specific Articles.




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Section 5
Conditions of employment, applicable to a CFPB bargaining unit employee, are based on the
unit status of the position held by the employee. Therefore, bargaining unit employees, when
placed on a temporary promotion or formal detail to a non-bargaining unit position, are not
covered by the provisions of this Agreement during the time of the temporary assignment.

Provisions in this collective bargaining agreement between CFPB and NTEU containing the
phrase “the Employer has determined” or “Management has determined” denote a unilateral
determination by the CFPB that is placed in the Agreement for informational purposes. It is
understood that such determinations may be unilaterally changed by the Employer at any time
after notification to NTEU and any negotiations required by law.

Nothing in this Agreement may be interpreted as the Employer’s agreement or consent to
negotiate over the terms and conditions of employment of non-bargaining unit employees
and/or non-bargaining unit positions.




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     2. Effect of Law and
        Regulation
Section 1
In the administration of all matters covered by this Agreement, the Parties are governed by
existing or future laws.




Section 2
To the extent that provisions of the Employer's Rules and Regulations are in specific conflict
with this Agreement, the provisions of this Agreement will govern.




Section 3
Should any conflict arise between the terms of this Agreement and any Government-Wide
Rule/Regulation or Employer Rule/Regulation issued after the effective date of this Agreement,
the terms of this Agreement will supersede and govern unless specifically indicated otherwise.




Section 4
Nothing in this Agreement constitutes a waiver of the Employer's rights under 5 U.S.C. Section
7106(a).




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     3. Employee Rights
Section 1
Each Employee shall have the right to form, join, or assist the Union, or to refrain from any such
activity, freely and without fear of penalty or reprisal, and each employee shall be protected in
the exercise of such right. Except as otherwise provided under this Agreement, such right
includes the right:

A. to act for a labor organization in the capacity of a representative and the right, in that
     capacity, to present the views of the labor organization to the Employer or otherwise
     appropriate authorities; and

B. to engage in collective bargaining with respect to conditions of employment through
representatives chosen by Employees under this Agreement.




Section 2
The initiation of a grievance in good faith by employees will not cause any reflection on their
standing with their supervisor or on their loyalty or desirability to the organization. Employees
and Union stewards who have relevant information concerning any matter for which remedial
relief is available under this Agreement will, in seeking resolution of such matter, be assured
freedom from restraint, interference, coercion, discrimination, intimidation or reprisal. The
Employer will not impose any restraint, interference, coercion or discrimination, or reprisal
against any employee in the exercise of his or her right to designate a Union steward for the
purpose of representing to the Employer any matter of concern or dissatisfaction or of
representing the employee to any Government agency or official other than the Employer.




Section 3
Nothing in this Agreement will require an employee to become or remain a member of a labor
organization or to pay money to the organization, except pursuant to a voluntary written



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authorization by a member for payment of dues through payroll deductions or by voluntary cash
dues payment by a member.




Section 4
The Employer will recognize and respect the dignity of each employee in the formulation and
implementation of personnel policies and practices.




Section 5
It is understood that an employee must follow supervisory orders, directions, or assignments.

A. The Employer will not adversely affect the employee as a result of carrying out the lawful
orders, directions, or assignments of a supervisor, or attempting in good faith to carry out such
lawful orders, directions, or assignments, except to the extent that employee fails to meet
established performance standards in carrying out such orders, directions, or assignments.

B. If an employee disputes the legality of his or her supervisor's order, direction, or assignment
     based on the employee's belief that it violates a law, rule, regulation, or published Code of
     Ethics/Professional Responsibility:

       1. The employee will discuss the dispute/difference and the basis for it with his or her
           supervisor with the intent of resolving the dispute/difference.

       2. If unresolved, the employee may seek review of the dispute by his or her next level
           supervisor or the supervisor’s designee, who will assess the matter and inform the
           employee of his or her determination regarding the dispute.

       3. If unresolved, the employee may request that the decision be put in writing.
           Thereafter, the immediate supervisor or supervisor’s designee shall give the
           instructions to the employee in writing. The Employer shall assume full responsibility
           for those instructions if they are carried out in the manner prescribed by the
           supervisor.




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        4. In addition, professional employees whose professional license must be maintained as
            a condition of employment (e.g., Series 905 Attorneys) may consult with the body
            responsible for the enforcement of the Code of Professional Responsibility in the State
            or District in which he or she is licensed for guidance, and, upon receipt, provide such
            guidance to the supervisor. Prior to the receipt of such guidance, the professional
            shall not be required to sign any disputed document. If the guidance provided
            indicates that the action is inappropriate, the professional shall not be required to sign
            any subsequent documents related to that action.

C. At such time as the employee has complied with a supervisor's direction or assignment, he or
     she may file a grievance, complaint, or appeal, as appropriate, to seek a remedy to any
     alleged violation of his or her rights.

D. An employee who has questions concerning an interpretation or application of standards of
     ethical conduct in which he or she has a direct personal interest is encouraged to raise his or
     her questions with the CFPB Ethics Mailbox.




Section 6
A. A bargaining unit employee will be granted a reasonable amount of duty time to confer with
     his or her Union representative concerning matters for which he or she can receive remedial
     relief under this Agreement and to attend and prepare for any proceeding listed in the
     Official Time Article, in which the employee is a proper participant (e.g., as a mutually
     agreed upon witness or, if allowed, to testify as a technical advisor in lieu of the Union
     representative).

B. Employee will submit a request for time away from official duties and state the general
     purpose for the time and the amount of time being requested in accordance with the
     provisions in the Official Time Article. The use of duty time must be requested by the
     employee to their supervisor, which will generally be 24 hours in advance. The supervisor
     shall normally grant the employee’s request unless the requested duration is unreasonable,
     or the employee’s absence would substantially interfere with business needs. If the employee
     has provided reasonable advance notice, but the Employer fails to act on the request in a
     timely fashion, the request will be considered as approved for up to 2 hours per day until the




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     supervisor or designee approves/denies the request. The employee will notify his/her
     supervisor upon return to the worksite.




Section 7
A. Employees have the right to Union representation at any examination of them by the
     Employer or the Inspector General (IG) in connection with an investigation, if the employee
     reasonably believes that the examination may result in disciplinary action against him or her
     and the employee so requests representation.

B. In meetings with the Employer only, if the requested representation is not available, the
     meeting will be postponed, but not more than two (2) workdays. This time limit may be
     extended by mutual consent of the parties prior to the expiration of such time limit. If within
     that time the Union cannot provide a representative, the employee may not delay the
     meeting further. If, due to emergency circumstances, the Employer cannot delay the meeting
     for up to two workdays, the employee and the Union will be notified immediately, and the
     Union will be provided a reasonable time to provide a representative.

C. The Union’s role as representative of an employee during an examination, conducted by the
     Employer only, is to:

       1. assist the employee in clarifying the facts,

       2. suggest other individuals who have knowledge of the facts,

       3. raise other facts that may impact on the final decision in the matter,

       4. advise the employee,

       5. take notes, including names of participants, questions, and responses.

To the maximum extent possible, all examinations of employees conducted by the Employer
only as described in Section 7.A. above will be conducted in a private room.

D. A grievant, appellant, or an employee will receive duty time, in accordance with approval
     procedures in Section 6 of this Article, to meet telephonically or via video conference unless
     both parties agree to meet in person to address the following:


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      1. grievance meetings with the Employer;

      2. arbitration hearings if the Employee is still on the rolls;

      3. oral reply meetings for a notice of proposed disciplinary or adverse action;

      4. an adverse action hearing if the Employee is still on the rolls;

      5. other statutory appeal hearings if the Employee is still on the rolls;

      6. meetings for the purpose of presenting replies to notices of termination of a
          probationary Employee in accordance with Section 4 of the Probationary/Trial Period
          Employees Article, if the Employee is still on the rolls; and,

      7. an examination by a representative of the Employer in connection with an
          investigation which may lead to disciplinary action.

When the Parties mutually agree to meet in person, travel reimbursement will be provided to an
employee on the rolls.




Section 8
The Employer agrees that it will apply 5 C.F.R. Parts 2635 and 9401 (Standards of Ethical
Conduct) in accordance with law.




Section 9
The EMPLOYER agrees to extend coverage of the Reimbursement of Private Counsel Fees and
Expenses Policy (Approved 11/03/14) to bargaining unit employees.




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     4. Employer Rights
Section 1
A. Consistent with 5 U.S.C. 7106 and subject to section C of this section, nothing in this Article
     or the Federal Service Labor Management Relations Statute (Statute) shall affect the
     authority of the Employer:

       1. To determine the mission, budget, organization, number of employees, and internal
           security practices of the CFPB; and in accordance with applicable laws -to hire, assign,
           direct, layoff, and retain employees in the agency, or to suspend, remove, reduce in
           grade, or pay, or take other disciplinary action against such employees;

       2. to assign work, to make determinations with respect to contracting out, and to
           determine the personnel by which agency operations shall be conducted;

       3. with respect to filling positions, to make selections for appointments from –

        a. among properly ranked and certified candidates for promotion; or

        b. any other appropriate source; and

       4. to take whatever actions may be necessary to carry out the CFPB's mission during
           emergencies; and

B. Nothing in this Article or the Statute shall preclude the Employer and the Union from
     negotiating:


       1. at the election of the agency, on the numbers, types and grades of employees or
           positions assigned to any organizational subdivision, work project, or tour of duty, or
           on the technology, methods and means of performing work;

       2. procedures which management officials of the agency will observe in exercising any
           authority under this Article or Statute; or




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       3. appropriate arrangements for employees adversely affected by the exercise of any
           authority under this Article or Statute by such management officials.

C. The Employer retains all other rights in accordance with applicable laws and regulations,
     except for those specific modifications contained in this Agreement.




Section 2
The Union will recognize and respect the dignity of the Employer in connection with all matters
pertaining to the Union's representation of employees.




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     5. Union Rights
Section 1
A. The Union is the exclusive representative of the employees in the unit and is entitled to act
     for and represent the interests of all employees in the unit.

B. The Union shall have the right to present its views, either orally or in writing, to the
     Employer on any matters of concern regarding personnel policies and practices and matters
     affecting working conditions.




Section 2
A. The Union has the right to attend and send a representative of its own choosing to any
     formal discussion as defined by 5 USC Section 7114 (a)(2)(A) between the Employer and one
     or more employees in the unit concerning any grievance or any personnel policy or practice
     or other general conditions of employment. The Union agrees that in order to conserve costs
     it will designate a local representative in the office where the formal meeting is being held or
     will be given the opportunity to join remotely. Advance notification will be given to the
     Chapter President, or individual designated by the Union, as soon as the meeting is
     scheduled, or as soon as practicable thereafter. That notice will include the date, time,
     location, and purpose of the meeting. This advance notice will be given unless the Employer
     has been prevented from doing so because of a bona fide emergency.

B. At those formal meetings where the Union has chosen to be represented, the Employer or
     the Union will identify the designated Union representative. The Union representative may
     ask relevant questions and present a brief statement outlining the Union’s position
     concerning the issues addressed at that meeting. The Union representative cannot use his or
     her attendance to disrupt the meeting or to undermine the Employer's position at the
     meeting. The Employer retains the right to terminate the meeting.




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Section 3
Consistent with law, nothing in this Article or in this Agreement shall be interpreted so as to
limit management from meeting informally with an employee without the Union being given the
opportunity to be represented at such informal meetings. However, if during the course of such
an informal meeting an employee reasonably believes that the questions from management may
result in disciplinary action against him or her, or if the meeting turns into a formal meeting as
defined in 5 USC 7114(a)(2)(A), the employee may request the presence of a union
representative for the remainder of the meeting.




Section 4
The Union may refuse to represent employees in proposed disciplinary actions and in statutory
appeals (for example, adverse actions, unacceptable performance actions, Equal Employment
Opportunity complaints).




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     6. Equal Employment
        Opportunity
Section 1
A. The Employer and the Union affirm their commitment to the principles of equal employment
     opportunity and workplace fairness. The Employer will promote a workplace environment
     that is free of discrimination and one which capitalizes on respect, inclusion, dignity, and
     integrity, and values the diversity of its workforce.

B. The Employer will provide material pertaining to the agency’s policies and applicable federal
     regulations, laws and Executive Orders governing equal employment opportunity posting
     relevant materials on the CFPB intranet.

C. The Employer and the Union recognize that no employee may discriminate against others
     based on race, color, religion, sex (including pregnancy, sexual orientation, transgender
     status, gender identity or expression, gender nonconformity, or sex stereotyping of any
     kind), national origin, age (40 or more), disability, protected genetic information, marital
     status, parental status, prior EEO or whistleblower activity consistent with Federal laws,
     regulations, Executive Orders, and sub-regulatory guidance.

D. The Employer recognizes its obligation under the Rehabilitation Act of 1973, as amended, to
     reasonably accommodate the known physical and/or mental limitation of an otherwise
     qualified employees with a disability, barring undue hardship.

E. The Employer recognizes its obligation under Title VII of the Civil Rights Act of 1964, as
     amended, to provide reasonable accommodation for an employee’s sincerely held religious
     observances, practices, and beliefs, barring undue hardship.

F. The Employer recognizes its obligation under the Pregnant Workers Fairness Act of 2022 to
     provide reasonable accommodation to a qualified employee's known limitations related to,
     affected by, or arising out of pregnancy, childbirth, and/or related medical conditions,
     barring undue hardship.



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Section 2
A. The Employer's Equal Employment Opportunity (EEO) Program shall be designed,
     implemented, and administered by the Employer in accordance with applicable laws,
     regulations, EEOC Directives and the provisions of this Article.

B. The Employer will provide appropriate training to all employees on EEO-related matters, as
     determined by the Employer.




Section 3
A. On an annual basis, the Employer will publish the Equal Employment Opportunity (EEO)
     Program Status Report (MD-715 report) on consumerfinance.gov. Upon request the
     Employer will make available a copy of the most recently published Equal Employment
     Opportunity (EEO) Program Status Report (MD-715 report).

B. In accordance with the No FEAR Act, the Employer will publish regular reports on the aggregate
     numbers and types of EEO discrimination complaints filed that fiscal year against the
     Employer. These reports shall not include information prohibited from disclosure under
     applicable laws, rules, or regulations.




Section 4
The Employer will provide EEO counselors for counseling activities for all CFPB employees and a
place to speak privately with an employee for counseling purposes. The Employer will identify
intake specialists on the CFPB intranet. Employees may contact an intake specialist or contact
the Office of Civil Rights to obtain general information about the EEO counseling process.
Aggrieved employees must contact the Employer’s EEO office to obtain counseling services.




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Section 5
An Employee who wishes to file an EEO complaint first must initiate contact with the OCR
within forty-five (45) days of the date of the matter alleged to be discriminatory or, in the case of
personnel action, within forty-five (45) days of the effective date of the action. The Employer
shall extend the forty-five (45) day time limit when the individual shows that he or she was not
notified of the time limits and was not otherwise aware of them, that he or she did not know and
reasonably should not have been known that the discriminatory matter or personnel action
occurred, that despite due diligence he or she was prevented by circumstances beyond his or her
control from contacting the OCR within the time limits, or for other reasons considered
sufficient by the agency.




Section 6
Pursuant to 5 USC 7121(d), a claim involving discrimination based upon race, color, sex
(including pregnancy, sexual orientation, transgender status, gender identity or expression,
gender nonconformity, or sex stereotyping of any kind), religion, national origin, age (40+),
disability, protected genetic information, or prior protected EEO activities may, at the discretion
of the employee, be raised under either the Bureau’s Part 1614 EEO complaint process or
through the negotiated grievance procedure, but not both. When a timely written grievance is
filed by an Employee or by the Union on behalf of an Employee(s) pursuant to the Grievance
Procedures and Arbitration article, the Employee may not thereafter file a complaint on the
same matter under the Bureau’s Part 1614 EEO complaint process, irrespective of whether the
Bureau has informed the individual of the need to elect or whether the grievance has raised an
issue of discrimination. OCR determines whether the claim involves the “same matter” by
applying relevant legal authorities. Similarly, when an Employee or his or her representative
files a Formal EEO Complaint on a matter, they have elected to pursue that matter through the
Part 1614 EEO complaint process and cannot later bring that same matter before the Parties’
negotiated grievance procedure. Pursuit of informal EEO counseling does not constitute a
Formal EEO Complaint for this purpose.




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Section 7
A. Any employee seeking to file an EEO administrative complaint, or any employee participating
     in the Employer's administrative complaint process, shall be free from restraint, coercion,
     interference, or reprisal.

B. During both the pre-complaint counseling stage and all other stages of the complaint
     process, the employee shall have the right to be accompanied, represented, and advised by a
     personally chosen representative when there is no apparent or actual conflict of interest as
     determined by OCR. The representative may be an employee of the Bureau and does not have to be
     an attorney. Both the employee and the employee's representative (if the representative is a
     CFPB Employee) shall be afforded a “reasonable amount of EEO official time” for processing
     the employee's complaint. Determinations about 'reasonable' amounts of official time are
     made by the relevant management official in accordance with EEOC guidance and applicable
     Bureau policies (e.g., EEO & Nondiscrimination Policy)

C. Individuals who require EEO official time in order to participate in the EEO process must
     request in advance the use of EEO official time from their supervisor in accordance with the
     Bureau’s EEO policy, providing the date, number of hours requested, and a general
     description of the activities to their supervisor in writing.




Section 8
The Employer may offer as appropriate alternative dispute resolution (ADR), which provides
voluntary dispute resolution options for using a neutral (e.g., mediator) to assist in the resolution
of allegations of discrimination raised in the Part 1614 EEO complaint process. The Employee
may be accompanied by a Union representative to formal meetings that occur throughout the
EEO process. The Union has the right to attend any EEO-related meeting that constitutes a
formal meeting under the Statute, to the extent provided by law.




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     7. Employee Personnel Files
Section 1
A. As used in this Article, employee personnel file means any item, collection, or grouping of
     information about an employee that is maintained by the Employer and is retrievable by the
     employee’s name or other personal identifier.

B. All employee personnel files will be maintained in accordance with applicable law and
     regulation, including the Privacy Act of 1974, as amended. The Employer will purge records
     in accordance with the Employer’s record retention standards.

C. Managers or other representatives of the Employer may not maintain any employee
     personnel file in violation of any law or regulation, including the Privacy Act of 1974, as
     amended. Managers may maintain a file containing personal notes and emails relating to an
     employee solely for the purpose of making a contemporaneous record regarding an
     employee’s performance and/or conduct. Personal notes may not be disseminated in any
     form and will remain in the exclusive possession of the originator. The employee will be
     provided notice regarding any document added to his/her personnel file. The employee may
     review and copy material about him or her in any system of records in accord with the
     procedures set out in the Privacy Act.

       1. Employee personnel files will be kept safe and secure at all times in accordance with all
           applicable laws and regulations and agency policy. Disclosure of and access to
           information from employee personnel files will be in accordance with applicable laws
           and regulations. Access within the Employer will be limited to personnel who have a
           need for the record in the performance of their duties. The Employer will ensure that
           any vendors who process or otherwise come into the possession of employee
           information have in place procedures to ensure compliance with applicable privacy
           laws and regulations, and to safeguard employee information against identity theft.

       2. To the extent practicable, the Employer will use employee identification numbers that
           are different from employees’ social security numbers, for system access and on time and




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           travel reports, leave forms, and other personnel records to help preserve the
           confidentiality of employee information it possesses.

       3. If the Employer changes its method of storing personnel file information, Employer
           will ensure all employees or their personally designated representatives have
           continued access to such information or its equivalent. The Union will also be notified
           of any changes in the Employer’s system of records regarding the storing of employee
           personnel files.

       4. Employee personnel records and other information relating to disciplinary actions,
           grievances, EEO complaints or EAP counseling or other similar matters are
           considered confidential, and will only be shared with other employees, supervisors, or
           management officials on a need-to-know basis.




Section 2
A. The Employer will maintain all Employee Personnel Files in Electronic Personnel Folder
     (eOPF). The eOPF is an electronic version of the paper Official Personnel folder (OPF) that
     provides web-enabled secure access for all employees. Each employee has access to his/her
     eOPF. Employees can view and print document copies contained in his/her eOPF.
     Documents cannot be deleted or edited in eOPF by the employee.

B. Employees are notified by email when a document is placed in his/her eOPF.

C. eOPFs will be kept and maintained in accordance with applicable laws and regulations.

D. In accordance with the contract provisions governing adverse personnel actions, expired or
     outdated information (including actions overturned in a grievance or other appeal) will be
     purged from an Employee’s eOPF.

E. Nothing in this agreement shall be interpreted to restrict the Employer’s ability to release
     information about an employee pursuant to applicable laws or regulations, including the
     Privacy Act of 1974, as amended, or the Freedom of Information Act, as amended.




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     8. Health and Safety
Section 1
The Employer will, to the extent of its authority and consistent with the applicable requirements
of Title 29 of the Code of Federal Regulations, as well as other applicable health and safety codes
and standards, provide and maintain safe and healthful working conditions for all employees and
will provide places of employment that are free from recognized hazards. With the exception of
Section 12, the provisions of this article only apply to workspace that the Bureau operates and
controls.




Section 2
A. The Employer will:

      1. Investigate reports of unhealthy or unsafe working conditions as soon as practicable;

      2. Inform employees of the emergency and evacuation procedures and requirements at all
            of its facilities, based on information provided by building management, as
            appropriate;

      3. Provide appropriate and adequate health and safety training for employees, including
            offering annual CPR/AED training and refresher courses for employees, with official
            time or administrative leave provided for taking the course.

      4. A list of names and phone numbers for Floor Wardens will be created and posted to
            the Shelter in Place locations semi-annually, or when roster changes occur. Employees
            should follow established emergency procedures, and should not rely on the
            availability of any listed volunteers.

      5. Conduct annual evacuation drills in CFPB-controlled office space;




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       6. Offer to conduct an emergency management briefing to discuss procedures at least
           annually at each location of the Employer where no drill is conducted (to the extent
           space is available for this meeting in non-leased offices);

       7. Conduct annual safety inspections and routinely check measurements of temperature,
           humidity, and air flow to ensure adequate indoor air quality. In addition, inspection
           and testing of the ventilation, heating and air conditioning systems (to make sure it is
           working according to specifications for building use and occupancy) will be routinely
           performed in accordance with equipment manufacturers’ recommendations. If any
           occupant has an indoor air quality or drinking (tap water) quality concern, they must
           report it to the Facilities Office and the Facilities Office will address and use
           recommended inspections/testing standards and methods to identify and resolve the
           concern. A Union representative can accompany Employer management on any
           health and safety inspections.

       8. If requested, the Union will be provided with the results of any health and safety
           inspections of Employer-controlled space.

       9. Notify the Chapter President, or designee, of any planned construction or renovation
           expected to significantly impact air quality or working conditions of employees at least
           thirty (30) days in advance, except in cases of emergency. The Employer will also
           notify the Union and affected employees in advance, whenever practicable, before
           hazardous chemicals are to be used in its facilities (other than janitorial chemicals
           typically used in and around office buildings).

       10. If an employee raises a reasonable concern of possible injury or harm from conditions
           in his/her workplace, the Employer and the Union will promptly discuss appropriate
           arrangements for the affected employee(s), which may include temporary relocation
           to another workspace, telework or administrative leave.

B. The Union agrees to promptly notify the Employer of any safety and health concerns or
     possible compliance problems. The Union maintains its right to directly contact appropriate
     public officials and organizations (e.g., OSHA), provided that the Union does not interfere
     with the Employer’s efforts to correct any known health and safety concern.

C. The Union, at its cost, may request to schedule or arrange for a health and/or safety
     inspection of any Employer-leased office. The Union will provide reasonable notice to the


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     Employer of its intention to initiate an inspection. The Employer will not unreasonably deny
     such requests. The Union will comply with any conditions of the lease or landlord when
     arranging for inspections. The Employer has the right to accompany the inspector on any
     such inspection.




Section 3
A. The Employer will take appropriate action to ensure that employees are familiar with the
     proper means of leaving the building during a suspected fire, bomb threat, or other
     emergency. Where a fire, bomb threat or other emergency in the building is reasonably
     suspected, the Employer will evacuate all affected employees to safer areas. Employer will
     recruit and train annually all volunteer employee evacuation floor wardens, shelter in place
     wardens, and cabinet wardens to cover emergencies. Reflective vests will be provided to
     floor wardens and helmets and flashlights will be placed in shelter-in-place lockers.

B. The Employer shall continue to maintain emergency evacuation procedures that include
     provisions for evacuating disabled employees.

C. The Employer will maintain appropriate emergency and safety equipment and supplies and
     emergency kits for employees.

D. The employer will coordinate with building management to test building emergency alarm
     systems, conduct evacuation drills, and public address systems annually.




Section 4
A. Employees should notify their supervisors of non-urgent or specific threats if any individual
     threatens them in person or in writing or prevents them from performing their duties, or if
     they otherwise fear for their physical safety at any work location. The Employer will establish
     appropriate protocols and procedures for evaluating the credibility of reported threats and
     responding to threatening situations.




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B. An employee should notify the Employer of any other health and safety concerns observed in
     the workplace. An employee will not be subject to restraint, interference, coercion,
     discrimination, or reprisal for reporting an unsafe or unhealthful working condition.

C. An employee will contact 911 and notify the Employer of situations at the employee’s
     workplace where there is imminent danger. The term “imminent danger” means any
     conditions or practices in any of the Employer’s facilities that could reasonably be expected to
     cause death or serious physical harm immediately or within such a short time that emergency
     steps must be taken. If the situation does not allow for prior notification to the Employer, the
     employee should remove himself/herself from the dangerous location or cease to perform the
     dangerous task, notify the Employer as soon as possible, and make himself/herself available
     for work as directed by the Employer.

D. During severe weather or other emergencies, the Bureau may grant employees
administrative leave consistent with OPM Guidance.




Section 5
When the Employer is informed that an employee has sustained an on-the-job injury, the
Employer will inform the employee of the procedures for filing a claim for benefits under the
Federal Employees Compensation Act. The employee must report the injury to his/her
supervisor as soon as possible, generally within a 24-hour period. Per Department of Labor (DOL)
regulations, injury means any illness or disease that is caused or aggravated by the employment
as well as damage to medical braces, artificial limbs, and other prosthetic devices. All on-the-job
injury or illness claims must be submitted electronically through the DOL online claims filing
system no later than thirty (30) days following the injury and employees will follow all DOL
requirements and regulations.

Upon request, the Employer will provide the employee with instructions on how to access the
DOL online claims filing system.




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Section 6
A. The Employer will provide an industry-appropriate first aid kit in each building and regional
     headquarters, and on each floor where more than thirty (30) employees are located. The
     Employer will designate a responsible person or vendor to maintain each kit in an employee
     work area, and the location of the kit will be clearly marked. Annual training for volunteer
     emergency response staff will include identifying the location of first aid kits, and AED’s, etc.

B. The Employer will provide an automated external defibrillator (AED) unit at each regional
     office location including employer-leased office space. The Employer will solicit volunteers to
     be trained on the equipment, as needed. AED training includes CPR. If there are more
     volunteers in a particular location than needed, they will be selected on a first-come, first-
     served basis. Although it is expected that employees who are trained will attempt to respond
     in an emergency, they are not required to do so.




Section 7
The Employer will offer a Physical Exam Program under which employees are eligible to receive
an amount equal to the difference between the cost of the physical exam (including related
services and tests) and seasonal flu shot and the amount paid by their health insurance company
– up to the maximum amounts of up to $200 for the annual physical and up to $30 for an
annual flu shot. Employees are eligible to receive reimbursement up to the maximum amounts,
once every calendar year. Employees should submit a request for reimbursement as soon as they
are in receipt of all Explanation of Benefit (EOB) statement(s), but no later than one year from
the last date of service. All services related to the annual physical exam must begin and end
within a 120-day period. If the employee cannot complete the physical exam within 120 days,
the employee’s health care provider must provide a written letter corroborating the delay. The
letter must accompany the employee’s request for reimbursement. Employees should not
include expenses paid for using health insurance or a Health Care Flexible Spending Account.
Employees will only receive reimbursement once for the same expense.




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Section 8
The Employer will comply with OSHA regulations in notifying employees and the Union of
known hazardous chemicals ordinarily used in Employer- leased workspaces and will take
reasonable steps to minimize the use of hazardous chemicals in Employer-leased offices.




Section 9
If an employee is injured while in travel status or at a temporary duty station, the Employer will,
to the extent possible and if requested:

A. Assist the employee in obtaining immediate medical assistance;

B. Contact the employee’s designated emergency contact;

C. Assist a member of the employee’s family in obtaining transportation information to the
     medical facility; and

D. Approve sick leave and per diem in accordance with applicable laws, rules, and regulations.




Section 10
The Employer will attempt to provide fitness center access and wellness programs and/or
employee discounts for third-party facilities and services.




Section 11
Employer will provide Remote employees and those on 100% Telework under the Remote, Hybrid,
and Telework Program Article with an allowance (such as through the P-card program) of $200
for a desk and $200 for a chair, every four years. Additional expenses may be approved in
advance by management in conjunction with the Reasonable Accommodations Coordinator as
appropriate (e.g., if equipment is damaged or employee requires special ergonomic furniture).




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Section 12
A. Employer will update any examiner-in-charge checklists to include a reminder to obtain
     information on security and evacuation procedures and safety supplies available for each
     exam site, and the location of nearest emergency room or urgent care facility. Employer will
     also make available first aid kits and flashlights to regional offices, so that Examiners in
     Charge may request these items be sent to exam sites.

B. If an employee raises a reasonable concern of possible injury or harm from conditions in
     his/her exam worksite, the Employer and the Union will promptly discuss appropriate
     arrangements for the affected employee(s), which may include temporary relocation to
     another workspace, telework or administrative leave.




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     9. Work Schedules

Section 1 – Policy
     A. This Article establishes the Bureau’s Work Schedules Program. The purpose of the Work
        Schedules Program is to enable the Bureau and its employees to fulfill the Bureau’s
        mission by providing employees with the flexibility to meet their weekly work
        requirements in a manner that is efficient, effective and promotes work-life balance.
        Within the 80-hour biweekly pay period, the Bureau’s Work Schedules Program allows
        for a variety of flexible alternatives to the traditional, fixed 8-hour per day schedule.
     B. Monday through Friday, 8:00 am – 5:00 pm local time are CFPB’s official business
        hours.
     C. As the Bureau-wide default, all employees are on the Gliding Schedule option described
        below. Employees may elect to participate in the Custom Schedule option instead of the
        Gliding Schedule, subject to supervisory approval. Supervisory approval is required for
        all work schedules and employee tours of duty. Supervisory approval of employee work
        schedules will be made in a fair and equitable manner based on the following factors:
        1. Work requirements;
        2. Ensuring adequate staff coverage during CFPB official business hours;
        3. Whether the position of the employee requires hours that coincide with a supervisor’s
           hours or assignment;
        4. Equity among staff; and
        5. Employee performance or conduct issues including, but not limited to, proper leave
           usage, adherence to leave procedures and whether an employee is on leave restriction.
     D. The Employer may determine that the responsibilities of certain positions require
        employees to work during specific weekdays and times during each pay period. A
        decision to deny an employee’s proposed work schedule may be based on the fact that
        responsibilities of employees in certain positions require those employees to regularly
        work on particular days of the week or times of the day. When conflicts arise among
        employees requesting similar work schedules or starting or ending times, preference will


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        be given to any employee who is already on the requested schedule, and next to
        employees in the order in which they requested that schedule. Any ties will be broken in
        order of CFPB seniority. E. For business reasons, or where concerns about the
        employee’s attendance, conduct or performance arise, supervisors:
        1. may limit the amount of flexibility available to an employee under any of the work
           schedules; or
        2. may require that an employee work a Gliding Schedule.
     E. Prior to an involuntary change in an employee’s work schedule, the Employer will
        provide reasonable notice to the employee.
     F. This Article does not cover overtime hours ordered or approved, in advance, by
        management beyond the employee’s daily work requirement. Overtime hours are
        governed by the Overtime and Premium Pay Article.
     G. As part of the implementation of this article, Management has determined that it will
        educate and reinforce to supervisors the appropriate use of Credit Hours versus
        Overtime and Other Premium Pay.




Section 2 – Definitions
     A. Basic Work Requirement: The number of regularly scheduled hours, excluding overtime
        hours, an employee is required to work or to account for by using leave, previously
        earned credit hours, compensatory time, or excused absence. The basic work
        requirement for full-time employees is 80 hours each biweekly pay period and their
        established Daily Work Requirement. The basic work requirement for part- time
        employees is determined in accordance with the Part-Time Employment Article.




     B. Core Hours: The designated time periods during the workday, workweek, or pay period
        that are within the tour of duty during which an employee on a flexible work schedule is
        required to work, or otherwise account for, by using approved leave, previously earned




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        credit hours, earned compensatory time, administrative leave, and/or leave without pay
        (LWOP).
     C. Credit Hours: Credit Hours are those hours that an employee voluntarily elects to work,
        with supervisory approval, in excess of their basic work requirement.
     D. Daily Work Requirement: The number of regularly scheduled hours, excluding overtime
        hours, an employee is required to work each day or to account for by using leave,
        previously earned credit hours, compensatory time, excused absence, or LWOP. The
        Daily Work Requirement can vary from a minimum of the core hours (4.5 hours) up to a
        maximum of 10 standard work hours per day on days that an employee is scheduled to
        work.
     E. Flexible Time Bands (“Flex Bands”): Designated hours during which an employee may
        elect, with supervisory approval, the time of arrival and departure for fulfilling the basic
        and daily work requirement and/or earn credit hours.
     F. Flex Day: Regularly scheduled day(s) off under the Custom Schedule on which no work
        hours are regularly scheduled.
     G. Custom Schedule: A flexible work schedule in which a full-time employee may vary the
        number of hours they work each day or each week (e.g., work fewer than 8 hours on
        some days and more than 8 hours on other days and work fewer than 40 hours one week
        of the pay period and more than 40 hours another week in the pay period as long as the
        employee works or uses approved leave/LWOP for a total of 80 hours in each pay
        period). Full-time employees may create, in consultation with their supervisor, a 4/10 or
        5/4/9 work schedule with scheduled Flex days. The employee may, subject to the terms
        of this Article, select a schedule that provides for non-continuous hours during the
        workday and select their start/stop times within the flex bands as long as the employee
        works during the Core Hours.
     H. Gliding Schedule: A flexible work schedule in which a full-time employee works 8
        hours/day, Monday – Friday. The employee may, subject to the terms of this Article,
        select their start/stop times within the flex bands as long as the employee works during
        the Core Hours.
     I. Tour of Duty: The hours of a day (daily tour of duty) and the days of a workweek (weekly
        tour of duty) that constitute an employee’s regularly scheduled administrative workweek,
        during which the employee is scheduled to work. The Tour of Duty is the limit within
        which an employee must complete their basic work requirement and must occur between


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        Monday through Friday. The earliest time a Bureau employee may begin their tour of
        duty is 6:00 a.m. local time; the latest a Bureau employee may end their tour of duty is
        8:30 p.m. local time.




Section 3 - Work Schedule Requirements and
Options
     A. All CFPB Work Schedules are flexible schedules and require the following:
        1. Setting a Standard Bi-Weekly Work Schedule (tour of duty): In consultation with
           their supervisor, all employees must choose the type of schedule they prefer to work
           and establish a bi-weekly work schedule. Once approved by the supervisor, the bi-
           weekly work schedule becomes the employee’s regular work schedule. At the
           employee’s request, their work schedule may be revised with supervisor approval. If a
           change in work schedule is required by management to meet business needs,
           management will first consult with the employee.
        2. Recording Work Hours and Leave: For all employees, time worked (including
           credit/compensatory time earned and used) and leave taken will be recorded in 15-
           minute increments on bi-weekly timecards that are approved by supervisors prior to
           being submitted for payment. Any time during the employee’s scheduled workday
           that the employee is not working must be recorded in the Bureau’s timekeeping
           system by using approved leave, previously earned credit hours, earned compensatory
           time, administrative leave, and/or LWOP. Supervisors will outline expectations to
           employees for making their work schedules visible to work colleagues.
        3. Unpaid Lunch Break: Any work schedule that requires more than six consecutive
           hours of work on a given day must include an unpaid lunch break of 30-60 minutes
           on that day. The unpaid lunch break does not count toward the fulfillment of the basic
           work requirement, and cannot be taken at the beginning or end of the employee’s
           daily tour of duty.
        4. Restrictions on Night Work: Management cannot require an employee to establish a
           flexible work schedule that requires the employee to work on nights (i.e., between




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           6:00 pm and 6:00 am Monday through Friday). However, an employee may
           voluntarily request a schedule that may include night work.
              a. An employee may choose to establish a work schedule that ends between 6:00
                  pm and 8:30 pm local time Monday through Friday. However, the schedule
                  must allow the employee the ability to meet their daily work requirement
                  without working past 8:30 pm local time.
              b. An employee may voluntarily earn credit hours in excess of their basic work
                  requirement during Night Work hours, with supervisory approval.
              c. Any employee who voluntarily establishes a work schedule and/or works
                  Credit Hours between 6:00 pm and 6:00 am is not entitled to Overtime or
                  Premium Pay for that time.
       5. Restrictions on Weekend Work:
              a. a. Management cannot require an employee to establish a flexible work
                  schedule that requires the employee to work on weekends.
              b. An employee may voluntarily earn credit hours on weekends with supervisory
                  approval.
     B. Gliding Schedule (CFPB Default)
       1. Basic Work Requirement: Full-time employees must work 8 hours/day, 40
           hours/week and 80 hours/pay period. Part-time employees must work the hours
           dictated by their specific work schedules in accordance with the Part-Time
           Employment Article.
       2. Tour of Duty: In accordance with the provisions of this Article, employees may select
           a starting and stopping time for each day, and may vary starting and stopping times
           daily, within the parameters set forth below. The Tour of Duty must occur between
           Monday and Friday between the hours of 6:00 am and 8:30 pm in an employee’s local
           time zone.
              a. Workdays: Monday – Friday
              b. Core Hours: Monday – Friday, 10:00 am – 2:30 pm in an employee’s local
                  time zone.
              c. Flexible Time Bands for regular Tour of Duty: Monday – Friday, 6:00 am –
                  10:00 am and 2:30 pm – 8:30 pm in an employee’s local time zone.
              d. Additional Flexible Time Bands: Monday through Thursday 8:30 pm to 6:00 am
                  the following morning; Friday 8:30 pm to 11:59 pm; and weekends from 12:00


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                   am Saturday to 6:00 am on Monday in an employee’s local time zone. These
                   additional flexible time bands are established only to provide an opportunity for
                   employees to earn credit hours.
     C. Custom Schedule(optional)
       1. Basic Work Requirement: Full-time employees must work 80 hours per pay period.
           Part-time employees must work the hours dictated by their specific work schedule in
           accordance with the Part-Time Employment Article.
       2. Tour of Duty: In accordance with the provisions of this Article, an employee may
           establish a regular work schedule in which the number of hours the employee works
           varies by day or by week (e.g., work fewer than 8 hours on some days and more than 8
           hours on other days and work fewer than 40 hours one week of the pay period and
           more than 40 hours another week in the pay period as long as the employee works or
           uses approved leave/LWOP for a total of 80 hours in each pay period). Full-time
           employees may create, with supervisory approval, a 4/10 or 5/4/9 work schedule with
           scheduled Flex days. The Tour of Duty must be fulfilled between Monday and Friday
           between the hours of 6:00 am and 8:30 pm in an employee’s local time zone. Once an
           employee’s regular work schedule is approved, the employee is expected to work that
           schedule on a consistent basis. Employees should request a change (permanent or on
           an ad hoc basis) in their work schedule as far as in advance as possible. However,
           supervisors may approve occasional deviations from an employee’s approved regular
           work schedule to accommodate a business need of the Bureau or personal
           circumstance of the employee.
          a. Workdays: Monday–Friday, except for the Flex Day(s)
          b. Core Hours: Monday–Friday, 10:00 am–2:30 pm in an employee’s local time
               zone. Employees are required to use approved leave, earned credit hours, earned
               compensatory time, administrative leave, and/or LWOP if they are unable to work
               during core hours.
          c. Flexible Time Bands for regular Tour of Duty: Monday–Friday, 6:00 am–10:00
               am and 2:30 pm–8:30 pm in an employee’s local time zone.
          d.   Additional Flexible Time Bands: Monday through Thursday 8:30 pm to 6:00 am the
               following morning; Friday 8:30 pm to 11:59 pm; and weekends from 12:00 am
               Saturday to 6:00 am on Monday in an employee’s local time zone.These additional



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              flexible time bands are established only to provide an opportunity for employees to
              earn credit hours.
         e. Work Hours: The minimum number of hours per scheduled workday that an
              employee must work under a Custom Schedule is 4.5 hours and these hours must
              correspond with the Bureau’s core hours. The maximum number of hours per
              scheduled workday that an employee may work under a Custom Schedule is 10
              hours. Employees are required to use approved leave, earned credit hours, earned
              compensatory time, administrative leave, and/or LWOP if they are unable to work
              the total number of hours required by their approved schedule.
         f.   Non-Continuous Work: With supervisory approval, employees may establish a
              Custom Schedule that allows them to work hours non-continuously without being
              charged leave. For example, a supervisor could approve an employee to establish a
              Custom Schedule whereby the employee works 8 hours each day starting from
              9:00 - 9:30 am and ending 3:00 - 3:30 pm, and resumes work starting from 4:00
              – 4:30 pm and ending from 6:00 – 6:30 pm.
         g. Flex Day(s): Employees may designate, with supervisory approval, any Monday or
              Friday during the pay period as their Flex Day(s). Employees may change their
              Flex Day(s) to a different Monday or Friday within the same pay period with
              supervisor approval, when requested in advance.
      3. When an employee will attend training or is required to work on a day that would
         normally be their Flex Day(s), the supervisor will coordinate with the employee to
         either:
         a. Designate a different in-lieu of Flex Day (must be a Monday, Wednesday, or
              Friday) during the same pay period; or
         b. If rescheduling the Flex Day during the same pay period is impractical or
              disruptive to scheduled work activities, then the employee may request to revert to
              a Gliding Schedule of 8-hour days for the applicable pay period or a Custom
              Schedule for that pay period as long as the employee will be working during the
              time of the scheduled training or management ordered work.
         c. As an alternative, the manager will order the employee to work overtime in
              accordance with the Overtime and Other Premium Pay Policy and Article.
      4. Holidays: A full-time employee is excused from work for 8 hours on a Federal holiday,
         regardless of the number of hours in their regular tour of duty for that day.


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           Employees normally scheduled to work 9 or 10 hours on a holiday must make up the
           one or two hours on the other day(s) in the affected pay period or request to use
           accrued leave, credit hours, compensatory time, or LWOP. Employees may not work
           on the holiday to make up the additional hour(s). Full time employees who are
           normally scheduled to work fewer than 8 hours on a holiday must adjust their work
           schedule to ensure they satisfy the basic work requirement of 80 hours in a pay
           period.
       5. “In-Lieu of” Holidays: When a Federal holiday occurs on an employee’s regularly
           scheduled Flex Day, the employee will take the previous business day as the “in lieu of”
           holiday. For example, if the employee’s Flex Day is a Friday and that is the day of the
           Federal holiday, the employee will take the previous Thursday as the “in lieu of”
           holiday.


     D. Credit Hours


        1. All CFPB schedules are flexible work schedules and all staff are eligible to earn credit
           hours.
        2. Credit hours may be earned during the Flexible Time Bands for Regular Tour of Duty
           and during the Additional Flexible Time Bands, after an employee has fulfilled their
           daily, weekly or bi-weekly basic work requirement. The Additional Flexible Time Bands
           have been established Monday through Thursday 8:30 pm to 6:00 am the following
           morning; Friday 8:30 pm to 11:59 pm; and weekends from 12:00 am Saturday to 6:00 am
           on Monday in an employee’s local time zone. These additional flexible time bands are
           established only to provide an opportunity for employees to earn credit hours. However,
           credit hours cannot be earned while an employee is in a fixed-time training course,
           receiving holiday pay or while physically in transit to or from a temporary duty location.
        3. On an ad hoc basis, an employee will request approval in advance to earn credit
           hours, and supervisory approval will normally be given if there is work available that
           can be effectively and efficiently performed during the time the employee has
           requested to earn credit hours.
        4. Supervisors may give blanket approval on a set amount of credit hours that an
           employee can earn in a pay period without requesting specific approval in advance


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            up to 2 hours per day. The supervisor will normally give blanket approvals for credit
            hours in those offices where work is available and can be effectively and efficiently
            performed at time requested. Any credit hours worked in excess of this blanket
            approval must be approved by the supervisor in advance.
        5. Full-time employees may carry over a maximum of 24 credit hours from pay period
            to pay period. Part-time employees may carry over a maximum of ¼ of their
            regularly scheduled hours in each pay period. Credit hours in excess of the carry-over
            limit must be used by an employee by the end of the pay period or they will be lost.
        6. If an employee leaves CFPB with a credit hour balance the employee will be
            compensated for any unused credit hours at their regular hourly rate of pay, up to a
            maximum of 24 hours for full-time employees and one-quarter of the employee’s bi-
            weekly work requirement for part-time employees.
        7. Employees may only use previously earned credit hours, with supervisor approval,
            when requested in advance. Use of credit hours will be considered in accordance with
            the provisions of the Annual Leave Article. An employee may not routinely earn and
            use credit hours to establish a standard work schedule different from their approved
            standard work schedule.




Section 4 – Procedures
     A. To establish a regular work schedule or to change a previously approved regular work
        schedule, an employee will submit their requested schedule using a form or system
        developed by the Bureau and provide it to their supervisor for approval. In submitting
        their requested schedules for supervisory approval, employees must provide the days
        they will work each pay period, the number of hours they will work each day, and their
        Flex Days, if any. Once a regular Work Schedule with approximate starting and ending
        times is approved by an employee’s supervisor, the employee will inform their supervisor
        of the times they normally plan to start and stop working each day within the Bureau’s
        Flex Bands. Employees may change the time ranges of their normal starting and




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        stopping times, within the Bureau’s Flex Bands, if they inform their supervisors in
        advance.
     B. The supervisor will review an employee’s request and determine whether to approve or
        deny the request.
     C. When denying a request for a regular work schedule, the supervisor must document the
        reason(s) for denial. A copy of the documentation will be retained by the Office of
        Human Capital (OHC).
     D. Annually at the end of the first quarter of the year, OHC will provide NTEU records of all
        denials of employee requests for a regular work schedule made between January and
        December of the previous year including: (1) a unique employee identifier of the
        employee requesting the schedule; (2) the type of schedule requested; (3) the specific
        days and hours the employee proposed to work; (4) the employee’s job title; (5) the
        employee’s division; (6) the employee’s office; (7) the employee’s region (if applicable);
        (8) the name of the supervisor who denied the request; (9) the reason(s) given for the
        denial; and (10) the employee’s race, ethnicity (e.g., Hispanic or Not Hispanic), national
        origin, gender, whether the employee has a disclosed disability status (not the particular
        disability status) and whether they are over 40 or under 40. Where necessary to protect
        an individual’s privacy rights or other legal rights, redaction or aggregation of data may
        be employed.
     E. Employees will work with their timekeeper to ensure that their approved work schedule
        is reflected in the Bureau’s time and attendance system.




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     10. Part-time Employment
Section 1
A. The Employer recognizes the principles of the Federal Employees Part-Time Career
     Employment Act of 1978, 5 USC 3401-3408, which provides for increased part-time career
     employment opportunities in the Federal Service, and the Employer will comply with the
     requirements of the Act and the implementing regulations, 5 CFR 340, et seq.

B. Part-time employment, including job sharing, will be available to all employees with
     managerial approval in accordance with the terms of this Article. Job sharing arrangements
     do not require mutually exclusive schedules and job-sharing employees may be scheduled to
     be present at the same time. Job sharers are considered individual part-time employees for
     purposes of their appointment, work schedule, pay, leave, benefits, service credit, record
     keeping, reduction in force, adverse actions, and grievances. Part-time employees are
     eligible to work an Alternative Work Schedule and to telework in accordance with the Work
     Schedules and Telework Articles.

C. Full-time employees may not establish a de facto part-time schedule by requesting recurring
     leave without pay (LWOP). Employees must request LWOP according to the procedures
     outlined in the Other Leave Article.

D. The Employer and the Union acknowledge that employees may desire part-time
     employment for personal, medical, or business-related reasons. The Employer encourages
     supervisors and managers to be receptive to the use of part-time schedules.

E. Part-time employees are not exempt from normal job duties and responsibilities or from
     travel required to complete those duties and responsibilities. Employees’ workload will be
     commensurate with the number of part-time hours worked.

F. Part-time employees have the same rights as full-time employees, except as specifically
     provided under law, this agreement, rule, regulation, or CFPB Benefits contracts.




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Section 2
An employee wishing to work a part-time schedule will submit a written request to his or her
immediate supervisor. The employee’s request will indicate (a) the proposed number of hours to
be worked in a pay period (no fewer than 32 and no more than 64 hours per pay period); (b)
proposed daily work hours, including a 30–60-minute, unpaid lunch break for any day in which
the employee is scheduled to work for six hours or more; and (c) duration of the work schedule.
The request may, at the employee’s option, also include a general reason for seeking part-time
employment.




Section 3
Employee requests will be handled fairly and equitably in accordance with the standards set out in
this Article. The Employer’s decision to approve or deny an employee’s requested part-time
schedule will be based on an evaluation of position, work group, employee-related factors and
the impact on the Employer’s workload, staffing, mission, budget, and other business needs.
Denials of requests for part-time employment or job sharing will be discussed with the employee
within a reasonable time. Upon request, the supervisor shall provide the employee with reasons
for the denial in writing, normally within fourteen (14) calendar days.




Section 4
The Employer may temporarily increase, decrease, or change the hours of a part-time work
schedule based on evaluation of position, work group, employee-related factors and workload,
staffing, mission, budgetary, and other business needs. Employees will be provided notice of the
need for any change in schedule as far in advance as possible.




Section 5
A. Part-time work schedules may be permanent or temporary. Temporary part-time schedules
     are normally for a period of time not to exceed one year and may be extended for up to an
     additional year.


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B. An employee approved for a temporary part-time work schedule may request and return to
     full-time employment prior to the end of the approved temporary work schedule with
     supervisory approval.

C. The Employer may require the employee’s early return from a temporary part-time schedule
     to full-time status, or permanent modification of the employee’s part-time schedule, if
     necessitated by the position, work group, employee-related factors and workload, staffing,
     mission, budget, and other business needs. Employees will be provided notice of the need for
     a return to a full-time schedule as far in advance as possible.

D. The Part-time Employee must make a written request to convert the temporary part-time
schedule to a permanent part-time schedule or to return to a full-time work schedule before the
end of the approved temporary work schedule period. Employee requests shall be handled in
accordance with the provisions of Section 3, above.




Section 6
The Employer shall not abolish any position occupied by an employee in order to make the
duties of such person available to be performed on a part-time basis, nor will a full-time
employee be required to accept a part-time work schedule as a condition of continued
employment.




Section 7
An employee’s part-time status shall not preclude the employee from being selected for
promotion through competition or from being promoted on a noncompetitive basis within the
career ladder. However, part-time work is prorated for determining qualification requirements.
For example, an employee who works twenty (20) hours per week would receive credit for six
(6) months of experience at the end of twelve (12) months of work.




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Section 8
A. In accordance with law, rule, regulations, OPM, and Federal Reserve Board Plan guidance,
     part-time employees shall earn a full year of service for each calendar year worked
     (regardless of schedule) for the purpose of computing dates for the following:

       1. Retirement eligibility (in accordance with the appropriate Title 5 or Federal Reserve
           System Pension Plan rules)

       2. Thrift Savings Plan vesting (in accordance with the appropriate Title 5/TSP or Federal
           Reserve Thrift Plan 401(k) rules)

       3. Career tenure

       4. Service for retention in accordance with Reduction in Force regulations

       5. Completion of probationary period

       6. Time-in-grade restrictions on advancement

       7. Changes in leave category

       8. Merit increase eligibility

B. Before an employee is assigned to a part-time work schedule, the Employer shall provide the
     employee with access to information, on the impact of part-time employment on the
     following: retirement; health, life and disability insurance; promotion; pay issues; leave;
     holidays; benefits; and reductions in force.

C. If, in accordance with the terms of this Article, workload, staffing or mission requirements
     require a part-time employee to work more hours than the agreed upon part-time work
     schedule for more than two pay periods, the employee may make a request to the Employer
     to make the appropriate changes to personnel records to reflect the increase to the employee’s
     part-time hours or schedule, and promptly notify the Office of Human Capital. If an
     employee objects to working additional hours on a regular basis, the Employer shall attempt
     to minimize requests to work more than the scheduled part-time hours, unless a change in the
     employee’s work schedule is made in accordance with Section 5C of this Article.



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Section 9
If a holiday falls on a day a part-time employee normally works, the employee is paid for the
number of hours he or she was scheduled to work. A part-time employee is not entitled to be
paid for a holiday that falls on a day the employee is not normally scheduled to work. Part-time
employees are also eligible for other categories of leave in accordance with law, rule, regulations,
and OPM guidance as well as the Articles on Sick Leave, Annual Leave, and Other Leave.




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     11. Overtime and Premium
       Pay
Section 1
The EMPLOYER will continue its practice of indicating each employee's FLSA status on that
employee's Standard Form 50.




Section 2
A. An employee covered by the FLSA (i.e., “non-exempt”) will receive overtime compensation
     in accordance with the FLSA and the EMPLOYER’s Overtime and Other Premium Pay
     policy.

B. An FLSA exempt employee who is ordered to work overtime will be compensated for
     overtime work that is ordered and approved in accordance with the FLSA and the
     EMPLOYER’s Overtime and Other Premium Pay policy.

C. An employee will not be asked or expected to forgo overtime compensation to which he or
     she is entitled by law, rule and/or regulation.

D. Compensatory time off is approved time off with pay, equal to the amount of overtime
     worked, in lieu of overtime pay for overtime worked. The Employer cannot require
     compensatory time off in lieu of FLSA-mandated overtime pay for non-exempt employees.

E. Overtime pay and compensatory time will be earned and used in 15-minute increments.




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Section 3
F. For exempt and non-exempt employees, when overtime is required for an existing or
     ongoing project, the overtime will be assigned to the employees working on the project
     unless the Employer determines otherwise.

G. For exempt and non-exempt employees, when overtime is required on an assignment that is
     not of an ongoing nature as described in Section 3A, overtime may be assigned to employees
     determined by the Employer to be best qualified to perform the work necessary to be
     completed. In making this determination, the Employer will consider the following:

       1. Knowledge, skills, and ability of the employees (e.g., specific knowledge or experience
              needed to adequately perform the overtime work); and

       2. The nature of the work to be performed on an overtime basis (e.g., whether the work
              is a standard project that could be shifted to different employees; whether a particular
              employee is heavily involved in the work to be done or has specific knowledge
              necessary for the work to be completed).

H. Except where overtime must be worked by a specific employee or employees pursuant to the
     Employer’s determination made pursuant to Section 3A or 3B, if there are more employees
     who meet these criteria than are needed for the assignment, the following procedures will
     apply:

       1. When overtime is required, the Employer first will determine which employees within
              the work unit where the assignment is to be completed are qualified to do the
              overtime assignment. The Employer then will seek expressions of interest from that
              group of employees.

       2. If there are a greater number of qualified volunteers than are needed to perform the
              work, overtime will be ordered to be performed by qualified employees based on
              seniority determined by years of service at the Bureau.

       3. If there are insufficient qualified volunteers and the Employer determines the
              overtime work needs to be completed, then the work will be ordered to be performed
              by qualified employees based on inverse seniority determined by years of service at
              the Bureau.



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       4. In order to optimize rotation of voluntary and involuntary overtime assignments
           among qualified employees, when the Employer is making overtime assignments
           pursuant to Section 3C, overtime assignments will normally be limited to ten (10)
           hours per week per person.

I. An employee may, upon request, be released from an overtime assignment if a fully qualified
     replacement is available and willing to work. However, if granting such a release would
     result in a severe disruption of existing work assignments, and/or significant increase in
     costs to the EMPLOYER, the request may be denied.

J. The EMPLOYER will make available to the UNION, upon request, current records of
     overtime assignments of employees to aid in resolving individual claims of unfair and
     inequitable distribution.

K. When scheduling an overtime assignment, the EMPLOYER will provide an employee
     advance notification as soon as practicable.




Section 4
Employees required to be on stand-by duty will be compensated in accordance with applicable
law and regulation.




Section 5
The EMPLOYER will seek to avoid overtime assignments that result in employees working
excessively long periods without a day off.




Section 6
When an employee must perform work or duties that are not consistent with the employee’s
primary duties for a period exceeding thirty (30) consecutive calendar days, the employee’s
exemption status will be determined by the EMPLOYER in accordance with the provisions of 5
C.F.R. 551.211 and applicable law.


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     12. Remote, Telework, and
       Hybrid Programs

Section 1 – Purpose
The Remote, Telework, and Hybrid Program allows employees to work at pre-approved work
locations to include a Bureau facility, telework location or remote duty station. Based on their
approved work location, employees are considered either Office Primary, Telework Primary or
Remote employees. The Remote, Telework, and Hybrid Program facilitates the accomplishment
of work and supports CFPB operations by allowing employees to continue working during
inclement weather, emergencies, or situations that may disrupt normal operations, while also
supporting employee work-life balance by reducing commute time, accommodating personal
circumstances, and improving the Bureau’s ability to recruit and retain a high-quality workforce
in a competitive job market.



Section 2 – Policy
CFPB supports work location and telework arrangements that are practical, support the CFPB
mission, and do not diminish performance or Bureau operations. Employees and supervisors
are expected to follow the terms of this article when requesting and approving work location and
telework arrangements.



Section 3 – Definitions
     A. Bureau facility refers to any location managed by the Bureau, including headquarters
        and all regional offices.
     B. Work Location Designation is a term assigned to employees based on the percentage of
        time an employee works in a Bureau facility. Available work location designations
        include:



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           1. Office Primary describes a hybrid work arrangement where an employee routinely
              works in a Bureau Facility 50% or more of time each pay period (and teleworks
              less than 50 percent in each pay period).


           2. Telework Primary describes a hybrid work arrangement where an employee
              routinely teleworks at an alternate worksite greater than 50% of their time and up
              to 100% of their time each pay period (and is in a Bureau facility less than 50% of
              the time in each pay period). a. 100% Telework is a distinct category of Telework
              Primary where an employee routinely teleworks at an alternate worksite full-time
              but is required to perform work at a Bureau facility occasionally and on an ad hoc
              basis.


           3. Remote describes a work arrangement in which an employee is approved to
              perform their official Bureau duties at an approved location (e.g., their home)
              within the contiguous United States (US) that can be located outside the locality
              pay area associated with the Bureau facility to which they would otherwise be
              assigned on a permanent or temporary basis. Remote employees are rarely
              expected to physically report to a Bureau facility.


     C. Telework is a voluntary work arrangement in which an employee requests and receives
        supervisory approval to perform officially assigned duties at an approved alternate
        worksite other than a Bureau facility during regular work hours. Employees are not
        “teleworking” when they are on official travel. An employee whose official duty station is
        their home or other approved remote location is not teleworking when they are working
        from their home or other approved remote location. Types of telework include routine
        (up to 100%), situational, and extended situational.
           1. Routine Telework (up to 100%) occurs when an employee teleworks on a recurring
              basis on a set schedule.
           2. Situational Telework, also called “episodic” telework, occurs when an employee
              teleworks on an ad hoc basis to accommodate employee requests for occasional
              telework (whether for regular work or short-term projects), or non-recurring
              circumstances such as a temporary medical condition, severe weather or
              emergency condition, or Continuity-of-Operations Plan (COOP) requirements.


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           3. Extended Situational Telework occurs when an employee teleworks continuously
               for an extended period (31 days – 6 months) as a result of a particular medical or
               personal situation.
     D. Unscheduled Telework may occur when the Office of Personnel Management, the
        Bureau, or a local Federal Executive Board issues a government operating status
        indicating that employees in the local commuting area may take advantage of
        unscheduled telework. Only employees who have approved telework agreements may
        participate in unscheduled telework.
     E. Official Worksite is the permanent or temporary duty station to which an employee is
        assigned by management, such as the employee’s official duty station, a Bureau facility, a
        financial institution, or other temporary duty location.
     F. Alternate Worksite is the physical location where an employee is approved to telework.
        For employees whose official duty station is a CFPB headquarters or regional office, the
        alternate worksite may be the employee’s home or another approved location. For
        employees whose official duty station is their home or other approved remote location,
        the alternate worksite will be another approved location.
     G. Official Duty Station is the duty station documented in official personnel records for the
        employee’s position of record. Management determines an employee’s official duty
        station based on the location where the employee performs their job duties.
     H. Family Member, for the purposes of this Article, is an employee’s:
        1. Spouse/domestic partner and their parents;
        2. Sons and daughters, and their spouses/domestic partners;
        3. Parents and their spouses/domestic partners;
        4. Brothers and sisters, and their spouses/domestic partners;
        5. Grandparents and grandchildren, and their spouses/domestic partners;
        6. Any individual related through blood or affinity whose close association with the
            employee is the equivalent of a family relationship.
     I. Health Care or Rehabilitation Professional has the same meaning as it does under EEOC
        law and guidance governing reasonable accommodations and includes, but is not limited
        to, doctors (including psychiatrists), psychologists, nurses, physical therapists,
        occupational therapists, speech therapists, vocational rehabilitation specialists, and
        licensed mental health professionals.




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Section 4 – Designating Work Locations
     A. Bureau employees are eligible for Work Location Designations as outlined below.
        Management will determine work location designations based on the duties of the
        employee’s position and the extent to which those duties can be effectively performed
        remotely without disruption to mission, staffing or workload requirements, consistent
        with the provisions of this article. Employees, in consultation with their supervisor,
        identify their preferred work location based on their position’s work location eligibility.
        1. Office Primary: The duties of the position are such that the employee must routinely
            perform work in a Bureau facility 50% or more of the time (and teleworks less than
            50%).
            a. Employees encumbering a position designated as Office Primary will select Office
               Primary as their work location designation. All Bureau employees are eligible to
               select an Office Primary designation unless their position has been designated as
               Remote for business reasons.
            b. Official Worksite/Duty Station: The Bureau Facility (CFPB HQ or Regional
               Office) to which the employee is assigned.
            c. Locality Pay: Office Primary employees receive the locality pay that is associated
               with the Bureau Facility to which they are assigned.
            d. Telework Eligibility: Eligible for situational, extended situational, and routine
               telework. Routine telework must be less than 50% of time each pay period.
            e. Equipment: Standard equipment will be provided at the official worksite. This
               includes a laptop, laptop charger, mobile phone, mobile phone charger, laptop
               bag, monitor(s), docking station, noise-cancelling headphones, headphone
               charger, wired mouse and wired keyboard. No additional equipment will be
               provided for the telework location.
     2. Telework Primary:
            a. Employees encumbering a position designated as Telework Primary can select
               either Telework Primary or Office Primary as their work location designation.
               Telework Primary employees may be eligible for up to 100% telework based on
               the duties of their position.
            b. Employees approved for 100% telework occupy positions whose duties can be
               effectively performed from an alternate worksite without the need for the


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               employee to routinely perform work at a Bureau facility each pay period. 100%
               Telework employees normally work from home full-time but may be required to
               perform work at a Bureau Facility, occasionally and on an ad hoc basis.
          c. Official Worksite/Duty Station: The Bureau Facility (CFPB HQ or Regional
               Office) to which the employee is assigned.
          d. Locality Pay: Telework Primary employees receive the locality pay that is
               associated with the Bureau Facility to which they are assigned.
          e. Employees approved for 100% telework must telework in the locality area of the
               Bureau facility to which their position is assigned the majority of the time.
          f.   Employees who choose to telework outside the locality area of the Bureau facility to
               which their position is assigned must normally report to that facility at least twice
               each pay period.
          g. Employees who encumber a remote eligible position but are designated as
               Telework Primary with 100% telework because they plan on working in the
               locality area of their assigned Bureau facility will be treated the same as remote
               workers except with respect to the designation of their official duty station, as
               provided in subsection 4f below and with respect to travel. Time and expenses for
               travel between the employee’s telework location and the Bureau facility to which
               their position is assigned will not be compensated. Time and expenses for official
               travel to other sites within the locality area will be compensated in accordance
               with the Travel Article and other applicable policies.
          h. Telework Eligibility: Eligible for situational, extended situational, and routine
               telework (up to 100%). Routine telework constitutes greater than 50% of time
               each pay period.
          i.   Equipment: Standard equipment will be provided at the official worksite. This
               includes a monitor, docking station, wired mouse, and wired keyboard. For
               employees routinely teleworking between 50% and up to 100% of the time,
               equipment provided for the primary telework location includes a laptop, laptop
               charger, mobile phone, mobile phone charger, laptop bag, monitor(s), docking
               station, wired mouse and wired keyboard.
               1. In addition to the equipment provided for the primary telework above,
                   employees approved for 100% Telework will also be provided with a



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                    multifunction home printer/scanner, shredder, and locking file cabinet, upon
                    request. 100% Telework employees are also eligible for chair/desk
                    reimbursement every 4 years under the terms of Article 8, section 11.
     3. Remote: The duties of the position can be performed effectively from a remote location
        with the employee rarely needing to perform work at or near a Bureau facility. Remote
        employees work 100% from home at locations outside of the locality area of the Bureau
        facility to which their position would otherwise be assigned. The provisions of the
        Telework Program outlined in Sections 5, 6, and 7 of this Article apply to all Remote
        employees.
            a. Employees encumbering a position designated as Remote can select Remote,
                 Telework Primary, or Office Primary as their work location designation.
            b. Official Worksite/Duty Station: The employee’s home or other approved location.
            c. Locality Pay: Remote employees receive the locality pay that is associated with
                 their home or other approved location.
            d. Telework Eligibility: Eligible for situational and extended situational telework.
            e. Equipment: Standard equipment will be provided at the remote worksite. This
                 includes a laptop, laptop charger, mobile phone, mobile phone charger, laptop
                 bag, monitor(s), docking station, mouse and keyboard. Upon request, Remote
                 employees will also be provided with a multifunction home printer/scanner,
                 shredder, and locking file cabinet. Employees are eligible for chair/desk
                 reimbursement every 4 years under the terms of Article 8, section 11.
            f.   Employees who encumber positions identified as remote eligible who plan to live
                 and work in the locality area of the CFPB facility to which their position would
                 otherwise be assigned and would like to work from home can request a telework
                 primary work location designation and 100% Telework. Employees will not be
                 approved for a remote work location while they work and live within the locality
                 area of the CFPB facility to which they would otherwise be assigned. In the event
                 the employee decides to relocate outside of the locality area (without a change in
                 position), they will be approved for a change in remote work location designation
                 at any time by submitting a work location designation change consistent with the
                 Employee-Initiated Requests for Change in Duty Station Article.
            g. Any change to a remote duty station of an employee assigned to a position with
                 extensive travel requirements (as outlined in the employee’s position description)


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                 must meet the requirements set forth in the Employee-Initiated Requests for
                 Change in Duty Station article.
                 1. Employees in an approved remote duty station location as of the effective
                    date of this Article that do not meet the additional evaluation requirements
                    under the Employee-Initiation Request for Change in Duty Station (Article
                    22) will be allowed to retain their current remote duty station location as long
                    as they remain at their current location or within 30 miles of that location.
            h. Employee-Initiated Requests: An employee may initiate a voluntary request for
                 remote work in accordance with the Employee-Initiated Requests for Change in
                 Duty Station article.
            i.   Employees encumbering positions designated as home duty-stationed at the time
                 of the Work Location Designation and Selection Process will be entitled to select
                 a remote work location designation as part of that process as described in section
                 4.C below.
B. Periodic Address & Contact Info Update: Employees are required to verify and maintain the
     accuracy of their address and personal contact information in HRConnect. The Bureau will
     send periodic communications and reminders to employees to remind them to confirm or
     update their address to ensure employees are informed of this expectation.

C. Initial Work Location Designation and Selection Process:

     1. Position Designation - Within 45 days of the effective date of this agreement, management
will complete a review of all bargaining unit positions to determine each position’s eligibility for
the different Work Location Designations and create a spreadsheet of the designations. 1 For any
position not designated as eligible for a Remote designation, management will identify the
duties of the position (if any) that must be performed onsite. Management will provide a copy of




1 Management has met its obligation of reviewing all bargaining-unit positions to determine

 each position's eligibility for the different Work Location-Designations within 45 days of the
 effective date of the 2022 CFPB Next Agreement.


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the spreadsheet containing Work Location Designations for each position including the
additional information described above to NTEU no later than 10 days after the list is finalized.

     2. Employee Notification - Within 10 business days after Management finalizes the position
designation eligibility list, Management will inform all employees of their eligibility for each type
of Work Location Designation.

     3. Employee Work Location Designation Selection - Once Management has notified all
employees of their Work Location Designation eligibility, employees will select their preferred
Work Location Designation based upon their eligibility using an application in ServiceNow.
Employees will be given 20 days to submit their choices. All Employees will be required to
submit:
        a. Employee’s chosen Work Location Designation;

        b. Employee’s preferred work schedule (including telework days if applicable);

        c. Location at which employee intends to telework or be duty stationed (if eligible for
        Remote); and

        d. For any employee who will be participating in remote work or telework:

           1. A completed Home Safety Checklist, and

           2. A completed Remote/Telework Agreement.

     4. Employees will discuss their telework plans with their supervisor. Managers will apply the
standards set forth in this Article when reviewing employee telework schedule requests.


     5. Implementation of new Work Location Designations - Once employees have selected their
Work Location Designation, Management will conduct the following actions to implement those
selections:

        a. For employees who have elected to be Remote: Management will review the selections
     and process any personnel actions needed to effectuate the new duty station location (if
     necessary) within 30 days.




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        b. For all other employees: Management will conduct and complete the procedures for
     space allocation and seat selection set forth in the Work Space and Parking Article.


     6. Telework and Remote Work Agreements: The information captured in the employee
Telework Agreement and Remote Work Agreement will be consistent with the terms of this
Article. A copy of these forms will be provided to NTEU for review at least 21 days prior to
implementation.


D. An employee may request a change to their work location at any time in accordance with the
Employee-Initiated Requests for Change in Duty Station (Article 22).


E. Management may change a position’s work location designation eligibility based on the
     standards set forth in this Article when necessary to address a change in business needs of
     the Bureau that is not temporary in nature. Management will provide reasonable advance
     notice (normally at least 60 calendar days) to NTEU and the affected employee(s) prior to
     making any changes to the eligibility of a particular position that results in geographic
     reassignments. Such notice will identify the change in business needs necessitating the
     change in work designation eligibility. NTEU may request a briefing on this matter and
     bargaining over impact and implementation in accordance with the Midterm Bargaining
     Article, to the extent required by law and the terms of this Agreement. A change in an
     employee’s remote work eligibility that results in a geographic change in duty station will be
     considered an involuntary reassignment, and relocation expenses will be provided to eligible
     employees in accordance with the Federal Travel Regulations.


F. On-Going Work Location Designation and Selection:
     1. For any newly created positions, Management will identify the Work Location
         Designation eligibility for each position consistent with terms and provisions of this
         Article.
     2. Announcements of all new vacancies, details, and promotion opportunities will indicate
         the work location designation for which the position is eligible.
     3. New employees will be instructed to submit their work location preferences including
         duty station location, if applicable, as part of the new employee on-boarding process. The
         Bureau will make every effort to finalize new employees’ work location preferences prior


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        to their first day of work. If the Bureau is unable to finalize a new employee’s preference
        within that timeframe, the employee may request, and the Bureau will authorize a
        default telework arrangement of situational telework until the employee’s work location
        preferences are finalized.


G. Impact on Work Preferences When an Employee Changes Permanent Positions (e.g.,
     Transfer, Promotion, or Reassignment): Employees who permanently change positions (e.g.,
     apply and are selected for a permanent position in another division or office) will be
     required to align their work preferences to the work location and telework practices of the
     receiving office and/or the requirements of the new position.
H. Impact on Work Preference When an Employee Changes Positions Temporarily (e.g.,
     Details, Temporary Promotions): In order to ensure all employees have the same
     opportunities, divisions and offices seeking to fill positions temporarily will make those
     opportunities broadly available by allowing for the most flexible Work Location Designation
     possible. Employees applying for a detail or temporary promotion should consult the
     vacancy announcement to determine the Work Location Designations for which the position
     is eligible. Employees must consult with their new receiving office to determine whether they
     can maintain the same Work Location and telework arrangements or will need to alter them
     to meet the needs of the receiving office.
I. Effects on Terms of Employment: Participation in telework or remote work does not alter
     the terms and conditions of employment, including, but not limited to, an employee’s base
     salary, benefits, individual rights or obligations. All employees will receive the same
     treatment and opportunities with regard to awards and recognition, development
     opportunities, and promotions regardless of the employee’s chosen work location
     designation.
J. Employees are expected to fulfill their daily work requirement, as defined in the Work
     Schedules Article, in a Bureau Facility on days they have scheduled as in-office workdays.
     For example, if an employee is scheduled to work from a Bureau Facility on Mondays from
     8:00 am to 2:30 pm (includes a 30-minute unpaid meal break), six hours of work will be
     performed from the Bureau Facility. Any change to the regular work schedule must be
     approved by the supervisor in accordance with the Work Schedules Article. The employee
     must account for any time not engaged in work through use of appropriate, approved leave
     (e.g., annual leave, sick leave, credit hours, or LWOP).


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K. Overtime, Compensatory Time, and Credit Hours: CFPB’s policies regarding overtime and
     other premium pay and alternative work schedules apply to all employees regardless of their
     work location. Employees must not work overtime hours without pre-approval in writing
     from their supervisors. Employees working on a flexible work schedule may earn credit
     hours by voluntarily electing to work hours in accordance with the Work Schedules Article.
L. Alternate Worksite Materials and Equipment: CFPB will provide equipment as outlined in
     this section of this article. CFPB is not responsible for operating costs (e.g., home
     maintenance, insurance, internet access, or utilities) that may be associated with a
     teleworker’s use of their home as an alternate worksite or a remote worker’s use of their
     home as an official worksite. If an employee’s internet is not available, they may connect
     their CFPB laptop to the internet using the hotspot on their CFPB iPhone.
M. Injury Compensation: Employees who telework or work remotely may be covered by the
     Federal Employees’ Compensation Act if they are injured in the course of performing official
     duties at an approved alternate worksite or remote worksite. A teleworking or remote
     employee must immediately notify their supervisor of any accident or injury that occurs at
     the remote worksite or alternate worksite and must submit the required forms and
     associated documentation to the Department of Labor Office of Workers’ Compensation
     Program (OWCP).
N. Work Assignments and Performance: Teleworking and remote employees must complete all
     work assignments according to guidelines and standards set forth in their performance
     plans. Teleworkers and remote employees will be evaluated consistent with the CFPB
     performance management program and will be treated the same as Office Primary
     employees with regards to performance management.



Section 5 – Telework Eligibility
     A. All CFPB positions and employees are eligible to be considered for telework.
     B. Management will determine how much telework is appropriate by evaluating each
        situation to determine the optimum work arrangement and ensure that telework does
        not diminish employee performance or CFPB operations and is consistent with the
        provisions of this article. This includes consideration of information security and
        portability or availability of work materials.
     C. An employee is not eligible for telework under this Article if the employee:


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        1. Has been officially disciplined within the 2 years prior to the telework agreement, for
           being absent without approved leave for more than 5 days in any calendar year; or
        2. Has been officially disciplined for violations of subpart G of the Standards of Ethical
           Conduct of Employees of the Executive Branch governing misuse of position,
           including misuse of Government property (e.g., for reviewing, downloading, or
           exchanging pornography, including child pornography, or operating a for-profit
           business enterprise, on a Federal Government computer or while performing official
           Federal Government duties).
     D. The following criteria will be considered when evaluating employee requests for
        telework:
        1. The proposed telework arrangement is consistent with the operational needs of the
           Bureau.
        2. The nature of the work to be performed is suitable for a work-at-home or alternative
           work site setting and normal workflow requirements are not disrupted.
        3. Materials and information necessary to perform the duties of the position are capable
           of being moved to and from the office with data and systems security requirements,
           including data sensitivity and Privacy Act concerns, being adequately addressed.
        4. Work activities are portable and not dependent on the employee being at the Bureau
           facility. Interaction with co-workers, subordinates, superiors and customers can be
           performed electronically or by telephone.
     E. Frequency of telework will be determined by the extent to which the employee’s position
        requires them to perform job duties in-person at a Bureau facility or other location.
        Examples of such job duties or responsibilities include:
        1. Compliance with Privacy Act, security, or health/safety requirements that cannot be
           adequately addressed at an alternate worksite (e.g., access to material that is only
           available at a Bureau Facility, may not be removed from the Bureau Facility, and/or is
           not accessible by computer from the alternate worksite);
        2. Responsibility for security or building operations of CFPB Facilities;
        3. Facilities or equipment to perform the job that cannot be made available at the
           alternate worksite (e.g., hands-on contact with machinery, high-volume printing or
           photocopying);




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        4. Face-to-face contact (with other employees, internal Bureau customers, external
           stakeholders, etc.).
     F. Management has a right to discuss potential telework agreements, arrangements, and
        this Article with the employee. Denials and terminations of Telework Agreements (in
        whole or in part) will be based on the factors listed in this Section of the Article. Denials
        and terminations will be discussed in advance with the Office of Human Capital and the
        reasons for denial or termination (in whole or part) will be shared with the employee in
        writing upon request.
     G. When denying a request for telework, the supervisor must document the reason(s) for
        denial. A copy of the documentation will be retained by the Office of Human Capital
        (OHC).
     H. Annually at the end of the first quarter of the year, OHC will provide NTEU records of all
        denials of employee requests for telework including: (1) a unique employee identifier of
        the employee requesting telework; (2) the type of telework requested; (3) the amount of
        telework; (4) the employee’s job title; (5) the employee’s division; (6) the employee’s
        office; (7) the employee’s region (if applicable); (8) the name of the supervisor who
        denied the request; (9) the reason(s) given for the denial; and (10) the employee’s race,
        ethnicity (e.g., Hispanic or Not Hispanic), national origin, gender, whether the employee
        has a disclosed disability status (not the particular disability status) and whether they are
        over 40 or under 40. Where necessary to protect an individual’s privacy rights or other
        legal rights, redaction or aggregation of data may be employed.
     I. Telework as a reasonable accommodation: The Office of Disability and Accessibility
        Programs will analyze and evaluate an employee’s request for telework as a reasonable
        accommodation for a disability under applicable law and procedures governing such
        requests. Such requests should be referred to the Reasonable Accommodation
        Coordinator per the CFPB Reasonable Accommodation Policy.



Section 6 – Telework: Program Parameters
     A. Participation: Participation in the Telework Program is voluntary on the part of the
        employee and discretionary on the part of management. Supervisors may require specific
        days when employees will be required to report to their duty station as part of their
        Telework Agreement when necessary to meet mission needs. An employee may request


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        to terminate or modify a telework agreement at any time. Employees who participate in
        telework must ensure that work can be accomplished as efficiently and effectively at the
        alternate worksite as in the office environment. The parties recognize that the ability to
        telework is not a right; it is a benefit granted to employees consistent with the provisions
        of this Article.


     B. In-Person Requirements: There may be situations that require employees to accomplish
        work duties in-person on-site at a Bureau Facility or other work-related event or meeting
        location. Supervisors may require employees to report to work in-person to meet
        business needs. Continued participation in the Bureau’s Telework program is contingent
        upon employee adherence with in-person requirements. Supervisors will provide at least
        two full business days’ notice whenever possible requiring in-person attendance.
        Employees will attend all required in-person events unless they have pre-approved leave
        scheduled for that time. In the event the employee cannot attend the required in-person
        event, the employee must notify their supervisor of the circumstances. A telework
        employee who is required to report to the office on a regularly scheduled telework day
        may request to telework on an alternate day.
     C. Routine Telework: Routine telework arrangements range in frequency from one to five
        days per week (100% telework). Telework Primary employees will have a routine
        telework arrangement in place. Office Primary employees may request a routine telework
        arrangement for days when they are not in a Bureau Facility office.
        1. Employees may request to telework up to 100% pending any in-person office
            requirements and business norms that facilitate work completion or collaboration.
            Absent exigent circumstances employees will receive at least 2 business days notice
            when required to come into the office on scheduled routine telework days.
            Employees who are designated as Telework Primary and will telework 100% must
            perform work at the primary alternate worksite within the locality pay area
            associated with their duty station. For example, if an employee’s duty station is
            Washington DC, their primary alternate worksite must be located within the locality
            pay area of Washington, DC as defined by OPM.
     2. All full-time employees who are approved for situational telework under this Article will
        be approved for routine telework of a minimum frequency of one day per week, if the
        employee requests such an arrangement.


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     3. Employees approved for routine telework remain eligible to request additional instances
        of situational telework, subject to the terms of this Article.
     4. Employees may request supervisory approval to move their routine telework day(s).



     D. Situational Telework: Employees must request supervisory approval for each instance of
        situational telework. The employee will request such approval in advance, except when
        the Bureau’s operating status announcement states that unscheduled telework is
        authorized or in exigent circumstances or cases when the need for situational telework
        could not have been reasonably anticipated. When such an announcement is made,
        employees must notify their supervisors prior to the start of the employee’s regular
        workday that they will be teleworking.
        1. Situational telework requests must not exceed 30 consecutive calendar days.
        2. If employees have established a routine telework agreement, they must notify their
           supervisor when they are working from the alternate worksite outlined in a
           situational telework agreement if the alternate worksite is different from the location
           outlined in the routine telework agreement.
        3. Employees who are authorized for 100% telework may work from an approved
           secondary alternate worksite outside of their locality pay area so long as the total
           amount of time spent teleworking at the secondary alternate worksite (outside of the
           designated locality pay area) does not exceed a total of six months in a 12-month
           period.


     E. Extended Situational Telework: Employees may request to work from an alternate
        worksite for an extended period of time due to a personal reason or a medical situation.
        1. Extended situational telework may be approved for 31 calendar days up to 6 months
           without a change in duty station or locality pay. The Office of Human Capital will
           assess whether an employee's request for situational telework that is for more than 6
           months may necessitate a temporary or permanent change in the employee’s official
           duty station, and whether a change in official duty station is possible in accordance
           with the terms of this article.
        2. If an employee requests Extended Situational Telework because of a medical situation
           (e.g., a request to telework during an employee's recovery from a broken bone or


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           while assisting with a parent's recovery from surgery), the employee must submit
           medical documentation from a health care provider supporting the request to the
           WorkLife team in the Office of Human Capital. If the employee is requesting extended
           situational telework for their own medical need, they must provide medical
           documentation from a healthcare provider that includes a recommendation that the
           employee perform telework and the dates that the employee will require telework. If
           the request for extended situational telework is to provide care for a family member,
           employees must provide medical documentation from the family member’s health
           care provider that states the dates that the family member will require care.
           Employees will not be required to disclose their or their family member’s medical
           condition to support a request for extended situational telework. Requests for
           Extended Situational Telework for non-medical circumstances will be evaluated on a
           case-by-case basis.




Section 7 - Telework Procedures
     A. Employee Responsibilities. To participate in the Telework Program, employees must:
       1. Complete the Telework Fundamentals Training Program.
       2. Execute a Telework Agreement with their first-level supervisor and maintain a record
           of the agreement.
            a. For any alternate worksite, the employee must complete, sign, and submit a
                 Telework Home Safety Checklist to their supervisor;
            b.   If the telework request is because of a medical situation, the employee must
                 submit any applicable medical documentation, as described in the Telework
                 Program Parameters section above, to the WorkLife team of the Office of Human
                 Capital;
            c.   Telework agreements remain in force until canceled by the employee or
                 supervisor. If an employee on a Telework Agreement is promoted, reassigned or
                 detailed to another position, a new Telework Agreement is required.




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       3. Engage in official work during telework hours; be routinely and easily accessible to
           supervisors, colleagues, and customers during official duty hours; and respond to
           email, instant chats and video calls through web conferencing technology and
           telephone calls;
       4. Recognize that adjustments may need to be made to Telework Agreements in order to
           facilitate the accomplishment of CFPB work;
       5. Safeguard information and data handled while teleworking;
       6. Ensure a safe, viable workstation to perform required duties by meeting requirements
           outlined in the Safety Checklist;
       7. Accurately account for telework hours in the Bureau’s official timekeeping system by
           designating such hours as routine or situational telework. The rules governing the use
           of leave apply during telework. An employee’s time and attendance record is the
           official record of all telework hours worked;
       8. Accurately account for work and tasks performed during telework, as may be required
           by the supervisor;
       9. Discuss telework changes with the supervisor and initiate a modified Telework
           Agreement, if appropriate, including when an employee intends to telework from a
           location that is different from their approved alternate worksite.



Section 8 - Dismissals and Closures:
     A. The provisions below apply to CFPB employees who are scheduled to perform work in a
        Bureau Facility including Remote employees on temporary duty (TDY) location to a
        Bureau Facility on the day that a dismissal or closure is authorized for that facility.
       1. If the Bureau Facility is closed, employees with a Telework Agreement in place will be
           required to work from the alternate worksite designated on their Telework
           Agreement.
       2. Employees who are TDY to the Bureau Facility that day should contact their
           supervisor to determine whether there is an alternate location (e.g., hotel room)
           where they can be approved to work. If an alternate location cannot be established,
           management may excuse the employee from work in accordance with Bureau policy
           as appropriate.




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B. If the teleworking employee’s alternate worksite or a Remote employee’s duty station is
affected by an emergency, the employee may be excused from work in accordance with CFPB
operating status instructions.

     1. When an emergency affects only the teleworker’s alternate worksite management may
        require the teleworker employee to report to the official Bureau Facility worksite, or
        allow a Telework employee to take unscheduled leave as appropriate, or excuse a
        Telework employee from work in accordance with Bureau policy as appropriate.
     2. When an emergency affects only the remote duty station, management may allow a
        Remote employee to take unscheduled leave as appropriate, or excuse the Remote
        employee from work in accordance with Bureau policy as appropriate.




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     13. Workload Management
Section 1
The EMPLOYER will assign work in accordance with 5 USC § 7106(a), applicable laws, rules,
and regulations and the EMPLOYER’s mission, staffing, and workload requirements.

In assigning work, the EMPLOYER will assign work fairly and equitably, taking into
consideration workload, staffing and mission-related factors such as: opportunities for career
development and expertise enhancement; promotion of collaboration and knowledge transfer;
fostering work life balance; and rotation of assignments among interested and qualified
employees. Work assignments will not be made to reward or punish an employee.




Section 2
The EMPLOYER will notify employees of examinations or other assignments requiring
overnight travel as far in advance as practicable, generally at least two weeks in advance. Such
notice will generally include the date of the assignment. For examinations and targeted reviews,
employees will also be notified of the Examiner-in-Charge when the assignment is made, or if
there are any changes in the EIC assignment. Scheduled examinations or other assignments may
be subject to change on short notice based on mission-related exigencies.




Section 3
An employee may request a meeting with his/her immediate supervisor to discuss the
employee’s request for a workload adjustment. If the immediate supervisor agrees that a change
is appropriate, he/she will make a reasonable effort to adjust work assignments, prioritize work
assignments, and/or adjust time frames.




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Section 4
Changes in employee workload or work assignments which have more than a de minimis impact
are subject to the requirement to provide the UNION with notice and the opportunity to bargain
prior to implementation, consistent with the provisions of 5 U.S.C. Section 7106 and the Mid-
term Bargaining Article of this Agreement.




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     14. Travel
1.General Topics
A. Purpose
This Article establishes rules governing travel on CFPB business, which is defined as Official
Travel. Travel policies and other guidance consistent with this Article will be consolidated in this
document or referenced, as applicable. When employees conduct official travel for the Bureau,
they must comply with this Article. If there is a conflict between this Article and other policies or
guidance, this Article shall govern. CFPB follows the Federal Travel Regulations (FTR), 40 CFR
§300-304, and GSA SmartPay regulations, except where otherwise provided in this Article.


B. Definitions
     1. Actual Lodging. Lodging costs that are higher than the established per diem rate at a
        TDY.

     2. Alternate Travel. Any travel that differs from the official travel ordered for personal
        reasons, such as: travel to the TDY from a location other than the Duty Station; travel
        from the TDY to a location other than the Duty Station; travel by a mode of
        transportation other than what is most advantageous to the government; travel to/from
        the TDY is interrupted for personal reasons, (i.e., a stop-over); etc.

     3. Approving Official (AO). The AO is the person authorized to order travel, review, and
        approve travel Authorizations, Vouchers, and Local Vouchers within the Bureau’s
        Electronic Travel System (ETS). The AO may be an individual’s supervisor, a manager
        within the organization or a non-supervisory employee (such as a Regional Travel
        Specialist) who has a specific delegation of authority from the CFPB’s Chief Financial
        Officer (CFO).

     4. Business Justification. A comment that captures the reasoning behind a travel decision,
        which may include a Cost Comparison.




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     5. Car Service. A third-party company that offers on-demand, chauffeured transportation
        (distinguished from a Ride-Sharing Service, defined below).

     6. Centrally Billed Account (CBA). Account established by the Bureau to pay for official
        government travel expenses as provided in this Article.

     7. City-Pair. The two airports for a specific route designated through the GSA City-Pair
        Program.

     8. Comment. Additional information about a specific expense or trip that explains the
        Traveler’s decision or circumstance.

     9. Common Carrier. Private-sector supplier of air, rail, or bus transportation. This is the
        default method of official travel, except as provided under the terms of this Article.

     10. Contract Carrier. The airline which won the General Services Administration (GSA)
        contract for a specific city-pair route.

     11. Cost Comparison. A document that compares the costs of the available travel options to
        come to a decision on which travel approach is most advantageous to the government.

     12. Duty Hours. Regularly scheduled hours, excluding overtime hours, an employee is
        required to work each day or to account for by using leave, previously earned credit
        hours, compensatory time, or excused absence, or Leave Without Pay (otherwise known
        as Daily Work Requirement).

     13. Duty Station. Duty Station is the address, city/town, county, and State where the work
        activities of the employee’s position of record are based.

     14. Electronic Toll Collection System. A system for the automated collection of tolls on
        roadways and bridges.

     15. Electronic Travel System (ETS). CFPB’s designated automated system for booking
        official travel, authorizing official travel, and reimbursing official travel expenses.

     16. Fiscal Year. The accounting period begins on October 1 and ends on September 30. It is
        designated by the calendar year in which it ends.




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     17. Gainsharing Program. An incentive program in which CFPB employees are rewarded for
        specific means of reducing costs during official travel.

     18. Global Entry. A trusted traveler program of the U.S. Customs and Border Protection
        service that allows pre-approved, low-risk travelers to receive expedited clearance upon
        arrival into the U.S. Includes TSA Pre✓.

     19. Good Standing. The Government travel card account is current on payments and is not
        suspended or closed.

     20. Government Contract Carrier – Capacity Fare. Discounted government airfare offered by
        the contract carrier that is fully refundable and fully changeable. The lower-cost capacity
        fare ticket is identifiable through a three-letter fare basis code with CA (Contract Award)
        as part of it. The first letter of the three-letter fare basis code will vary by airline (e.g.,
        QCA, LCA).

     21. Government Contract Carrier – Government Fare. Government airfare offered by the
        contract carrier that is fully refundable and fully changeable. These contract fares are
        identified by the fare designator "YCA."

     22. Government Fares. Fares available only to travelers on travel for official government
        business.

     23. Government Travel Card (GTC). An account established at the request of the travel office
        for an individual traveler’s official government travel expenses. Also referred to as an
        individually billed account (IBA).

     24. Intervening Weekend. The two-day weekend in the middle of a two-week trip.

     25. Justification. Additional information required by the ETS audit function.

     26. Laundry. Includes dry cleaning, laundry service, coin-operated machines, and purchase
        of required laundry products at the TDY.

     27. Local Travel. Travel that occurs when the traveler is assigned to work at a location less
        than or equal to 40 miles away from his or her official Duty Station.




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     28. Lodging. Expenses, except lodging taxes in the US, for overnight sleeping facilities,
        baths, use of a room during daytime, telephone access fee, and service charges for fans,
        air conditioners, and heaters furnished in the room.

     29. Logistics Memo. A management-issued document describing logistics expectations for a
        specific assignment involving travel.

     30. Meals & Incidental Expenses (M&IE). A daily financial allotment based upon a specific,
        ordered location for meals and incidentals. Meals are breakfast, lunch, dinner and
        related tips and taxes (specifically excluded are alcoholic beverages and entertainment
        expenses). Incidental expenses are fees and tips given to porters, baggage carriers, hotel
        staff and staff on ships.

     31. Non-Local Travel. Travel that occurs when the traveler is assigned to work at a location
        more than 40 miles away from his or her official Duty Station.

     32. Non-Contract Carrier – Government Fare. Government fares offered by airlines that
        were not awarded the contract for a particular city-pair route. These fares are generally
        fully refundable and fully changeable. If the fare is not fully refundable and/or fully
        changeable, it will be noted as such in the fare description.

     33. Official Passport. An official government passport (“red passport”) that must be used
        when travelling internationally on official business.

     34. Official Travel Orders. An approved authorization, or prior written management
        directive, serves as proof that management ordered the official travel.

     35. Official Travel. Management-ordered assignment that requires an employee to travel to
        and from one or more Temporary Duty Location(s).

     36. Per Diem. A daily payment instead of reimbursement for actual expenses for lodging
        (excluding taxes) and M&IE. GSA establishes rates for destinations within the
        Continental United States. The Department of Defense establishes rates for non-foreign
        U.S. sites such as Alaska, Hawaii, Puerto Rico, and Guam. The Department of State
        establishes the rates for foreign destinations.

     37. Personal time. Non-duty time, e.g., Evenings, Weekends, Federal holidays, and leave.




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     38. Privately Owned Vehicle (POV) – Any vehicle such as an automobile, motorcycle,
        aircraft, or boat operated by an individual that is not owned or leased by a Government
        agency, and is not commercially leased or rented by an employee under a Government
        rental agreement for use in connection with official Government business.

     39. Public Fare on a Non-Contract Carrier. A publicly available fare offered by a carrier that
        was not awarded the contract for a particular city-pair route.

     40. Public Fare on Contract Carrier. A publicly available fare offered by a contract carrier.

     41. Public Fares. Fares available to the general public.

     42. Ridesharing Service. A third-party company that connects passengers to drivers for on-
        demand transportation (e.g., Uber, Lyft, SideCar).

     43. Shared Car Services. Membership-based service that offers members access to a
        dispersed network of shared vehicles (e.g., Connect by Hertz, CityCar, CityShare, Zipcar).

     44. Standard of Care. Travelers must exercise the same care in incurring travel expenses that
        a prudent person would exercise if traveling on personal business.

     45. Temporary Duty Location (TDY). An ordered work location more than 40miles away
        from an employee’s official duty station, where the employee is authorized to travel.

     46. Transportation Hub. A place where passengers and cargo are exchanged between
        vehicles or between transport modes (e.g., airport, bus station, train terminal, ferry
        slips).

     47. Travel Management Company (TMC). The designated third-party vendor for official
        travel support, including making, changing, and cancelling reservations.

     48. TMC Fees (Travel Fees). Fees that the travel management company charges to assist
        Travelers with booking transactions, such as making new reservations, changing
        reservations, and cancelling reservations.

     49. Travel rewards. External travel vendor benefit programs that provide points or other
        measures that are accumulated by members.

     50. Traveler. An employee who travels on government business.


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     51. Trusted Traveler Programs. Risk-based programs through the Department of Homeland
        Security that facilitate the entering of pre-approved travelers (e.g., TSA Pre✓ and Global
        Entry).

     52. TSA Pre✓. A trusted-traveler program of the Transportation Security Administration
        that allows pre-approved, low-risk travelers to pass through an expedited security
        screening at certain U.S. airports.

     53. Visa. A stamp placed in the passport, issued by the foreign consular officials at the
        Embassy of the foreign country that indicates that country’s approval of the traveler’s
        visit and granting permission for the traveler to enter that country for a specific time
        duration.

     54. Voucher. A method of seeking reimbursement for the actual, allowable costs of official
        travel.


C. Official Travel
There are two types of official travel between a traveler’s Duty Station and the TDY(s): non-local
travel and local travel.


D. Government Travel Card
All employees traveling for CFPB must obtain and use an individually billed government travel
card for travel expenses incurred while on official business, unless charged to the CBA in
circumstances discussed below. Cardholders must adhere to the GSA SmartPay regulations on
the use of the card and complete required training once every three years.

Cardholders must pay statement balances promptly and keep accounts current. Travelers must
reconcile travel card statements to ensure proper payments are received by the travel card
company and to detect unauthorized transactions. Travel Card account maintenance should
occur during duty hours as a required official duty. Undisputed charges on the travel card must
be paid in full by the statement billing due date.

For all employees, failure to adhere to applicable regulations and CFPB policy may result in
discipline, up to and including removal. Where travel is an essential duty, failure to maintain a
Government Travel Card in good standing may result in removal.


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While on TDY status, travelers are required to use the government travel card for the following
expenses:

         Common carrier transportation to/from the TDY

         Lodging

         Rental cars

Travelers may use their government travel card for other reimbursable expenses while on
official travel such as meals, gas for rental cars, taxis, car service, ridesharing service, car sharing
service and parking.

Travelers are not authorized to use the government travel card for:

         Personal expenses

         The purchase of alcohol

         The expenses of other travelers

         Shipping materials back from examinations, training, conferences, or other events.

Use of the Bureau’s Centrally Billed Account (CBA) may be appropriate for new employees who
have applied for, but not yet received, their government travel card or employees who are having
a problem with their card that is no fault of their own (e.g., lost or stolen cards when
replacement card has not been received).

The travel card company or CFPB may cancel or suspend an account for non-payment,
delinquency, returned checks, or unauthorized purchases. CFPB employees are generally not
allowed to travel on CFPB official business without an active travel card. The Travel Office
provides Travelers, their supervisors, and OHC with delinquency notices when there is an
overdue balance on the traveler’s government travel card.


E. Reasonable Accommodations
Travelers seeking reasonable accommodations for travel must coordinate with the CFPB
Reasonable Accommodation Coordinator to get the necessary approvals and notifications to the
travel agents. After the approval is granted, the traveler will be told how to make the



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arrangements for future travel to ensure compliance with CFPB policy. The traveler will follow
the instructions provided by the Reasonable Accommodation Coordinator and should allow
additional time for the travel agents to make necessary arrangements prior to the start of the
trip.




2. Planning Travel
A. Determining the Distance
The traveler should determine if the distance between the TDY and his/her Duty Station
requires non-local or local travel. Travel distance is calculated using the most direct route
between the Duty Station and the TDY. When authorized to drive, travelers must obtain written
approval for indirect routes that are advantageous to the Bureau based on the trip needs, such as
detouring around road closures, avoiding unpaved/country roads, or alternative routes that save
official travel time, to the extent such indirect routes are foreseeable in advance.

CFPB uses widely available electronic mapping sources (such as MapQuest or Google Maps) to
determine the direct route and authorized mileage. Travelers must use the street address of their
approved departure point for the point of origin and the address of their work assignment as the
end point. Travelers must attach a copy of the map used to determine mileage to associated
Authorizations, Vouchers, and Local Vouchers.

If the distance calculated necessitates non-local travel, the traveler must complete an
Authorization and a Voucher in the ETS.

A separate Authorization in the ETS is not needed for local travel. If the distance calculated
necessitates local travel, the traveler must complete a Local Voucher in the ETS. The voucher
must contain a description of the expense establishing the business need.


B. Non-Local Travel
Travel must not exceed two weeks in duration or include more than one weekend at the TDY,
unless expressly approved in advance by the CFO. Approval will normally be given if it will
avoid the need for lengthy two-way travel. Travelers should consider the need to keep their GTC




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account current when booking travel far in advance of the travel date and be aware of the billing
cycle applicable to their travel card.


C. Travel During Duty Hours
Bureau-ordered official travel must take place during an employee’s regular tour of duty to the
extent possible.


D. Travel Outside Duty Hours
Travelers are eligible for compensation for any additional hours spent in travel status beyond
their basic work requirement, in accordance with 5 C.F.R. §550-551 and the Overtime and Comp
Time Article. When it is not practicable to travel during duty hours or becomes necessary to
travel outside of duty hours, the traveler must identify the business need in writing in advance
of the trip to the AO. The traveler must include the business justification and any supporting
documents in the Authorization. The traveler must seek to obtain written approval prior to
traveling outside of duty hours in accordance with the terms of this Agreement.

If the workday, training, or other work event would cause the employee to extend the workday
(including travel time) beyond 12 consecutive hours, the traveler may remain onsite an
additional night. Travel home the next day must occur during duty hours where practicable
absent a business need.


E. Selecting Method of Transportation
Per the Standard of Care, travelers must use the transportation method that is most
advantageous to the Government, taking into consideration all factors including but not limited
to: total cost to the Government (including costs of per diem, overtime or other premium pay,
lost worktime, actual transportation costs), total distance traveled, number of points visited, and
number of travelers.

For all travel, the order of precedence as to the most advantageous method of transportation is:

      1. common carrier (default method)

      2. rental car

      3. privately owned vehicle (POV)


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Selection of some modes of travel over others might require documentation and justification.
The Bureau does not require or encourage any employee to use a POV in conjunction with
official travel.


F. Cost Comparisons
Travelers must use and attach the designated Cost Comparison Worksheet, and also attach cost
justification documentation, to compare the estimated cost of official travel to the estimated cost
of:

           a. alternate travel; or

           b. travel that accommodates personal time taken at the TDY.

When pricing use of a common carrier, the traveler must use the travel itinerary he or she would
otherwise select based on the requirements of the work assigned.

Many travel assignments are known in advance and should be planned reasonably in advance,
when possible, in order to take advantage of itineraries that are most advantageous to the
government. Travelers must use capacity government contract fares for purposes of cost
comparison, when established by GSA, unless the traveler can demonstrate that a capacity fare
was not available reasonably in advance of travel.


G. Air Travel

1. Airport Selection
Per the standard of care, Travelers must select the airport that is most advantageous to the
government. When evaluating multiple airport options, Travelers should consider:

          Cost –

              Transportation to/from the airport

              Airfare

              Available contract fares

          Time –


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             Total travel time

             Travel time within versus outside of duty hours

         Business Need –

             Available flight itineraries

If multiple airports offer flights and the total cost difference factoring in fares and ground
transportation costs is $100 or less, the traveler may choose either airport as long as the choice
does not extend the travel itinerary time by one hour (unless necessitated by business reasons).
No extra documentation is needed. If trip cost difference is more than $100, the Authorization
must include a business justification and documentation for the airport selection.
Documentation may include screenshots, cost comparison worksheet, etc.


2. Airfare Selection
The order of preference for airfare selection is:

         1. Government fares

          a. Government Contract Carrier – Capacity Fare

          b. Government Contract Carrier – Government Fare

          c. Non-Contract Carrier – Government Fare

         2. Public fares

          a. Public Fare on Contract Carrier

          b. Public Fare on a Non-Contract Carrier

Travelers must select Government Contract Carrier Capacity Fares whenever they are available
and meet the business needs. The Authorization must include a business justification and
documentation for any airfare selection other than government fares on the Contract Carrier.
Documentation may include screenshots, cost comparison worksheet, etc.

Travelers may select non-contract carrier government fares when contract carrier government
fares do not meet mission needs or are unavailable. Travelers are advised to read the fare


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restrictions prior to selecting a non-contract government fare. Use of a non-contract carrier
government fare must meet one of the following justifications:

      1. Space on a scheduled contract flight is not available in time to accomplish the purpose
          of travel, or use of contract service would require traveler to incur unnecessary
          overnight lodging costs which would increase the total cost of the trip;

      2. The contract flight schedule is inconsistent with explicit policies of this Article with
          regard to scheduling travel during normal working hours and a non-contract carrier
          would save an hour or more of travel time for a fully refundable government fare that
          is within $200 of the contract carrier’s capacity fare;

      3. A non-contract carrier offers a lower public fare that, if used, will result in a lower
          total trip cost to the Government (the combined costs of transportation, lodging,
          meals, and related expenses considered). See guidance on purchasing a public fare.

Travelers may select public fares when government fares do not meet mission needs or are not
available when prior written approval was obtained. Public fares are not available for purchase
via the ETS. Travelers must exercise caution when purchasing public fares for official travel.

Public fare preference is first given to the contract carrier and then to non-contract carriers.

Use of a public fare must meet the following criteria:

      1. Government fare is not available or does not meet business needs;

      2. AO approves public fare use in writing prior to purchase;

      3. If using a non-contract carrier public fare, the cost is lower than the contract carrier’s
          public fare including the airline fee to change a ticket.


H. Amtrak Train Travel
When traveling by Amtrak, the traveler must select the lowest class of fully refundable tickets
offered on that train. Amtrak has a Federal Fare Program, but the fares are not negotiated
annually like the government contract airfares.




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Train Selection
The order of preference for train selection is:

       1. Regional - Coach

       2. Acela – Business

Travelers must select Regional trains whenever they are available and meet the business needs.

Use of the Acela train must meet the following criteria:

       1. Regional train fare is not available or does not meet business needs;

       2. Travel is not adjacent to any personal time taken at the TDY.

Travelers must make Amtrak reservations through the TMC to obtain the Federal Fare.
Travelers must attach a copy of any Amtrak reservation to the Authorization.


I. Rental Car Travel
Travelers may use rental cars or shared car services on official travel. The order of preference for
rental car selection is:

       1. Economy, Compact, or Intermediate

       2. Full, SUV, or Minivan

       3. Specialty

Rental cars must be booked in the ETS with a government travel card to secure the car rate and
terms under the U.S. Government contract.


Rental Car Insurance
The U.S. Government is self-insured with claims addressed under the U.S. Torts Claims Act.
Travelers must waive insurance on the rental contract. Government insurance coverage on the
rental car does not extend beyond the immediate TDY. If the traveler has an accident with the
rental car while on official business for CFPB, s/he must seek medical assistance if needed and
then notify the relevant AO or the Travel Office to receive further guidance.


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Coordinating use of Rental Car(s)
Travelers assigned to the same TDY must coordinate use of rental cars to share rides and avoid
incurrence of unnecessary costs. Travelers are normally expected to share rental cars at a ratio
of two to three travelers to one rental car. In order to facilitate such sharing, travelers should
coordinate travel plans as much as practicable, and travelers tasked with securing rental cars are
expected to coordinate and help transport team members at the same hotel and those at other
nearby hotels.


Rental Car Selection
Travelers must select an economy/compact/intermediate vehicle unless a different class of car is
required for business reasons. Travelers must select the most advantageous option to the
Government. Travelers may give preference to venders on-site at the Transportation Hub
versus off-site, due to time savings. Travelers must include a business justification in the
Authorization if they do not choose the most cost-effective option.

Use of a full-size/SUV/Minivan vehicle must meet the following criteria:

      1. An Economy/compact/intermediate vehicle is not available or does not meet business
          needs;

      2. Traveler receives prior written approval from CFO.

The Authorization must include the prior written approval, a business justification, and
documentation for the selection of a full-size/SUV/Minivan vehicle. Documentation may
include screenshots, cost comparison worksheet, etc. Prior written approval is not required,
however, for free rental car upgrades.

Common business justifications for selecting a rental car that is not the preferred class include:

      1. Class booked is less expensive than economy/compact/intermediate class rates;

      2. Car will be shared by more than three travelers;

      3. Transporting government equipment or records that requires additional cargo space;
          or

      4. Adverse weather conditions in the TDY require an all-wheel drive vehicle.


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Specialty Rental Vehicle
For all other specialty vehicles, the Traveler must obtain prior written approval from CFO. The
Traveler must attach approval to the Authorization.


Personal Use of Rental Cars
Travelers may use rental cars for limited personal use at the TDY. Travelers must coordinate
use among the team at the TDY. Rental cars obtained for CFPB business must not be driven
away from assigned TDY(s) area.

If a car is needed for travel away from the local TDY area for personal reasons, the traveler must
rent one using their personal funds. The traveler must return the government car or give it to a
team member remaining at the TDY. Personal expenses (such as but not limited to: fuel, parking
away from the hotel, tolls, fines, etc.) incurred while using the rental car over intervening
weekends are not reimbursable.


Fuel for Rental Cars
Cost of fuel for rental cars is reimbursable. The Fuel Service Option (FSO) will be approved if
reasonable and justified by business reasons.

The FSO, including pre-pay, offered by rental car companies must be specifically approved in
the Authorization in order to be reimbursed. If the FSO is used, Traveler must include a
business justification in the Authorization.


GPS for Rental Cars
GPS offered by rental car companies must be specifically approved in the Authorization in order
to be reimbursed. If GPS is used, Traveler must include a business justification in the
Authorization.


J. POV Travel
The Bureau does not require or encourage any employee to use a POV in conjunction with
official travel. Where common carriers or rental cars are not available or do not meet business
needs, travelers may seek approval to use a POV. If the Bureau determines that another means
of transportation is more advantageous to the government, but the employee nonetheless elects


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to travel by POV, then the employee will be required to complete a cost comparison and indicate
that the use of POV was by personal choice. When pricing use of a common carrier, the traveler
must use the travel itinerary he or she would otherwise select based on the requirements of the
work assigned, and the employee should submit the travel authorization two weeks in advance,
when possible, to take advantage of discount contract fares when available for cost comparison.

In order to use a POV for official travel, the traveler (or an immediate family member) must own
or lease the vehicle to be eligible for reimbursement. The traveler must carry adequate liability
insurance per state law(s) and maintain and possess a valid driver’s license. Traveler must
include POV expense estimates in the Authorization, such as mileage, tolls, and parking. POV
mileage is reimbursed at the established GSA rate for the vehicle type.


K. Driving to/from the Transportation Hub
Travelers are typically expected to travel to and from the transportation hub using taxis or
public transportation. If a Traveler chooses a different method of transportation to/from the
transportation hub, reimbursement is limited to the lesser of the actual cost versus estimated
taxi cost, including fees for out of area service.


L. Being Dropped off or Picked Up from the Transportation
       Hub
If traveler is a passenger in a POV either driven to the hub on the day of departure or picked up
from the hub on the day of return, the following expenses are reimbursable up to the estimated
taxi fare:

       1. Parking fees paid while the driver waits for the traveler’s arrival or departure;

       2. Round trip mileage to the hub (Duty Station or Residence to common carrier
             departure point and return to Duty Station or Residence); and

       3. Tolls.


M. Local Transit
In major metropolitan areas, travelers are expected to consider the efficiency of public transit
versus taxis for their daily travel between the place of lodging and TDY. Per the Standard of


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Care, Travelers must choose the mode of daily transportation that is most advantageous to the
Government (including considerations of employee safety).

Where local transit systems offer a reloadable fare card, the purchase fee is reimbursable in
addition to the fares used for official travel. Travelers are expected to reuse such fare cards on
future trips to the extent possible.


N. Taxicabs
The use of taxicabs is limited to the following circumstances:

         To/from a transportation hub;

         To, from, and between the places of lodging and TDY, when there is not a business need
          for rental cars;

         While transporting luggage or government equipment or records that requires cargo
          space;

         Where public transit options are not available or do not meet the business needs

Taxicab tips are capped at 20 percent of the total fare and should be claimed together with the
taxicab fare in the Voucher.


O. Car or Ridesharing Service in Lieu of Taxicabs

Rideshare may be utilized in accordance with FTR §301-10.420 – §301-10.421. Under the
regulation, cost comparisons for services such as Lyft and Uber are not required to be compared
to local taxi rates. Tips are capped at 20% of the fare and usage restrictions are still applicable.

P. Calculating Taxicab Fare Estimates
CFPB uses widely available electronic taxi fare estimator websites (such as Taxifarefinder.com
or some similar service) to estimate fares. Travelers must attach a screenshot showing the taxi
fare calculation in the ETS when needed for a cost comparison or when using to support a travel
decision.




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Q. Per Diem Allowance
The physical location of the work assignment determines the TDY. On the first and last days of
the trip, travelers receive 75 percent of the M&IE rate for the TDY. During the remaining days of
the trip, except when meals are provided, the traveler will receive 100 percent of the M&IE rate
for the TDY.


R. Meals Provided
Travelers must identify meals in the ETS that are provided to them during official travel, unless
it is a free breakfast or manager’s reception provided by a hotel. This includes meals that are
part of external conferences and training registration fees when the Bureau pays for that
registration. Travelers must consult the Ethics Office on whether it is permissible to accept
meals as gifts from any sources other than the Bureau or lodging provider.

The ETS will deduct the appropriate portion of the M&IE when the traveler identifies the
specific meal(s) provided.


S. M&IE – No Overnight Stay
The traveler may claim 75 percent of the TDY M&IE rate for a non-overnight trip more than 40
miles from the Duty Station that exceeds 12 hours in travel status excluding any normal
commute time. Trips under the 12-hour threshold are not eligible for M&IE.


T. Lodging
Travelers must choose lodging in reasonable proximity to the physical location of the work
assignment. When nearby lodging is unavailable or does not meet the business need, the
traveler may choose other lodging that is advantageous to the Government. If lodging must be
obtained at a different location than the assigned TDY:

         the work site TDY, including M&IE, remains in place;

         use the actual lodging option if lodging at the non-TDY site exceeds the TDY work site
          amount.

If the traveler obtains lodging away from or outside the TDY solely because of a personal
preference, the allowable reimbursement is limited to the cost (including any extra



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transportation) the traveler would have otherwise incurred had he/she obtained lodging close to
the TDY. The traveler will not be reimbursed for any extra transportation or other costs.

Travelers should book lodging via the ETS or FedRooms to ensure government rate availability,
property’s compliance with FEMA safety guidelines, and arrival-day cancellation policy. If
Travelers book lodging outside the ETS or FedRooms, they are personally responsible for any
fees or costs that would not have been incurred if booked via the ETS or FedRooms. This
includes cancellation fees, no-show fees, booking fees, non-refundable deposits, pre-payments,
etc. Travelers should note that “government” rates offered by hotels do not necessarily represent
the per diem lodging rate for a TDY. Travelers are advised to check the per diem lodging rate
and the cancellation policy before making reservations.

Travelers who book lodging through a third-party provider such as Expedia, Hotels.com,
Airbnb, etc. must be able to document the room rate to compare to the TDY limit and will be
personally responsible for any taxes or fees that would have been exempted or included in the
hotel rate, such as a cleaning fee.


U. Lodging Taxes
Before travelling, the traveler must check if the TDY state offers lodging tax-exemptions for the
government travel card. In tax-exempt states, the traveler will not typically be reimbursed if they
paid hotel taxes. However, if the traveler makes a good-faith effort and the hotel refuses to
deduct the taxes from the bill, the AO may approve reimbursement. The traveler can check
CFPB’s online travel resources or with the Travel Office for state-specific information.

If a state does not offer lodging tax exemptions for the government travel card, the lodging taxes
are reimbursable.


V. Actual Lodging
A traveler may obtain lodging that is up to 300 percent of the per diem rate at the TDY.
Business justifications may include:

         Lodging and/or meals are procured at a prearranged place such as a hotel where a
          meeting, conference or training session is held;

         Costs have escalated because of special events (e.g., missile launching periods, sporting
          events, World’s Fair, conventions, natural or manmade disasters); lodging and meal


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          expenses within prescribed allowances cannot be obtained nearby; and costs to commute
          to/from the nearby location consume most or all of the savings achieved from occupying
          less expensive lodging;

         The TDY is subject to a Presidentially Declared Disaster and your agency has issued a
          blanket actual expense authorization for the location;

         Mission requirements;

         Any other reason approved within Agency.

Actual lodging costs must be approved in the Authorization and include an explanation of the
business justification and documentation. The traveler must adjust the lodging expense in the
ETS to reflect the actual lodging cost.

When a Traveler obtains lodging at a lower cost than the per diem rate for the TDY, the Traveler
must adjust the lodging expense in the ETS to reflect the final lodging cost. No special approvals
are needed.


W. Short-term Corporate Apartments
Short-term, furnished corporate apartments are available and can be used for rotational
assignments or special assignments with prior approval. The rental cost must include all utilities
in the set monthly amount. Fees for amenities (e.g., gym membership, concierge services, or
other premium services) are not reimbursable. Traveler would then divide the monthly rate by
the number of nights s/he will be at the TDY for that month to obtain a nightly rate. If that
nightly rate is different than the per diem rate for that TDY, actual lodging requirements apply.


X. Other Planning Considerations

1. ATM – Cash Withdrawals
Travelers may use the GTC for cash withdrawals the day before the trip begins or during official
travel. Cash withdrawals must be associated with non-local travel and are limited to the amount
of the M&IE for that trip.

Fees incurred on the GTC for the above withdrawals are reimbursable and must be included in
the Voucher for that trip. GTC cash withdrawals made under any other circumstance are



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considered misuse and may subject the card holder to disciplinary action up to and including
removal.


2. Change, Cancellation, or No-Show Fees
Change, cancellation, or no-show fees for official travel are reimbursable if incurred for official
business reasons or as otherwise permitted in this Article.


3. Checked Baggage Fees
The number of bags should be proportional to the length of the trip. The standard is up to one
checked bag for a one-week trip or up to two checked bags for a multi-week trip, unless there are
any extenuating circumstances (e.g., medical devices, records being taken to Duty Station after
an assignment ended, etc.). Only the fees for bags needed for the business trip are reimbursable.


4. Early Check-in Fees
CFPB will reimburse fees charged by common carriers to check-in early for official travel. This
applies to early check-in fees, not to early boarding fees. When a common carrier offers both
early check-in and early boarding benefits in a single fee, the fee for this service is reimbursable.


5. Electronic Toll Collection System
Travelers may use an electronic toll collection system to pay for tolls during official travel. Tolls
for official business are reimbursable, as well as related fees required to use an electronic toll
collection system in a government rental car.


6. Internet Usage
Use of CFPB-provided devices is the preferred method for travelers to access the internet.
Internet usage fees may be reimbursed when CFPB devices do not meet the business needs.


7. Laundry
A laundry subsidy is available when:

         The domestic Traveler is on official travel for at least four consecutive nights, not
          including personal travel; and,



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         The Traveler is at the TDY while the laundry is done.

Subsidy is capped at $15 for trips between four and seven consecutive nights, or $30 for trips
over seven consecutive nights, not including personal travel.


8. Parking
Parking for official business is reimbursable. Travelers must choose the most cost-effective
option that meets business needs (including consideration of employee safety).


9. Courtesy Shuttle Tips
Tips to courtesy shuttle drivers are reimbursable up to $2 per ride.


10. TMC Fees (Travel fees)
TMC fees incurred for business reasons are reimbursable.


11. Tolls
Tolls are reimbursable for official business only, not for meals, leisure activities, or commuting
between Duty Station and residence.

All of the above may require receipts, per the Receipts section below.


Y. Non-reimbursable Expenses
         Personal expenses

         Gifts

         Housekeeping service/tips, room service, and concierge tips,

         Lost and/or damaged luggage/personal property

         Early boarding fees

         Printing fees

         Business Center fees



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         Office supplies

         ATM fees on cards other than the government travel card

         Towing or impound fees

         Tickets issued by law enforcement

         Costs of POV ownership and operation, including charges for repairs, depreciation,
          cleaning, replacements, grease, oil, antifreeze, gasoline, license and registration fees,
          insurance, state, and Federal taxes

         Cost of POV deductibles or repairs

         Rental car insurance

         Membership fees for shared car services, roadside assistance plans, rewards programs,
          bike share programs, etc.

         Transportation by luxury class vehicles, including limousines

         Parking at traveler’s Duty Station or residence

         Use of a vehicle for personal reasons

         Shipping costs

         Use of a rental vehicle away from the TDY

         Use of a rental vehicle by any non-CFPB traveler

         Conference registration and/or training fees (see Training Article)

         Other expenses not necessary to support CFPB mission requirements.


Z. Authorization for Travel
The travel Authorization, which includes travel details and expense projections, serves as
CFPB’s official record of the trip’s approval and travel orders. Authorizations are required for
non-local travel and for local travel where the employee received a local travel waiver. The dates
of travel, the TDY ordered, and other travel decisions reflected in the Authorization must



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conform to the official travel expectations provided by the AO (such as the Logistics Memo or
email from AO).

The traveler must enter estimates for expenses reasonably expected to be incurred on the trip.
Each Authorization must include supporting cost justification and special approval
documentation to permit an accurate estimate of the cost of the trip.

The traveler must submit each Authorization at least two (2) business days prior to the trip start
date. Authorizations submitted for approval after travel has begun or taken place require the
traveler to request and obtain an exception from the CFO and attach it to the Authorization and
Voucher.


              1.   Auto-Approval of Non-Local Travel
Travelers who meet the eligibility criteria below will be granted authority to approve eligible
non-local Authorizations in lieu of their AO. The AO coordinates this approval with the Travel
Office. The auto-approval of non-local travel will be valid for a full fiscal year and automatically
renews for travelers who meet the eligibility criteria.


ELIGIBILITY CRITERIA
Travelers must:

         Have a government travel card in good standing; and

         Have not received a reprimand or suspension for travel-related conduct reasons within
          the previous 12 months; and

         Have completed required training.


RESCINDING AUTO-APPROVAL
If employees violate CFPB travel policies or guidelines set forth by the AO, AO will provide
training and guidance. If after 30 days travel actions still do not comply, Auto-Approval can be
revoked.

Auto-approval of non-local travel will be withdrawn if the Traveler no longer meets the
eligibility criteria. Travelers may seek reinstatement of auto-approval of non-local travel once
they meet the eligibility criteria.



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USE OF AUTO-APPROVAL
If any of the following conditions exist, the traveler must attach prior written approval to the
Authorization, before auto-approval of non-local travel:

         Travel outside normal duty hours (except for travel on intervening weekends)

         Use of a local travel waiver

         Use of a non-contract carrier government fare

         Use of a public airfare

         Booking lodging over the per diem rate

         Use of a rental car to be used by only one traveler

         Use of leave

         A change in mode of travel

         A change to or addition of a TDY

         An extension to the trip

If any of the following conditions exist, the traveler must use the standard authorization process
and may not auto-approve non-local travel:

         Alternate Travel;

         Remaining at a TDY for two or more consecutive weekends, or over a three-day
          weekend;

         An increase to transportation cost beyond $200;

         Trips where the funding source is not the traveler’s organization; or,

         International Travel.


2. Authorization in the Absence of Auto-Approval
The AO will review and approve the Authorization in advance of the travel.




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3.            Justifications and Comments Pertaining to Authorizations for
              Travel
Certain expenses or decisions require a justification and/or comment. Examples include, but are
not limited to:

         Justifications:

             Actual Lodging (lodging room rate exceeds TDY limit)

             Taxis over $100 per day

             Rental cars other than economy/compact/ intermediate class

             If no attachments are included

             Non-standard ticket class

             Use of a non-contract carrier, non-contract carrier airfare, or non-government airfare

         Comments:

             Starting and ending locations (e.g., TDY, or Hotel) for taxi, POV, public
              transportation, and free shuttles where tip is being expensed

             Coin-operated cost per load of laundry

             Fees for excess or heavy bags entered as Checked Bag Fees when the trip is less than
              a week

             Internet usage fees

             Any special rationale useful for explaining the travel decisions

Travelers are strongly encouraged to include comments to justify expenses in support of their
business needs. Justification and comments protect against audit risks and serve to expedite the
approval process.


4. External Speaking Event Documentation
When ordered to travel to speak at an external event, the traveler must attach any required
written approval to secure travel orders for that event.


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5. External Conference and Training Documentation
When ordered to travel to attend an external conference or training, the traveler must attach an
approved SF-182 (Authorization, Agreement, and Certification of Training) to secure travel
orders for that event.


AA. Amending Authorizations Due to Changes Before Travel
Any travel plan changes must be coordinated between the Traveler and the AO. Some changes
require an amendment to the Authorization: a change in mode of travel, change to or addition of
a TDY, an extension to the trip, or conditions that increase the transportation cost beyond $200.
Prior to ticketing, Travelers can make amendments before the trip occurs. After ticketing,
Travelers must wait until the trip concludes to amend an Authorization.


BB. Planning Local Travel
Planning local travel is limited to determining the most advantageous method and route of
travel. The employee may not claim non-local status for lodging, M&IE, etc. if the work
assignment is within 40 miles of the employee's Duty Station unless the employee obtains a
local travel waiver.


1. Local Travel Rental Car
Rental cars may be approved for local travel based upon business needs. Traveler must book the
rental car in the ETS and create an Authorization. A rental car cannot be reimbursed in a Local
Voucher. Traveler should include a business justification in the Authorization.


2. Local Travel Taxi
Taxicabs may be approved for local travel between the Duty Station or residence and TDY, based
on business needs.


3. Local Travel Waivers for Home Duty-Stationed Employees
Home Duty-Stationed employees may obtain four local travel waivers per fiscal year of which
two may only be used for SEFL or OSE all-hands training conferences within the defined local
travel area. Each local travel waiver applies only to one Authorization. The employee’s




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supervisor or AO must approve the waiver in advance in writing. The approval also must be
attached to the Authorization.


CC. Cancelling Reservations and an Authorization
If traveler’s travel plans need to change, it is important to address those changes as soon as
possible so as not to incur unnecessary fees or other charges. If an Authorization has been
created, but not yet approved, it can be deleted or cancelled in the ETS. If an Authorization has
been approved in the ETS, it must be amended to reopen and cancel it. Reservations made in
the ETS should be confirmed as cancelled with the TMC. Reservations made outside the ETS
must be cancelled directly with the vendor. Remember to document any change fees and save
receipts for reimbursement in the next trip Voucher or Local Voucher.




3. Traveling
A. Leave in Conjunction with Official Travel
Subject to normal leave approval procedures, travelers may use leave during official travel if the
number of leave days does not exceed the number of workdays at the TDY. Trips with leave days
in excess of the workdays may not be eligible for some reimbursements. The government will
not pay for any personal expenses while the Traveler is on leave, with the exception of
unscheduled sick leave during official travel. Approved scheduled leave must be clearly marked
in the Authorization and a cost comparison for the transportation costs must also be attached.


1. Unscheduled Sick Leave
When a Traveler gets sick or injured on official travel, normal sick leave procedures apply.
During the illness or injury, the Traveler remains eligible for per diem, transportation between
the TDY and Duty Station, and necessary local transportation to seek medical care. If a Traveler
needs to add more than 14 calendar days due to the illness or injury, the AO will coordinate with
the CFO concerning an extension.




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2. Emergency Leave
If an emergency arises that requires the traveler to leave the TDY before the work assignment
ends, the traveler must work with the AO and the TMC (and their supervisor, if the AO is not
their supervisor) to make the necessary arrangements.

If the emergency requires travel to a location other than the duty station, the provisions of the
Alternate Travel section in this Article apply.


B. Unanticipated Changes in Approved Travel Plans
Any travel plan changes must be coordinated between the Traveler and the AO. Some changes
require an amendment to the Authorization: a change in mode of travel, change to or addition of
a TDY, an extension to the trip, or conditions that increase the transportation cost beyond $200.
After ticketing, Travelers must wait until the trip concludes to amend an Authorization.
The traveler must contact the TMC for assistance with any reservations made through the ETS.
Reservations made outside the ETS must be changed directly with the vendor. Remember to
document any change fees and save receipts for reimbursement. The TMC offers emergency,
after-hours assistance.




4. Reimbursing Travel
Travelers are reimbursed for official travel expenses by submitting a travel voucher, which
reflects the actual allowed expenses incurred during the trip. Travelers must verify and update
expenses in the voucher that carried over from the Authorization to reflect actual costs. Any
estimated expenses included in the Authorization that were not incurred must be deleted.

CFPB will not pay for excess costs resulting from unapproved travel that is not advantageous for
the Bureau. A Traveler may be personally liable for costs incurred or subject to disciplinary
action for traveling without pre-approved official orders.

NOTICE: Fraudulent claims against the U.S. Government may result in (a) forfeiture of
reimbursement (28 U.S.C. § 2514) and/or (b) fines or up to five years imprisonment (18 U.S.C.
§§ 287, 1001) and/or (c) disciplinary action up to and including termination.




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A. Justifications and Comments Pertaining to Vouchers
Certain expenses or decisions require a justification and/or comment. Examples include, but are
not limited to:

          Justifications:

              Actual Lodging (lodging room rate exceeds TDY limit)

              Taxis over $100 per day

              Rental cars other than economy/compact/intermediate class

              If no attachments are included

              Non-standard ticket class

              Use of a non-contract carrier, non-contract carrier airfare, or non-government airfare

          Comments:

              Starting and ending locations (e.g., TDY, or Hotel) for taxi, POV, public
               transportation, and free shuttles where tip is being expensed

              Coin-operated cost per load of laundry

              Fees for excess or heavy bags entered as Checked Bag Fees when the trip is less than
               a week

              Internet usage fees

              Not recording a provided meal in M&IE

              Change fees

              TMC fees not in the Authorization

              Cancelled trip expenses must reference the Authorization number of the cancelled
               trip

              Electronic Toll Collection System expenses; including reference to Authorization
               number, if in a non-associated Voucher or Local Voucher



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              Passenger – No Expense

              Any special rationale useful for explaining the travel decisions

Travelers are strongly encouraged to include comments to justify expenses in support of their
business needs. Justification and comments protect against audit risks and serve to expedite the
approval process.


Passenger - No Claim
When travelers ride as passenger and have no expense to claim, traveler must include this in the
Voucher’s expense section.


B. Receipts
Travelers must attach certain receipts when submitting a Voucher or Local Voucher. A receipt is
required for any expense item of $75 or more. Receipts must be legible and show that the
expense was paid. If a receipt is lost, incomplete, or is otherwise unavailable, Travelers are
encouraged to contact the Travel Office immediately.

The following receipts are required regardless of the expense amount and must contain the
information listed below (to the extent such information is provided by the vendor upon the
employee’s request):

          Hotel

              Traveler’s name

              Hotel name

              Hotel location

              Daily hotel rate or the itemized amounts charged

              Zero balance or other to indicate that the hotel was paid for the stay

          Airfare and Amtrak

              Traveler’s name

              Common Carrier name


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              Ticket number or unique booking identifier

              Travel dates and route

              Amount paid

          Early Check-in fee (Airline)

              Traveler’s name

              Common Carrier name

              Date of Expense

              Amount paid

          Rental Car

              Traveler’s name

              Company name

              Pick-up and return dates

              Car class

              Itemized list of charges and taxes

              Amount paid

                  If there was a complimentary upgrade, must show it was at no additional cost

          Checked Baggage Fee

              Traveler’s name

              Common Carrier name

              Date of Expense

              Amount paid

          Laundry (non-coin-operated)




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           Traveler’s name

           Company’s name and location

           Date of Expense

           Amount paid


C. Documentation
Documentation may consist of screenshots, cost comparison worksheets, mileage maps, written
prior approvals, etc. as required by this Article.


1. Non-Local Vouchers
Travelers should submit their Voucher within five (5) business days of the trip end date.
However, Travelers are responsible for keeping their government travel card in good standing.
Vouchers will normally be paid within five (5) business days of AO approval. However, if an
issue arises with respect to a particular claim on a voucher, such issues will be resolved
expeditiously, or if not resolved within an additional ten (10) business days, then the remaining
(undisputed) claims on the voucher will be approved for payment pending resolution of the
disputed issue.


2. Local Vouchers
Travelers have three options for submitting Local Vouchers:

        1. At the end of the fiscal quarter; or,

        2. At the end of an examination; or,

        3. When expenses reach $50.

Travelers must reference the assignment(s) that necessitated the local travel.




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3. Cancelled Trips Expenses
When an approved Authorization is cancelled, the TMC fees must be submitted for
reimbursement in a subsequent non-local Voucher or Local Voucher in the same fiscal year.

Travelers are encouraged to contact the Travel Office with any questions related to cancelled trip
expenses.


4. Electronic Toll Collection System Expenses
When an electronic toll expense is billed after the Voucher is approved, a traveler may amend
the Voucher or add the expense to the next Voucher or Local Voucher. Travelers must include
the trip number for any expenses claimed that were incurred on another trip.




5. Auditing Travel
Travelers may be contacted to obtain additional information and/or receipts when needed.
Expenses claimed by the traveler that are not compliant with or reimbursable under this Article
are required to be paid back to CFPB unless waived, in accordance with the provisions of the
Waiver of Overpayment Article.

Audits are also conducted by external entities such as the Office of the Inspector General, the
U.S. Government Accountability Office, etc. Travel and travel card records are also available to
the public under the Freedom of Information Act (FOIA).

A cost comparison may be performed in the course of a travel audit, and the traveler may be
asked to provide a business case justification for the use of the more costly option.




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6. Special Travel Topics
A. Exigent Circumstances
Travelers are expected to structure travel in compliance with this Article. In the event that
unusual travel circumstances arise, Travelers are encouraged to contact the Travel Office as
early as possible.


B. Ethical Considerations

1. Airline Compensation for Voluntary Changes
Travelers may keep compensation given by an airline for voluntarily vacating a seat on a
scheduled flight when the airline asks for volunteers. The following conditions must be met:

          Voluntarily vacating the seat does not interfere with performance of official duties; and

          Additional travel expenses, incurred as a result, are borne by the traveler, and are not
           reimbursed; and

          Traveler is not eligible for any additional premium pay not required by business needs;
           and

          If volunteering delays the travel during duty hours, the traveler must request approval
           for and use annual leave, compensatory time, credit hours, or leave without pay to cover
           those delays, under normal leave procedures.


2. Airline Compensation for Involuntary Changes
If an airline involuntarily removes a traveler from a flight, the traveler should request a check
made out to CFPB in place of a voucher. The traveler must send the check to the Travel Office.

If a Traveler is involuntarily removed from a flight, the provisions of the Unanticipated Changes
in Approved Travel Plans section in this Article apply.




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3. Traveler Reward Programs
Employees can participate in airline, hotel, rental car, and other loyalty programs and may use
those points to upgrade seats, rooms, or cars during official travel, as long as it does not result in
additional cost to CFPB. Employees may also use the points or benefits for personal travel or for
official travel through the Gainsharing Program.


4. Gifts During Official Travel
If any person or entity other than a Federal government agency offers the traveler anything of
monetary value in connection with official travel, the traveler may be prohibited from accepting
it. Such items may include, but are not limited to:

          Free attendance, food, refreshments, or materials

          Transportation, lodging, meals, or other travel expenses

          Hospitality or entertainment

          Honoraria for participation

          Non publicly available discounts



The traveler must never request, encourage, or solicit a gift. Travelers should consult the Ethics
Office for advice and guidance.


5. Gifts from Foreign Governments
Travelers must consult the Ethics Office for advice and guidance concerning gifts from foreign
governments.


C. Alternate Travel
Alternate travel requires prior written AO approval. Alternate travel should not be routine.
Departure from a location other than an employee’s duty station should not amount to more
than 50% of a traveler’s trips in a fiscal year. Departure from a TDY to a location other than the
duty station must be booked outside the ETS with a personal card.




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Travelers must use the Cost Comparison to determine reimbursement limits. Claims for
reimbursement are limited to the lesser of the cost of the official travel ordered versus the
proposed alternate travel. When travelers choose a slower mode of transportation for personal
reasons, the additional travel time must be on the traveler’s personal time. If that travel occurs
during duty hours, the traveler must request approval for and use annual leave, compensatory
time, credit hours, or leave without pay to cover the additional travel time, under normal leave
procedures.

Only transportation required by the official travel orders may be booked in the ETS. Any
transportation that differs from the official travel orders for personal reasons must be booked
outside the ETS and paid for with personal funds.

Travelers must include comments about any alternate travel in the ETS.


D. Intervening Weekend Travel
On intervening weekends, travelers have the option to remain at the TDY (“Stay”) or leave the
TDY (“Go”). When choosing to Go, transportation costs to and from the TDY are reimbursable.
Travelers are not eligible for per diem expenses once they leave the TDY, until they return to the
TDY.

Travelers must include comments about intervening weekend travel in the ETS.

If the traveler chooses to leave a TDY on an intervening weekend, up to three hours of the travel
time for the departure and up to three hours of the travel time for the return are compensable.
This compensable time may be a combination of regular duty and compensatory time for travel.
Any additional travel time must take place on the traveler’s own time, outside of regular work
hours. The traveler is limited to the actual travel time for the trip or three hours per leg,
whichever is less.

If the traveler chooses to leave the TDY more than three hours prior to the end of the workday or
return more than three hours after the start of the workday, the traveler must request approval
for and use annual leave, compensatory time, credit hours, or leave without pay to cover the
additional travel time, under normal leave procedures. The traveler may take his/her unpaid
lunch break immediately adjacent to the duty hour allowance.




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Alternate travel rules apply if the traveler chooses to travel away from the TDY to a location
other than her/his Duty Station and returns from a location other than their duty station to the
TDY.

The AO may withdraw the option to leave the TDY during an intervening weekend for business
reasons.

Travelers who remain at the TDY over an intervening weekend, must work their regular duty
hours unless approved for leave under normal processes. They are not entitled to accrue
premium pay for staying at the TDY, other than what is required by the work assignment. They
must follow normal approval procedures if they want to request leave and/or premium pay.


1. Tax Implications
When the cost to Go exceeds the cost to Stay, the difference is considered a taxable benefit under
IRS Internal Revenue Title 26 1.62.2. Paid Vouchers are reviewed to determine whether the
traveler incurred this benefit on an intervening weekend. If so, the reviewer will calculate the
difference between the cost to Stay and the cost to Go based on the actual expenses in the
Voucher. If the cost to Go is more than the cost to Stay, the difference will be reported as a
taxable benefit in a separate 1099 (or W2, if possible) to be issued each year by January 31 for
the prior calendar tax year.

To alleviate this tax burden, the OFP will take the taxable benefits, multiply by 27.5 percent to
calculate a tax-offset payment, and submit the 27.5 percent tax offset to be paid through the last
paycheck of the calendar year as a non-taxable allowance to offset the taxable benefit reported
on the 1099 (or W2, if possible). For example, if the Voucher review determines that the cost to
Go is $300 and the cost to Stay is $200, the $100 difference will be reported to the IRS as a
taxable benefit paid to the employee on the 1099 (or W2, if possible) and OFP will submit a
payment file to payroll to have a $27.50 tax allowance ($100 x 27.5%) added to the employee’s
last paycheck of the calendar year to help offset the estimated tax on the 1099 (or W2, if
possible) amount. The traveler will be responsible for including the 1099 (or W2, if possible)
amount as other income in their tax return.


E. Frequent Traveler Stipend Program (FTSP)
Eligible travelers may receive:



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          $40 per night for Eligible Temporary Duty Travel (ETDY) nights 51-70; and

          $50 per night for ETDY for nights 71 and beyond.

Travelers must complete and submit the designated FTSP form to the Travel Office by January
15 for the previous calendar year’s travel. The Travel Office will verify eligible nights by
February 15 and submit the payroll file by February 22. Payment for the stipend occurs in one
lump sum payment in conjunction with wages for the next pay period cycle, which is typically
the fourth pay period. Travelers must ensure that every night claimed is eligible and fully
documented in the ETS by January 15, in order for the night to be verified for payment. Nights
that cannot be verified by the Travel Office in the ETS by February 15 will not be paid. Required
documentation must be attached in the ETS and includes but is not limited to:

          receipts as required by this Article

          approved and accurate travel dates and locations

          Gainsharing forms

ETDY excludes:

           a. Nights incurred for personal reasons, rather than business reasons;

           b. Nights on days where the traveler used more than two hours of annual leave,
                compensatory time, credit hours, or leave without pay;

           c. Nights incurred so that an Employee may telework at the TDY;

           d. Nights in violation of this Article;

           e. Overnight travel of a new hire prior to that individual’s first day of employment; or

           f.   Other travel not required by the CFPB.


F. Gainsharing Program
Travelers may receive 50 percent of the combined savings from using travel rewards to purchase
an airline or rail system ticket, rent a car, or acquire overnight lodging for official travel.




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Travelers may also receive a set allowance of $25 per night for staying with friends or family
while on official travel in lieu of a hotel.

Travelers must document the value of the ticket, car rental, hotel rate, or friends/family
allowance on the Gainsharing form and attach it to the Authorization. The Gainsharing
expenses must be included in the Authorization. The form, expense entry, and CAM1
Gainsharing field in the accounting string must be in the Authorization and Voucher.

Gainsharing payments are taxable benefits and reported to the IRS and employee on a 1099 (or
W2, if possible) each year for the previous calendar year’s benefits. CFPB does not pay a tax
offset paid for this benefit.


G. Trusted Traveler Programs TSA PreCheck and Global
       Entry Programs
Travelers who meet the eligibility criteria below may seek reimbursement for the application fee
(initial and renewal) for Global Entry or TSA Pre✓. Expenses incurred to complete the
application process such as mileage, postage, parking, or for expired program benefits are non-
reimbursable. Travelers may use one duty hour to complete the application process.


1. Eligibility Criteria
In order to be eligible for reimbursement, travelers:

          Must have a government travel card in good standing;

          Must have paid the application fee after their official start date at CFPB; and

          May not be reimbursed for application fees more than once every five years.


2. Tax implications
TSA Pre✓ and Global Entry reimbursements are taxable by the Internal Revenue Service, will
be reported to the employee and the IRS on a 1099 as part of the employee’s income, and will
not be grossed up to account for potential taxes owed. Participants in this program should
become familiar with applicable IRS rules or consult with their individual tax professionals.




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H. Death of Employee while on TDY Travel
If a traveler dies while on TDY status, the relevant manager will contact the Travel Office for
guidance on travel issues. CFPB will follow the Federal Travel Regulation (FTR) Part 303-70 –
Agency Requirements for Payment of Expenses Connected With the Death of Certain Employees
and Family Members – to address expenses connected with an employee’s passing while on TDY
travel.




7. International Travel
A. Planning International Travel
Planning International travel must begin at least six weeks prior to travel and at least eight
weeks prior to travel if a visa is needed. Travelers must be familiar with all aspects of the
international travel policy outlined in this Article before beginning their trip.


B. Obtaining an Official Passport and Visa
When a CFPB employee travels abroad on official business, the employee must travel on an
Official government passport (“red passport”).

Travelers are responsible for working with the CFPB Travel Office to obtain an Official
government passport and to determine whether they are required to obtain a visa. Travelers
must provide the appropriate documentation required for the passport and visa to the CFPB
Travel Office. Visa application packages must be submitted to the Travel Office in hard copy
after the Official Passport is received.

Some countries require letters of invitation before they will issue a visa; travelers must ensure
that letters of invitation (provided by management) are included with the application package
submitted to the Travel Office. The traveler will be reimbursed for the expense of the passport or
visa photos in the trip Voucher in the ETS.


C. CFPB Foreign Travel Approval Form
The traveler must complete the CFPB Foreign Travel Approval Form for each international trip,
including trips that do not involve an overnight stay. A CFPB Foreign Travel Approval Form is


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required for any trips to the freely associated States of the Republic of Palau, the Republic of the
Marshall Islands, and the Federated States of Micronesia, but not U.S. territories.

The form requires the following information:

          Itinerary (dates and location, including any personal time);

          Purpose of travel;

          Travel justification (including travel objectives and benefit to CFPB);

          Estimated cost and description of cost (including alternatives to travel considered and
           costs covered by external sources);

          Other CFPB and US Government attendees (when known), if applicable; and

          Supervisor review and approval.

Estimated cost information should be derived from a draft Authorization in the ETS and should
include any conference/training fees. The form will be reviewed for approval by the CFPB Chief
of Staff. Incomplete forms will be returned without approval.


1. International Travel Authorization
Travelers must complete an authorization for foreign travel in the ETS and attach the signed
Foreign Travel Approval Form to the Authorization. Travelers may not use auto-approval for
international travel.

When ordered to travel to speak at an external event abroad, the traveler must attach any
required written approval in the ETS. If the traveler is a member of the Office of Research and
presenting self-directed research at an international conference, the traveler must upload an
approved Self-Directed Research Speaking Request Form to the ETS.

Travelers must also attach any other approval documentation needed, such as Ethics forms, SF-
182, etc. Approving international authorizations requires at least five business days.


2. International Per Diem Rates
The applicable per diem rates will appear in the ETS when completing the Authorization and
Voucher.


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When determining if hotel rates are within per diem rates, be aware that international lodging
per diem rates include taxes. To determine if the hotel rate is within the per diem rate, it is
sometimes necessary to contact the hotel directly and ask about taxes.

International M&IE rates cover laundry, so it is not expensed separately in the Voucher.


3. International Reservations
Travelers may book an Economy Plus (or equivalent) seat on International flights when the total
flight time, including non-overnight stopovers and change of planes, is more than 14 hours.

Similar to domestic travel, all flight reservations must be booked and authorized using the ETS.
Lodging may be secured through the ETS or FedRooms. If rooms cannot be secured at the per
diem rates, a description and justification must be provided in the Authorization and the
Foreign Travel Approval Form.

If the traveler is concerned about the early purchase of a seat upgrade, a high-priced ticket
and/or approaching the limit on their government travel card, they should contact the Travel
Office for assistance.


D.Before International Travel

1. U.S. State Department Country Clearance Approval
Once an Official Passport is obtained, the traveler must complete the State Department’s
Country Clearance Form, during duty hours, and receive approval from the State Department
prior to travel. The traveler must provide a copy of the approval to their AO and the Travel
Office for documentation purposes and in case it is needed during the course of travel.


2. Government Travel Card Advisement
The traveler must contact the government travel card company to place an international travel
notice on the card, in order to prevent any purchases from being blocked as suspected fraud. If
the traveler will be using the card at foreign ATMs, h/she is encouraged to discuss this with the
government travel card company as well.




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3. Immunizations for International Travel
Expenses for immunizations not covered by health insurance can be reimbursed as part of the
Voucher or in a Local Voucher.


          4. Use of CFPB Technology Abroad
Travelers may not take CFPB-issued devices on any overseas travel (official or personal), unless
approved to do so by T&I. If approved, Travelers must follow all T&I guidance and policies.

Temporary devices that are configured for international usage may be obtained from the Service
Desk for use while on international travel. Once the traveler contacts the Service Desk, the
international device will be prepared and traveler will be asked to surrender the domestic device
until traveler returns the international device after the traveler’s travel is completed. The Service
Desk usually needs a minimum of two business days to prepare the international device. The
international device will be wiped clean upon the traveler’s return.


E. During International Travel

1. Obtaining Cash
Travelers must use their government travel cards to obtain cash while on international travel for
anticipated out-of-pocket reimbursable expenses. Any documented ATM fees or currency
conversion fees incurred will be reimbursed as outlined in the receipt, which must be attached to
the voucher.


2. Traveler Health, Personal Safety, and Security
Employees will not be expected to travel to areas designated by the State Department in Travel
Alerts or Travel Warnings. CFPB will assist in the evacuation, transportation and providing
medical and legal assistance to foreign travelers when necessary.


      F. After International Travel
If the international travel required 14 hours or more in total travel time to return to the duty
station, Travelers may request upon their return:

          Five business days of situational telework, if their duty station is a CFPB office; or,


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          To work from their home duty station for five business days.


1. International Travel Voucher
All expense amounts must be converted to U.S. currency. The traveler must provide a screen
shot of travel card charges to provide an exact exchange rate and reflect any fees charged for
foreign currency transactions. For transactions paid in cash where a conversion rate is not
available on a travel card or personal card, travelers must use an online currency converter to
convert foreign currency expenses based on a conversion rate for a specific date and a specific
currency and attach a screenshot to provide supporting information for the AO.


2. Official Passport and Gifts
Official Passports are property of the U.S. Government and must be returned for safekeeping to
the Travel Office immediately upon a traveler’s return to the United States. If the traveler
received a gift from a foreign government and it has more than minimal value, the traveler must
contact Ethics for advice and guidance.




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      15. Training
Section 1
The Parties agree that training which promotes efficiency and economy in the operation of the
CFPB and develops the maximum performance of official duties by employees is a matter of
significant importance in fulfilling the mission of the EMPLOYER. The CFPB’s Professional
Licenses, Certifications, and Membership Policy, External Training Policy, and related Program
guidance provide information on the EMPLOYER’s policies concerning training. The
EMPLOYER is strongly committed to the goal of developing skilled, efficient, and productive
employees. In recognition of this, the Employer will, in alignment with its training policies and
within budgetary constraints and workload considerations, make training available to
permanent employees in accordance with merit systems principles and applicable laws, rules,
regulations, and the provisions of this Article. The training policies of the CFPB will be
administered in a fair and equitable manner in accordance with the provisions of this Article
and the mission requirements of the CFPB.




Section 2
A. In accordance with 5 USC § 7106, the EMPLOYER has the right to determine what training
      does or does not relate to the mission of the Bureau.

B. Required training shall include all training that is a requirement of the employee’s position.
      It is understood that Attorneys (0905 Series) are required to be licensed by a state bar as a
      condition of employment. It is also understood that many states require compliance with
      annual continuing legal education (CLE) requirements.




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Section 3
A. The EMPLOYER agrees to provide professional and career development training resources
      and funding to its employees in accordance with existing policies, procedures, and programs,
      within budgetary constraints, workload considerations, and the provisions in this Article.

B. The Employer will consider the following factors in evaluating employee requests for
      external training including but not limited to:

         a. Whether the training's structure and performance objectives are valid for the
              employee's needs and will enable the employee to increase his or her
              knowledge/skills to perform his or her current official duties.

         b. Whether comparable training is available through EMPLOYER developed courses or
              it would be too costly and/or inefficient for the EMPLOYER to develop a comparable
              course at this time.

         c. Whether the course meets the needs of the employee and the EMPLOYER as well as
              or better than other courses of its nature which may also be available at that time.

         d. Whether sufficient funds are available in the training budget.

         e. Whether the course is being taken solely for the purpose of obtaining a degree or
              certification.




Section 4
Upon request, the EMPLOYER will work with an employee in the development of a written
Individual Development Plan (IDP). Development of an IDP is voluntary. This plan will identify
developmental needs and suggested activities to meet those needs. Such activities may include:
formal classroom training, on-the-job training, self-study, developmental job assignments, and
other activities which are appropriate. When working with the employee in preparing that
employee's IDP and at other times, as appropriate, the EMPLOYER will coach employees and
provide feedback concerning their goals, objectives, knowledge and skills, and developmental
activities.




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Section 5
The Employer will provide eligible members of its Supervision staff the opportunity to
participate in a Graduate School of Banking (GSB) program. Participation is voluntary and
those wishing to participate must apply through the Supervision Learning and Development
process. Program execution including selections for participation will be made from all
applications based upon selection criteria outlined in the existing program guidance on
Graduate School of Banking.




Section 6
Issues concerning training and development may be an item on the agenda of the Labor
Management Forum and, if raised, will be discussed in that forum.




Section 7
For any training which requires an employee to travel outside his or her designated commuting
area, the EMPLOYER agrees to a goal of scheduling training such that the majority of associated
travel can be accomplished during the employee’s normal tour of duty, absent an interference
with the accomplishment of the EMPLOYER’s mission, staffing and workload requirements.




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      16. Performance Management
Section 1 - Scope and Eligibility
This article applies to all bargaining unit employees – except:

          Employees serving on temporary appointments of less than 90 days;

          Interns, serving less than one year;

          Volunteers, regardless of length of volunteer service;

          Employees who are excluded by 5USC4301(2)




Section 2- Rating Scale, Elements and
     Standards
  A. Management has determined that Employees will be rated using a two-level system, as
          defined in the table below.


TABLE 1:        PERFORMANCE STANDARDS BY RATING LEVEL


     Rating Level       Performance Standard for Rating Level
                        Employee does not consistently demonstrate the overall intent of the
     Unacceptable
                        competency or has not made acceptable progress towards accomplishment of
     (1)
                        associated outcomes.
                        Employee consistently demonstrates the overall intent of the competency
     Accomplished
                        including commendable progress towards accomplishment of associated
     Performer (3)
                        outcomes despite obstacles outside the scope of the employee’s control.



B. Ratings will be reflected in the inCompass System as either 1 – Unacceptable or 3 –
Accomplished Performer and the rating of record submitted for employee records will be a 1 or a
3.



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C. Following OPM requirements, Management has determined that performance plans under a
two-level rating system will consist of critical elements only. The critical elements (also known
as team member performance standards) are established by the Office of Human Capital and
reflect the behaviors, impacts, and general outcomes necessary to meet the Bureau’s strategic
goals and those deemed as required to successfully perform the essential duties of a job. Team
member performance standards (critical elements) include Bureau-wide competencies, tailored
by job pay band level and, in some cases, by job function. Team member performance standards
(critical elements) are organized into three competency families as shown below.


TABLE 2:      TEAM MEMBER PERFORMANCE STANDARDS (CRITICAL ELEMENTS)


  Competency family                       Performance standards
                                          Providing High Quality Results
  Getting the Work Done                   Work Management
                                          Accountability
                                          Building Inclusive Relationships
  Investing in Yourself and Others
                                          Building Capability
                                          Demonstrating and Sharing Subject Matter Expertise
                                          Analytic Thinking
  Leveraging Expertise
                                          Oral Communication
                                          Written Communication



D. Details of performance standards for team members and for certain occupations and pay
      bands are found on the Performance Management Portal in documents titled as effective
      October 1, 2017.
E. Employees will receive a rating for each of the three applicable performance standards
      families and Management has determined that each family will be of equal weight. Because
      all performance elements are critical, a rating of Unacceptable (1) on any performance
      element will result in a Summary Rating of Unacceptable (1).
F. Rating Officials should define and maintain documentation of work assignments, work plans
      and work outcomes as general expectations for work quality and work management. It is
      expected that work assignments and plans may change over the performance period and
      such changes in expectations should be discussed between the Rating Official and employee.




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Section 3
Performance Plan Requirements
  A. Each employee must be placed on a written performance plan in accordance with this
       article.
 B. Performance plans will, to the maximum extent feasible, permit the accurate evaluation of
      job performance on the basis of objective criteria. Performance plans will be:

      1. Aligned with the Agency’s strategic objectives and priorities, as well as those of the
         specific business unit;

      2. Compliant with the Bureau-wide competencies, standards, and critical elements
         established for performance management purposes;

      3. Realistic, reasonably within the control of the employee;

      4. Reflective of the “Accomplished Performer” performance level at the employee’s current
         pay band (not “stretch” standards); and

      5. Amended, as needed, if the employee changes pay band or in certain changes in of
         occupational code or position.

 C. The Rating Official should provide the employee with his or her performance plan generally
      within 30 days of the beginning of each rating period.


 D. The Rating Official and the employee will meet to discuss all performance standards set
      forth in the employee's performance plan, and any expectations regarding the quality,
      quantity or timeliness of work assignments required to meet the “Accomplished Performer”
      standard. The employee may request clarification from the Rating Official concerning the
      meaning of performance elements and measurements. The Rating Official should be able to
      explain how the performance plan for the position relates to the specific duties,
      responsibilities, or major projects assigned to the employee on a recurring basis. To the
      extent possible, supervisors should follow-up discussions about performance expectations
      in writing, via email or written memoranda, to promote a common understanding.


 E. A new performance plan should be provided to, and discussed with, an employee generally
      within thirty (30) calendar days of a position change (e.g., change in job function,


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      promotion, reassignment, change to a lower pay band level, or temporary promotion to a
      higher pay band level of 90 days or longer). New performance plans will not be issued to an
      employee merely due to a change in supervisor.



F. Any new or modified performance plan will not be implemented until provided to the
      employee and discussed between the employee and the Rating Official.


G. The CFPB performance cycle is October 1 through September 30, although other
      performance appraisal periods may be specified as needed.




Section 4
On-Going Performance Feedback and Mid-
     Year Discussions
A. Rating Officials are expected to maintain an ongoing dialogue with employees about work
assignments and performance, providing feedback and coaching guidance to employees on a
regular and recurring basis throughout the year in order to ensure employee accomplishments
are routinely recognized, expectations are clearly understood, employees are engaged in
learning and enhancing their own performance, and any concerns are identified and addressed
at the earliest possible time. To the extent possible, supervisors should follow-up discussions
about performance expectations in writing, via email or written memoranda, to promote a
common understanding.

B. In order to provide regular feedback and coaching and to promote open and honest dialogue,
the Rating Official and the employee should have monthly "check-in" discussions to share
information on work status and issues, share ongoing instructive and constructive feedback,
jointly problem-solve, and build a strong relationship.

C. Ongoing performance feedback, coaching, and monthly “check-in” meetings are informal
interactions and are not required to be documented in the performance management
information system.




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D. An employee may request performance feedback at any time. Rating Officials are encouraged
to honor requests for informal performance discussion whenever possible.

E. A progress discussion (Mid-Year Coaching Discussion) will be held with each employee at the
mid-year of the performance cycle; typically, in the April to May time frame. The performance
coaching elements will be reflected in the mid-year discussion and narrative. This Mid-Year
Coaching Discussion involves no rating but does require the Rating Official to write a brief
narrative describing the employee’s strengths, accomplishments, and progress in relation to
performance standards or outcomes, and to prepare for a performance coaching discussion.
Changes in projects, assignments, etc. should be described so there is an understanding about
what is expected in the remainder of the rating period. The Mid-Year Coaching Discussion
document will be provided to the employee no later than two (2) workdays before the
discussion. The Reviewing Official’s review and approval of the Mid-Year Coaching Discussion is
not required.

F. Mid-Year Coaching Discussions will be conducted by conversation (either in person, by
phone, by video conference, or similar methods that allow real-time interaction and
communication between the Rating Official and employee), so that the Rating Official and
employee have the best opportunity for a two-way discussion. Results of the performance
coaching discussion will be summarized by the Rating Official to create the final Mid-Year
Coaching Discussion document. Employees may add comments to the discussion
documentation before signing to acknowledge receipt.

G. If the Bureau determines that an employee's performance is at risk of falling below the
acceptable level, but not yet unacceptable, the Rating Official will counsel the employee. The
Rating Official will identify specific actions or steps the employee must take in order to avoid an
unacceptable rating. Assistance provided by the Rating Official may include, but is not limited
to, closer supervision, on-the-job training, or formal training. These counseling discussions
should be documented by the supervisor with a copy provided to the employee within five (5)
workdays of the counseling.

H. Rating Officials will provide employees with copies of any documentation containing
performance-related feedback that the Rating Official determines will have a significant impact
on an employee’s Year-End Performance Summary. This includes any documentation that is
referenced or relied upon in the evaluation. The Rating Official will share this documentation
with the employee as soon as possible, normally within fifteen (15) workdays of when the



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documentation is received or prepared by the Rating Official, or the date that the Rating Official
determines that it will have significant impact on the employee’s performance rating.




Section 5
Year-End Performance Summary
A. A Year-End Performance Summary will provide the employee with summary feedback
covering the full performance period and coaching guidance to ensure that employee
accomplishments are recognized, and employees are engaged in learning and enhancing their
own performance. The Year-End Performance Summary also includes a rating of employee
performance and establishes the Rating of Record.

B. The Year-End Performance Summary will be completed in a fair, objective, and equitable
manner in accordance with the terms of this article. Rating Officials will assess actual job
performance in relation to the performance standards set forth in the Performance Plan. Rating
Officials will also consider factors outside the employee's control that may have impacted
his/her performance, such as heavy workload, changes in priorities, changes in assignments and
travel (if applicable), business exigencies, etc.

C. Employees may provide performance examples (work products, feedback from others, etc.)
for the supervisor’s consideration in preparing the Year-End Performance Summary.

D. The Rating Official will seek to obtain performance information from other supervisors for
whom the employee has worked directly during the evaluation period and will give appropriate
consideration to performance information provided by other employees and supervisors.

E. The Year-End Performance Summary requires the Rating Official to provide a rating and to
write a brief narrative describing the employee’s strengths, accomplishments, year-end progress
in relation to performance standards or outcomes, and to prepare for a performance coaching
discussion. After obtaining the Reviewing Official’s review and approval the Rating Official will
provide a copy of the Year-End Performance Summary document to employee no later than two
(2) workdays before the discussion.

F. After receiving approval of the Year-End Performance Summary document from the
Reviewing Official, the Rating Official will arrange for a discussion (either in person, by phone,


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by video conference, or similar methods that allow real-time interaction and communication
between the Rating Official and employee) with the employee to discuss the Year-End
Performance Summary.

G. Results of the coaching discussion will be summarized by the Rating Official to create the
final Year-End Performance Summary document. Employees may add comments to the
discussion documentation before signing to acknowledge receipt.

H. Mutually agreeable changes (requiring agreement of the employee, Rating Official, and
Reviewing Official) to the narrative or rating for the Year-End Performance Summary can be
made prior to entry of the finalized evaluation, without filing a grievance. Rating Officials are
encouraged to explore this informal problem-solving procedure as appropriate.

I. Employees will have the opportunity to submit written comments to the final Year-End
Performance Summary. Employees will be provided with a reasonable amount of duty time, not
to exceed three (3) hours, to prepare written comments concerning the Rating Official's final
determination of performance. This time should be granted no later than two (2) workdays after
it is requested. An employee will be provided at least two (2) workdays to submit his/her
comments; if the employee is on a Custom Schedule instead of the Gliding Schedule (CFPB
Default), or approved leave , he/she will be granted two (2) workdays upon return to duty to
submit comments. Employees will provide such comments in the appropriate sections of the
Year-End Performance Summary document.

J. A Year-End Performance Summary will be completed once per performance period for each
employee and issued to the employee within seventy-five (75) calendar days after the end of the
performance period.

K. Specific due dates and incremental due dates, and instructions for processing Year-End
Performance Summary, will be published annually to both employees and Rating/Reviewing
Officials.

L. With the exception of employees whose first-line supervisor is the Director, all Year-End
Performance Summary documents will be reviewed and approved by a Reviewing Official.

M. An employee must have been working under an approved Performance Plan for at least
ninety (90) days before a rating may be issued. Special exceptions may apply when the employee
has been on approved extended leave such as medical, military, or FMLA leave. Rating Officials



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should consult with the Office of Human Capital for instructions in these special situations.
Additional information may also be found on the Performance Management Portal.

N. A Union representative will receive a performance rating in the Year-End Performance
Summary provided that the Union representative has performed at least 120 hours of ratable
work based on assigned duties included in his/her position description during the performance
period.

O. An employee’s performance rating in the Year-End Performance Summary will not be
lowered for engaging in any activity protected by law, including but not limited to, approved
absences from work during the rating period.

P. If the rating in the Year-End Performance Summary is at the Unacceptable level, the reasons
for this rating must be explained in a narrative to support the rating. The narrative will identify
and discuss specific performance deficiencies in direct relation to the performance standards set
forth in the Performance Plan. If the Rating Official determines that an employee should be
rated as Unacceptable, the Rating Official will notify the employee of the intended rating and
provide the employee with an opportunity to meet and discuss the preliminary rating. This
notification will occur no later than two (2) days before the submission of the rating to the
Reviewing Official. The employee may not file a grievance concerning the preliminary rating, but
any written comments provided by the employee will be provided to the Reviewing Official to
consider along with the Year-End Performance Summary prepared by the Rating Official.




Section 6
Ratings Distribution Information
A. Within a reasonable time after the completion of the rating cycle, subject to the Privacy Act
      and other applicable laws, the Bureau will provide NTEU with a summary table illustrating
      the distribution of summary ratings by: division/office, job series, grade, region, duty
      station, gender, race/national origin, age (under/over 40 years of age), and bargaining
      unit/non-bargaining unit status.




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Section 7
Poor Performance and Performance
     Improvement Plans
A. If the Bureau determines that an employee's performance is at risk of falling below the
acceptable level, but not yet unacceptable, the Rating Official will counsel the employee. The
Rating Official will identify specific actions or steps the employee must take in order to avoid an
unacceptable rating. Assistance provided by the Rating Official may include, but is not limited
to, closer supervision, on-the-job training, or formal training. These counseling discussions
should be documented by the supervisor with a copy provided to the employee within five (5)
workdays of the counseling.

B .Non-probationary employees who are performing at an unacceptable level in one or more
performance elements will be placed on a Performance Improvement Plan (PIP), in accordance
with the requirements in 5 U.S.C. Chapter 43 and given a reasonable opportunity of at least 90
days to improve his/her performance.

C. For non-probationary employees, during the performance appraisal cycle when the Rating
Official identifies that an employee’s performance level on any critical element(s) is at the
Unacceptable level, the employee must be informed of this unacceptable performance on a
timely basis and informed about the performance standards that he or she must reach to attain
performance at the Accomplished Performer level.

D. For non-probationary employees, management has determined that the Rating Official, with
the assistance of OHC, is responsible for developing a PIP and placing the employee on the PIP.
A formal rating of record of Unacceptable or prior counseling is not required before informing
an employee about performance deficiencies, and Rating Officials should not delay informing
employees about unacceptable performance until a formal rating of record is given.

E. Each PIP must be in writing and must:

      1. Identify the specific critical element(s) in which the employee is deficient.

      2. Describe the types of improvements (e.g., specific work or projects to be completed, steps
         or procedures to be followed, changes in display of expertise in specific competencies)




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         that the employee must demonstrate to meet the expectations of his or her performance
         plan.

      3. Identify the minimally acceptable level of performance the employee must reach in order
         to be retained in his/her position, which is defined as the Accomplished Performer level.

      4. Offer assistance to the employee in improving performance to reach the Accomplished
         Performer level. This assistance may include formal training, on-the-job training,
         counseling, peer/team lead review, closer supervision, and/or other support.

      5. Provide the employee a reasonable opportunity to demonstrate acceptable performance,
         commensurate with the duties and responsibilities of the employee's position.
         Employees will be given a minimum of 90 days to do so. If 90 days is not sufficiently
         long to allow the employee to demonstrate the required performance, then the Rating
         Official may decide to extend the initial PIP period, in coordination with OHC, if it is
         determined that additional time would be beneficial for the employee to attain the
         required performance level.

      6. Inform the employee that, at the conclusion of the PIP, if performance has been
         unacceptable, the employee may be reassigned, changed to a position of lower pay band,
         or removed from CFPB. The PIP must state that any improvement in performance above
         the Unacceptable level for the identified critical elements must be maintained by the
         employee for a period of one year from the start of the PIP, or a performance-based
         removal, reassignment, or change to a position of lower pay band action may be initiated
         without offering another opportunity to improve.

F .If an individual is placed on a PIP during the last 90 days of the appraisal period, the Year-
End Performance Summary is deferred, and a Rating of Record will not be assigned until
completion of the PIP.

G. Upon completion of the PIP, the manager will document performance with a Summary
Rating. Documentation of performance results will compare performance with deficiencies
identified in the PIP.




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Section 8 - Reduction in Grade or Removal
     Actions
A. If an employee’s performance does not improve to the Accomplished Performer level within
the time period set forth in the PIP, CFPB can take action to remove the employee or reduce the
employee’s pay band level in accordance with the provisions of the Unacceptable Performance
article.

B. CFPB will keep documentation concerning a reduction in grade or removal based on
unacceptable performance, which will be available to the employee and/or his/her
representative. CFPB will comply with 5 CFR 432.107 concerning agency records of
unacceptable performance by employees.

C. Employees working at CFPB during their probationary or trial period whose performance
falls to the Unacceptable level may be separated from CFPB without first being placed on a PIP.
Additionally, some employees are not entitled to the due process provisions listed above as
indicated by 5 CFR 432.102(b).




Section 9 - Records
A. The maintenance, retention, access, and disposal of performance records will be maintained
in accordance with applicable law and regulations. Performance Management Files including
Year-End Performance Summary and the Performance Plans on which they are based, must be
retained for four (4) years. Performance Plans, the rating of record, and Year-End Performance
Summary will be maintained in an Employee Performance File (EPF) that is separate from
Official Personnel Folders (OPF). As technology allows, EPFs will be uploaded to the Electronic
Official Personnel Folder (e-OPF).

B. CFPB will comply with 5 CFR 432.107 concerning agency records of unacceptable
performance by employees.

C. If an employee leaves CFPB by transfer to another agency or separation from the Federal
government, the Employee Performance File, will be transferred to the gaining agency or the
National Personnel Records Center, as appropriate.



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D. Other performance records (e.g., PIPs) will be maintained in separate files within OHC for
five (5) years.




Section 10-Labor-Management
     Performance Management Working
     Group
The joint labor-management performance management working group shall convene bi-
annually to gather feedback and share ideas for program success.




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      17. Employee Awards and
        Recognition Program
Section 1
The Bureau will recognize and reward employees through the Employee Awards and
Recognition Program for exceptional achievements above and beyond the scope of their normal
duties and responsibilities. The program is also designed to reward employees for promoting the
Bureau’s core values to Serve, Lead, and Innovate.

The Employee Awards and Recognition Program includes three (3) types of awards or
recognition:

          Monetary Awards: Lump sum cash payments

          Time-off Awards: Excused absences without charge to leave or loss of pay

          Non-Monetary Recognition: Recognition given in the form of a Certificate of
           Appreciation, retirement recognition, or federal length of service recognition

The Awards and Recognition Program is separate and distinct from the CFPB Compensation
Program, in which employees are eligible to receive annual salary increases and supplemental
lump sum payments based on their summary performance rating. Awards should not be
routinely given by a supervisor or come to be expected by an employee.

All award determinations should encourage employee excellence and recognize employee
contributions. Management will apply the eligibility criteria outlined in this Article fairly and
consistently when making award determinations, without regard to any non-merit factor (for
example, race, color, sex (including pregnancy, sexual stereotyping, and gender
identity/expression)), religion, national origin, age (40 or over), disability, uniformed status,
sexual orientation, genetic information, parental status, political affiliation, marital status,
membership in a labor organization or union activities, or prior EEO or whistleblower activity).




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Section 2
A. The Bureau will establish an annual budget for all monetary and non-monetary awards for
      all Bureau employees. The Bureau has determined that it will establish an annual budget of
      0.5% of all employee salaries (not including locality).

B. Each Division will receive a pro rata share based on headcount of the annual budget for
      monetary awards and is responsible for managing awards within this budget across the
      Division’s offices and assigned staff. Each Division’s awards budget will be further allocated
      on a pro rata basis between bargaining unit and non-bargaining unit employees.

C. An Assistant Director may only give monetary and time-off awards to employees within
      his/her Office (due to budget transfer considerations). In the event an Assistant Director
      would like to give a monetary and/or Time-off award to an employee in another Office, the
      Assistant Director must coordinate the award request through the Assistant Director of the
      employee’s Office, as the award will reduce the budget of the Office in which the employee
      resides.

D. CFPB will budget centrally for the Director’s Mission Achievement Award (so as not to
      reduce Division-level budgets) as well as Time Off Awards, and any standard costs
      associated with non-monetary awards.




Section 3
A. All levels of CFPB supervisors (employees with direct reports) may submit award
      nominations for any eligible employee to their Assistant Director for approval. In addition,
      non-supervisors may directly nominate other employees for the Director’s Mission
      Achievement Award(s), and all employees are encouraged to bring noteworthy
      accomplishments of their peers by submitting a recommendation for any other types of
      awards to the appropriate supervisory or management official.

B. Nominations for awards may be made at any time, unless otherwise directed by the Director
      of the Bureau. OHC may specify certain award processing periods within the program year
      to facilitate efficient administration of awards.




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Section 4
A. Awards will not be processed prior to appropriate approvals noted throughout this Article.

B. A monetary award is a lump-sum payment and is not considered basic pay, except for
      annuity calculation purposes.

C. All monetary awards shall be subject to applicable tax withholding rules such as Federal,
      State, FICA, and Medicare taxes.

D. Monetary awards are not subject to an employee’s pay band maximum limitation.

E. Awards may not be given for retention purposes or to account for perceived salary inequity;
      these matters may be addressed under other Bureau policies and procedures.

F. There are no limits on the number of monetary awards granted to an employee in a program
      year. However, an employee may not be recognized more than once for the same
      contribution, with the exception of the Director’s Mission Achievement Award, which
      recognizes overall contributions during the previous program year.

G. Approved awards may be presented by the requesting supervisor and/or Assistant Director
      in a public forum or individually given to the employee receiving the award.

H. Each division will share (electronically post or distribute) a list of award types and award
      recipients for all employees of the division on a periodic and timely basis (at least quarterly
      when possible).

I. The Employer may reduce the budget only in response to a significant, unforeseen adverse
      event impacting the budget and occurring during the course of the year, subject to its
      obligation to bargain.




Section 5
All CFPB employees are eligible to be considered for monetary and time-off awards (unless
otherwise indicated in the award definition) with the following exceptions:

          The Director of the Bureau;


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          Detailees from other agencies;

          Volunteers;

          Interns hired with appointment terms of 90 days or less;

          Contractors;

          Employees who currently are on a Performance Improvement Plan (PIP) or have
           received a reprimand or suspension for conduct reasons within the previous 6 months;

          Employees who have separated, transferred, or retired from the Bureau.




Section 6 -Table of Awards
TABLE 3:        TABLE OF AWARDS

  Award Type                  Award                    Amount               Comments

                                                                            Assistant Director
  Monetary Awards             CFPB Spot Award1         $50 - $500           approves & manages
                                                                            budget
                                                                            Assistant Director
                              Superior Achievement
  Monetary Awards                                      $750 - $2500         approves & manages
                              Award
                                                                            budget
                                                                            Assistant Director
                              Team Achievement         $250 - $1,500 (per
  Monetary Awards                                                           approves & manages
                              Award                    employee)
                                                                            budget
                              Director's Mission                            Director selects award
  Monetary Awards                                      Up to $7,500
                              Achievement Award                             recipients2
                                                                            Assistant Director
  Time Off Award              Time-off Award           0-40 hrs             approves & manages
                                                                            usage
                                                                            Division’s Assoc. Dir.
                                                       41-80 hrs            and Chief of Staff, or
  Time Off Award              Time-off Award
                                                       NTE 80 hrs/yr        his/her designee
                                                                            approves
  Non-Monetary                Certificate of
                                                       Non-monetary         N/A
  Recognition                 Appreciation
  Non-Monetary                Retirement
                                                       Non-monetary         Initiated by OHC
  Recognition                 Recognition



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   Award Type                     Award                          Amount                     Comments

                                                                                            Presented by
                                                                                            Supervisor
   Non-Monetary                                                                             Initiated by OHC
                                  Federal Length of
   Recognition                                                   Non-monetary               Presented by
                                  Service Recognition
                                                                                            Supervisor
1Only award that is grossed up



2Director has the authority to select the number of recipients for this award category in any given year




Section 7 – Spot Award
A. The CFPB Spot Award is used to provide immediate recognition and positive feedback to an
      employee or group of employees who perform in an exemplary manner. Spot Awards are
      designed to timely recognize one-time, short-term efforts by employees that result in
      exceptional performance or service. The award is particularly appropriate for rewarding
      employee efforts that might otherwise go unrecognized.

B. The CFPB Spot Award is a lump sum cash award ranging from $50 to $500, and grossed up
      so that the employee receives the full amount of the award after income and other taxes are
      withheld. In addition to the cash award, employees will receive a CFPB Spot Award
      Certificate.

C. Unless otherwise noted in the eligibility section of this article, all CFPB employees are
      eligible to receive a CFPB Spot Award.

D. The amount of a CFPB Spot Award should be commensurate with the value of the
      employee’s contribution or achievement. The following table provides examples that
      warrant varying levels of CFPB Spot Awards. It is the responsibility of the supervisor to
      consistently apply the eligibility criteria outlined in this article when making determinations,
      and to document the justification when nominating employees for different award amounts.




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TABLE 4:      SPOT AWARD


  Award Value         General Guidelines

                      Making a high-quality contribution to a difficult project or program
                      Producing a high-quality work product under a tight deadline or difficult
                        circumstances
                      Effectively training, developing, or motivating others
                      Completing certain tasks that are outside of the scope of normal
  $50 - $250            responsibilities while continuing to complete primary work assignments
                      Demonstrating a high degree of customer service or responsiveness to
                        external and/or internal stakeholders
                      Demonstrating a high degree of professionalism and competence when
                        successfully delivering an important presentation to external and/or internal
                        stakeholders

                      Serving as leader or key contributor on a project or initiative that improves
                        the efficiency of and/or reduces costs for the Division or Office
                      Successfully creating and implementing an idea that results in improved
  $251 - $500
                        operating efficiencies or higher quality work products or services
                      Effectively responding to a critical or high priority request while continuing to
                        complete primary work assignments

E. In order for any employee to receive an award, his/her supervisor must submit a nomination
      form to his/her Assistant Director for consideration and approval.

F. The Assistant Director validates that the award nomination is in compliance with this article
      and that the award does not cause the Division to exceed the budget.

G. When the Assistant Director approves or denies the nomination, he or she will communicate
      the decision to the supervisor. If approved, the supervisor completes the CFPB Spot Award
      Certificate and presents the award to employee.

H. Nomination forms and processing instructions will be determined by OHC.

I. The employee receives the award via an electronic funds deposit during the next available
      pay period after all required approvals.

J. The Assistant Director records the details of the award for budgetary tracking purposes and
      files the approved nomination form for documentation purposes.


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Section 8 - Superior Achievement Award
A. The Superior Achievement Award recognizes an employee’s noteworthy and exceptional
      accomplishments for work performed on a demanding assignment, highly visible project, or
      under complex or difficult circumstances, typically over an extended period of time.

B. The Superior Achievement Award is a lump sum cash award (not grossed up) ranging from
      $750 to $2,500. In addition to the cash award, employees will receive a Superior
      Achievement Award Certificate.

C. Unless otherwise noted in the eligibility section of this Article, all CFPB employees are
      eligible to receive a Superior Achievement Award.

D. The amount of a Superior Achievement Award should be commensurate with the value of
      the employee’s contribution or achievement. The following table provides examples that
      warrant varying levels of Superior Achievement Awards. It is the responsibility of the
      supervisor to use appropriate discretion and document the justification when nominating
      employees for different award amounts.


TABLE 5:      SUPERIOR ACHIEVEMENT AWARD


  Award Value          General Guidelines

                       Successfully completing a project or assignment that has high visibility at
  $750 - $1500         the Office or Division level and has significant impact on the Office’s or
                       Division’s ability to meet its objectives

                       Successfully completing a project or assignment that has high visibility at
  $1501 - $2000        the Division or Bureau level and has significant impact on the Division’s or
                       Bureau's ability to meet its objectives

                       Successfully completing a project or assignment that has high visibility, both
  $2001 - $2500        internally and/or externally, and has significant impact on the Bureau's
                       ability to meet its objectives and fulfill its mission


E. In order for an employee to receive an award, the supervisor must submit a nomination form
      to their Assistant Director for consideration and approval.

F. The Assistant Director validates that the award nomination is in compliance with this Article
      and that the award does not cause the Division to exceed its budget.


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G. When the Assistant Director approves or denies the nomination, he or she will communicate
      the decision to the supervisor. If approved, the supervisor completes the Superior
      Achievement Award Certificate and presents award to employee.

H. Nomination forms and processing instructions will be determined by OHC.

I. The employee receives the award via an electronic funds deposit during the next available
      pay period after all required approvals.

J. The Assistant Director records the details of the award for budgetary tracking purposes and
      files the approved nomination form for documentation purposes.




Section 9 - Team Achievement Award
A. The Team Achievement Award recognizes the efforts of employees who work collaboratively
      and effectively on projects or programs that improve productivity, realize significant cost
      reductions, streamline operations, or accomplish the strategic goals of the Bureau.

B. The Team Achievement Award is a lump sum cash award (not grossed up) ranging from
      $250 to $1,500 per person. In addition to the cash award, employees will receive a Team
      Achievement Award Certificate.

C. Unless otherwise noted in the eligibility section of this Article, all CFPB employees are
      eligible to receive a Team Achievement Award.

D. Given the Bureau’s emphasis on teamwork, and the significant application of cross-
      functional and cross-office teams to accomplish our work, the Bureau strongly encourages
      the use of team achievement awards. The amount of a Team Achievement Award that is
      given to each employee on a team should be commensurate with the value of the
      achievement and based on the extent of the impact the team’s contribution had on the
      Office’s goals and objectives. Varying levels of awards may be given to employees on a team
      based on the level of their individual contributions.

E. The following table provides examples that warrant varying levels of Team Achievement
      Awards. It is the responsibility of the supervisor to use appropriate judgment and document
      the justification when nominating employees for different award amounts.



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TABLE 6:      TEAM ACHIEVEMENT AWARD


  Award Value             General Guidelines

                           Working collaboratively as a group to produce exceptional results that are
                             greater than, or delivered faster than, what would reasonably be expected
  $250 - $750
                           Effectively and efficiently working as a group to successfully respond to
                             an emergency situation

                           Working collaboratively as a group to produce exceptional results that
                             have high visibility and/or significant impact to the Bureau's mission and
                             are greater than, or delivered faster than, what would reasonably be
  $751 - $1500               expected

                           Effectively and efficiently working as a group to successfully respond to
                             an emergency situation that has high visibility and/or significant impact to
                             the Bureau's mission

F. In order for a team to receive an award, the supervisor must submit the nomination form to
      his/her Assistant Director for consideration and approval. If the nomination is for a team
      including employees in more than one division, then the nomination will be submitted to
      each of the relevant Assistant Directors.

G. The Assistant Director validates that the award nomination is in compliance with this Article
      and that the award does not cause the Division to exceed its budget.

H. When the Assistant Director approves or denies the nomination, he or she will communicate
      the decision to the supervisor. Approval of differing award amounts for different team
      members should be documented and justified based on identifiable differences in
      contributions. If approved, the supervisor completes the Team Achievement Award
      Certificates and presents awards to employees. If the award nomination is denied, no further
      action is needed.

I. Nomination forms and processing instructions will be determined by OHC.

J. The employees receive the awards via electronic funds deposits during the next available pay
      period after all required approvals.

K. The Assistant Director records the details of the award for budgetary tracking purposes and
      files the approved nomination form for documentation purposes.


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Section 10 - Director’s Mission Achievement
     Award
A. The Director’s Mission Achievement Award is given once a year to employee(s) who have
      had the greatest impact on the Bureau’s ability to fulfill its mission critical objectives while
      adhering to the CFPB core values to Serve, Lead, and Innovate.

B. The Director’s Mission Achievement Award is a lump sum cash award (not grossed up), the
      value of which is determined by the Director of the Bureau each year, not to exceed $7,500.
      In addition to the cash award, employees will receive an award certificate and recognition in
      a Bureau-wide forum.

C. Unless otherwise noted in the eligibility section of this Article, all CFPB employees are
      eligible to receive the Director’s Mission Achievement Award.

D. OHC will specify the timelines, forms, and procedures to facilitate employee nominations for
      the Director’s Mission Achievement Awards, and for the operation of a joint labor-
      management award committee to review these nominations. The committee will provide a
      recommendation to the Director including the recommended recipients, award amounts and
      rationale for awards. In any given year, the Director has the authority to select the number
      of employees that will receive the award. When considering employees for nomination, each
      supervisor should review each employee’s overall contributions and performance during the
      previous program year and the overall impact that the employee has had on the Bureau and
      consider nominations to bring forward. Non-supervisory personnel should consider the
      high impact work of others that they are aware of and consider nominations to bring
      forward. As this is the Bureau’s highest award, the contributions of employees who are
      nominated for this award must warrant such distinction and recognition.

E. Nominees of the Director’s Mission Achievement Award should not be made aware of their
      nomination.

F. OHC and NTEU chapter leadership will collaborate to establish the operating procedures for
      the joint labor-management award committee. OHC will collaborate with Associate
      Directors to select management representatives for the committee and NTEU chapter
      leadership will select labor representatives. There will be an equal number of management
      and labor representatives.



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G. The Director may meet individually with each Associate Director to discuss each Division’s
      nominations or with the joint labor-management award committee.

H. The Director selects recipients and will inform OHC and the joint-labor management award
      committee of all final selections.

I. OHC contacts each Associate Director with the final award decision for his/her Division.

J. During the next available Bureau-wide forum, or via Bureau-wide email, the Director
      announces award recipients.

K. Nomination forms and processing instructions will be determined by OHC. The employees
      receive the awards via an electronic funds deposit during the next available pay period after
      final Director approval and announcement.




Section 11 - Time-Off Awards
A. A Time-off Award is an excused absence without charge to leave or loss of pay. The award
      recognizes superior accomplishment or other personal effort that is outside of the
      employee’s normal scope of work and/or the attainment of results that are significantly
      greater than expected.

B. Time-off Awards may be used in lieu of other types of leave and are granted in the form of
      leave hours as outlined below:

        1. Full-time employees: May receive up to 40 hours for a single project/contribution. In
            exceptional circumstances, employees may receive up to 80 hours in a single leave
            year. Requests to award a full-time employee more than 40 hours in a single leave
            year must be approved by the Associate Director and the Chief of Staff, or his/her
            designee.

        2. Part-time employees: May receive up to 20 hours for a single project/contribution.
            Part-time employees may receive up to 40 hours in a single leave year.




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C. In addition to the Time-off Award, employees will receive a Time-off Award Certificate. It is
      the responsibility of the Assistant Director to ensure that an employee does not exceed the
      hourly limits as defined above.

D. Unless otherwise noted in the eligibility section of this Article, all CFPB employees are
      eligible to receive Time-off Awards, with the exception of intermittent employees.
      Intermittent employees are part-time employees who do not have a regularly established
      work schedule.

E. Awards may be granted in increments of 8 hours.

F. A full-time employee will generally not receive more than 40 Time-off Award hours in a
      leave year. However, in exceptional circumstances, an employee may be awarded up to 80
      hours in a single leave year. Such requests must be approved by the Associate Director and
      the Chief of Staff, or his/her designee.

G. Time-off award hours will be forfeited if not used within one year of receipt.

H. Time-off award hours may not be converted to cash under any circumstances, including the
      provisions in the Annual Leave Policy and the Fair Labor Standards Act.

I. Time-off award hours will be forfeited when an employee separates from the Bureau.

J. Time-off award hours may not be granted as a substitute for credit hours, overtime pay, or
      compensatory time.

K. While multiple monetary awards may not be given for a single project/contribution, a
      supervisor may combine Time-off Awards with other forms of awards. For example, an
      employee might receive an award consisting of both a one-day Time-off Award as well as a
      $100 CFPB Spot Award for a single contribution as long as the combined “value” of the
      award is commensurate with the employee’s contribution.

L. Time-off Awards are centrally budgeted and do not impact the Office’s cash awards budget.
      However, supervisors should consider the impact of an employee’s absence when giving a
      Time-off Award.

M. Time-off Awards do not have explicit cash value and do not change the employee’s income.
      As a result, Time-off Awards are not subject to additional tax withholdings. Tax



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      withholdings, however, are deducted from the salary paid during the period the Time-off
      Award is used, just as tax withholdings are deducted when employees use annual or sick
      leave or other forms of authorized paid absence.

N. As supervisors are considering what type of award to give an employee, they should ask the
      employee which type of award they prefer; paid time off or monetary award. Further,
      supervisors should comply with the employee’s preference while considering both budget
      availability and work scheduling needs.

O. The amount of a Time-off Award should be commensurate with the value of the employee’s
      contribution or achievement. The following table provides examples that warrant varying
      levels of Time-off Awards. It is the responsibility of the supervisor to use appropriate
      judgment and document the justification when nominating employees for different award
      amounts.


TABLE 7:         TIME-OFF AWARD


  Award Value           General Guidelines

                         "Going the extra mile" to complete a project or assignment within the
  1 – 2 Days               allotted timeframe

                         Impact of project or assignment is generally Team or Office level based

                         Producing high quality work on a project or assignment beyond what
  2 – 3 Days               would be reasonably expected in the allotted timeframe

                         Impact of project or assignment is generally Office or Division level based

                         Producing high quality work on a project or assignment beyond what
                           would be reasonably expected in the allotted timeframe
  3 – 5 Days
                         Impact of project or assignment may be Office, Division, or Bureau level
                           based

P. In order for employees to receive an award, the supervisor must submit a nomination form
      to his/her Assistant Director for consideration and approval.

Q. The Assistant Director validates that the award nomination is in compliance with this
      Article.




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R. When the Assistant Director approves or denies the nomination, he or she will communicate
      the decision to the supervisor. If approved, the supervisor completes the Time-off Award
      Certificate and presents the award to the employee. If an employee has already received 40
      hours in a leave year, the Assistant Director must receive approval by their Divisional
      Associate Director and the Chief of Staff, or his/her designee.

S. Nomination forms and processing instructions will be determined by OHC. The employee
receives the time-off award amount in WebTA for use during the one-year window period. As
with any form of leave, employees must receive prior approval from their supervisor before
using the Time-off Award.

T. The Assistant Director records the details of the award for tracking purposes and files the
approved nomination form for documentation purposes.




Section 12 - Non-Monetary Recognition
A. Non-monetary recognition may be used to express appreciation to another CFPB employee
      or to recognize milestones in an employee’s career.

B. Guidelines for the various types of non-monetary recognition are outlined below.

C. Unless otherwise noted in the eligibility section of this Article, all CFPB employees are
      eligible to receive non-monetary recognition.

D. Non-monetary recognition includes the following:

        1. A Certificate of Appreciation may be given by supervisors or employees to recognize
            another employee’s exceptional performance, customer service, or contributions.
            Certificates do not have an associated monetary award and there is no budget
            associated with this recognition. Certificates of Appreciation may be downloaded
            from the CFPB intranet and completed by any employee, and then given to another
            employee in a manner the originator deems appropriate (electronically or printed).
            While certificates do not require approval, it is recommended that employees notify
            the supervisor of the receiving employee prior to giving a certificate.




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        2. Employees who retire from the Bureau will receive a retirement recognition
            certificate. There is no CFPB length of service requirement for this recognition. Upon
            notification of an employee’s pending retirement, OHC will provide a Retirement
            Recognition Certificate to the supervisor for presentation to the retiring employee.

        3. Employees will receive a certificate and pin to commemorate every five years of
            service to the Federal Government. Certificates will be presented to individual
            employees as they complete 5, 10, 15, 20, 25, 30, 35, 40 or more years of service with
            the Federal Government, which includes all civilian and honorable military time.
            OHC will provide a Federal Length of Service Recognition Certificate to the supervisor
            for presentation to the employee.




Section 13 - Data
The Employer will periodically and timely (at least quarterly, when possible) share information
with the NTEU Chapter leadership on award amounts for each recipient by name and award
type of bargaining unit employees in addition to recipient characteristics of awards granted
including division, office, pay band, race/national origin, over/under age 40, sex, and field or
headquarters location, as well as aggregate award amount for non-bargaining unit employees by
division.




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      18. Merit Promotion
Section 1
It is agreed that all promotions to bargaining unit positions are to be made on a merit basis by
means of the systematic and equitable procedures as contained in this Article. The provisions of
this article will apply whenever a hiring manager elects to announce a vacancy using competitive
merit promotion procedures. Merit promotion procedures apply when filling positions in the
competitive service; they do not apply when filling positions in the excepted service.
Promotions for Attorneys in the excepted service are covered in the Attorney Hiring and
Promotion Policy agreement dated January 13, 2015.




Section 2
All placement and promotion actions to positions in the bargaining unit will be done according
to the provisions of this Article, except for the following:

A. Career ladder promotions where competition has taken place earlier.

B. Attorney hiring and promotion actions. These actions are covered under the Attorney
      Hiring and Promotion Policy.

C. A position change permitted by reduction-in-force (RIF) procedures as outlined in the
      Reduction-In-Force Article.

D. Promotion of an employee who failed to receive proper consideration in a prior competitive
      promotion action under the provisions of Priority Consideration as contained in this Article.

E. Promotion that results from the application of new classification standards or the correction
      of a classification action.

F. Selection for promotion or training of disabled employees under 5 CFR 213.3102(u).

G. Accretion of duties.


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         1. A promotion based on accretion of duties is a noncompetitive promotion of an
             employee to a higher band level resulting from the reclassification of the employee’s
             position because of the addition of substantive new and higher-band level duties and
             responsibilities. In such cases it must be determined that at the time the employee
             was hired in his or her current position, there was no intent that the current band
             level would be increased in the foreseeable future.

         2. If there is more than one (1) employee in the organizational unit who would qualify for
             the higher banded position, competition will be confined to the organizational unit
             where the work is assigned.

H. Conversion of a temporary promotion to a permanent promotion provided:

         1. The temporary promotion was originally made under competitive procedures;

         2. The normal minimum area of consideration for the position was used to recruit
             candidates; and

         3. The fact that the position might lead to a permanent promotion was made known to
             potential candidates.

I. Temporary promotions or details for 120 days or less made pursuant to the Details Article.

J. Reassignments made pursuant to the Reassignments Article.

K. Promotion to a band level previously held on a permanent basis in the competitive service
      (or in another merit system with which OPM has an interchange agreement) from which an
      employee was separated or demoted for other than performance or conduct reasons.

L. Promotion, reassignment, demotion, transfer, reinstatement, or detail to a position having
      promotion potential no greater than the potential of a position an employee currently holds
      or previously held on a permanent basis in the competitive service (or in another merit
      system with which OPM has an interchange agreement) and did not lose because of
      performance or conduct reasons.

M. Selection from a delegated examining certificate of eligibles or other appropriate sources
      (e.g., Veterans’ Recruitment Appointment, Schedule A authority for persons with
      disabilities, direct hire authority, etc.).



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Section 3
The Parties agree that the goal is to fill all vacant positions with the best qualified candidates
available, taking into consideration the Employer’s long-term needs and affirmative
employment obligations. The Parties further agree that the Employer has the right, at its
discretion, to fill vacant positions by recruiting eligible candidates through the announcement of
such vacancies within the CFPB and by concurrently recruiting from any other appropriate
recruiting source by any appropriate means, e.g., OPM competitive examining referrals,
reassignments, reinstatements, advertisements. When a position is posted to be open to
applicants from outside the bargaining unit, bargaining unit employees will be given the
opportunity to apply for the vacant position and will be given simultaneous consideration with
the outside applicants.




Section 4
A. Announcements for bargaining unit positions will be advertised at least CFPB-wide; unless
      the position is being announced in accordance with Section 2, G.2. If desired, managers may
      expand the area of consideration to include other eligible applicants from outside of CPFB
      (e.g., other Federal employees).

B. Vacancies opened CFPB-wide will, at a minimum, be posted on the CFPB website. Vacancies
      open to external sources will be posted on the CFPB website and on the Office of Personnel
      Management (OPM) USA Jobs website. All employees will be provided access to such
      systems at their regular work sites. Employees will be permitted to prepare and submit
      applications for CFPB positions during normal duty hours, without charge to leave.

        1. All vacancy announcements for bargaining unit positions will be open for a minimum
            of seven (7) workdays.

C. All vacancies for CFPB positions will be listed on the CFPB website no later than the date of
      posting.

D. At a minimum the vacancy announcement will contain:

        1. announcement number;



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        2. opening and closing dates for acceptance of applications;

        3. position title, series, band, organization, and location of the position;

        4. promotion potential, if any;

        5. area of consideration;

        6. a brief description of the duties and responsibilities;

        7. qualifications required including selective placement factors, if applicable;

        8. competencies that will be evaluated during the application process;

        9. procedures for applying;

        10. number of positions expected to be filled;

        11. evaluation methods to be used; and

        12. special job requirements such as travel or mobility, or specific requirements for
            advancement or retention.




Section 5
Any candidate who wishes to be considered for a vacancy announcement, must apply as follows:

A. Submit an on-line application through the CFPB or the OPM USA Jobs website;

B. Respond to the basic application and any required vacancy assessment questions, submit
      any required materials, and follow the instructions as outlined in the vacancy
      announcement.




Section 6
A. The Employer agrees that selective placement factors will only be used when they are
      essential to the successful performance of the position. In such cases, they will constitute a


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      part of the minimum requirements of the position. Selective placement factors will be made
      clear to applicants in the vacancy announcement and must be met at the time of application.
      They will also be available to the Union upon request.

B. Applicants who meet the minimum qualification requirements of the position and any
      selective placement factors will be further assessed to determine if they are “best qualified.”




Section 7
A. Minimally qualified applicants will be further evaluated based on the assessment criteria as
      outlined in the job analysis developed prior to the vacancy announcement. To the extent
      possible, assessments, including but not limited to questions or writing samples, will be
      described in terms of observable, objective, and measurable criteria.

B. When ranking applicants for vacancies at multiple band levels, each applicant will be ranked
      separately by each band level for which the applicant applied.

C. In those cases where the Employer finds that the nature of the job requires more direct
      involvement of subject matter experts (SMEs), one or more SMEs will be utilized to review
      and evaluate the applicants.

D. The SMEs may evaluate applicant assessment responses by reviewing and verifying
      information contained in the applicant’s resume and other information submitted by the
      applicant and as identified in the vacancy announcement.

E. The assessment of each applicant by SMEs will be based solely on the documentation before
      the SMEs and not on the personal knowledge or opinion of the SMEs.

F. The Employer has determined that the SMEs must be at the same or higher band level than
      the position to be filled.




Section 8
A. The “best qualified” applicants will be referred to the selecting official on a best qualified
      (BQ) certificate. The determination of the number of BQ applicants that are referred will be


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      made using a natural break point in scores that allows for the referral of an adequate
      number of applicants. If there is not an adequate number of best qualified applicants in the
      highest scoring group, the hiring manager may request that applicants from the next lower
      category be referred for consideration.

B. The names of the best qualified applicants will be sent to the selecting official in alphabetical
      order. The application materials of the referred applicants will be provided to the hiring
      manager.

C. If the selecting official interviews any of the referred CFPB applicants, all referred CFPB
      applicants must be interviewed. The Employer will use structured interviews (i.e., the same
      questions for all applicants) to the maximum extent possible. In most instances, if SMEs are
      utilized in the interview process, they will be at the same or higher band level as the position
      being filled. In some instances, employees in a lower band level (those who will report to the
      position or work with the position) may participate in interviews, but the hiring manager
      will make the final selection decision.

D. Applicants who do not make the Certificate of Eligibles will not be referred. Applicants
      under external postings can check the status of their applications at any time by logging into
      their profile on the USA Jobs website.

E. Absent exigent circumstances, selections (or a decision to non-select) will generally be made
      within ninety (90) days from the date the certificate of BQ candidates is received by the
      selecting official.




Section 9
An employee selected for a promotion will normally be released from his or her present position,
and the promotion will be effective, at the end of the pay period closest to fifteen (15) calendar
days after final offer of employment is accepted.




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Section 10
A. Upon request, each employee will be provided the following information regarding his or her
      application for a position announced under this Article if he or she has applied in a timely
      manner:

        1. Whether or not his or her application was received;

        2. Whether he or she met the minimum qualifications for the position, including
            selective placement factors;

        3. Whether he or she was referred to the selecting official; and if he or she was selected
            for the position.

B. Subject to applicable law and regulation, and absent pending litigation, the Employer will
      maintain a file on each merit promotion action for a period of two (2) years.




Section 11
An employee who is the subject of an investigation for misconduct will not be denied or have a
promotion delayed on the basis of such an investigation unless it is necessary to protect the
interests of the Employer.




Section 12
An employee's accumulation or balance of annual or sick leave may not be considered by
ranking officials and/or selection officials as a basis for selection or non-selection. However, this
does not preclude the consideration of leave balances if there is abuse of leave or resultant effect
on the employee's dependability or work performance.




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Section 13
A. If the employee was erroneously omitted from the best qualified list, he or she will receive
      priority consideration for the next appropriate vacancy for which he or she is qualified. An
      appropriate vacancy is one which the same organizational location as the position denied, at
      the same band level and the same promotion potential as the position denied, and for which
      the employee is minimally qualified. Priority consideration involves, in addition to the
      above, the submission of the employee's name along with his or her application and
      performance appraisal alone on a certificate to the selecting official before the selecting
      official reviews the qualifications of all other competitive applicants.

B. In the event that two (2) or more employees are entitled to priority consideration for the
      same vacancy, the name of all such employees shall be submitted on a Certificate of Eligibles
      for Reconsideration or Re-promotion to the selecting official in alphabetical order. The
      employee's application and performance appraisal will be included with the certificate.

C. If a priority consideration candidate is non-selected, upon request, the candidate will be
      provided the following information:

        1. Whether or not his or her application was received;

        2. Whether he or she met the minimum qualifications for the position, including
            selective placement factors;

        3. Whether he or she was referred to the selecting official; and

        4. If he or she was selected for the position.

D. If an Employee with a priority consideration is not selected, the Employee will have received
      their opportunity and is no longer eligible for further priority consideration.




Section 14
On a quarterly basis, a Selection Report shall be sent to the Chapter President and will also be
posted on the OHC intranet (or SharePoint site) for each BU position filled under the




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competitive merit promotion procedures. At a minimum, that report shall contain the following
information:

A. Announcement number for each position filled.

B. Number of vacancies identified in the announcement and number of vacancies that were
      filled under each announcement.

C. Number of candidates referred under each announcement.

D. Selection action (i.e., a clear indication of whether or not a selection was made) for each
      announcement.

E. Date of each selection action (if a selection was made).




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      19. Career Ladder Promotion
Section 1 Definition
A. Career Ladder Promotion: A series of positions of increasing difficulty through multiple pay
      bands within an occupational series. A career ladder starts at the lowest level at which an
      employee can be hired for developmental purposes and progresses through multiple levels to
      the full performance level without further competition. If the position is on a career ladder,
      it will be identified in any vacancy announcement, offer letter, and the appointment
      Notification of Personnel Action (SF-50).

B. Full Performance Level: Typically, the level at which all employees hired in the occupational
      group are expected to achieve. At the full performance level, the employee is deemed to have
      the expertise normally required in his or her field and is capable of performing the full range
      of assigned duties and responsibilities.




Section 2 Advancement
Employees initially compete for career ladder positions and may be selected at any band within
the ladder for which they qualify. Once placed on a career ladder, employees may be promoted
progressively to the full performance level, provided there is sufficient work available at the next
higher band level and the employee meets all eligibility and qualification requirements.




Section 3 Requirements for Career Ladder
     Promotion
A. Career ladder promotions are an important tool for advancing and retaining CFPB
      employees.




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B. Career ladder promotions are neither automatic nor guaranteed. In order to be eligible to
      advance to the next level on a career ladder, there must be sufficient work at the next higher
      band level and the employee must meet the following three requirements:

        1. Meet the qualification requirements of the next higher band;

        2. Demonstrate an ability to perform the work required at the next higher level of the
            career ladder. If a Division or Office establishes job-specific standards or
            competencies for advancement through each level of the career ladder, then these
            standards will be uniform for all employees in the position and must be published or
            otherwise made available during the development of the employee’s annual
            performance objectives (typically within 30 days after the employee begins work). If
            no specific standards are established by a Division or Office, then an ability to perform
            at the higher level will be demonstrated by the employee meeting the requirements of
            III B, 3.

        3. Perform at the overall “Accomplished Performer” (or equivalent in new system) level
            or higher and be rated as “Accomplished Performer” (or equivalent in new system) or
            higher on any critical element that is also a critical element for the next higher band.




Section 4 Process for Achieving a Career
     Ladder Promotion
A. Management will identify and explain how an employee progresses through a career ladder
      including what criteria will be applied to moving from one level to another. The criteria
      (including any job-specific standards established by a Division or Office) for career ladder
      advancement will be applied fairly and consistently to employees in the same position. If the
      criteria for advancement require satisfactory performance of specific assignments or tasks,
      Management will make every reasonable effort to distribute these work assignments or tasks
      in a manner which provides a fair and reasonable opportunity to demonstrate an ability to
      perform at the higher level for all employees.

B. Employees in career ladder positions will receive a copy of the position description of the
      next higher level as they progress through each level of the career ladder. Management will



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      identify and explain any job-specific standards or competencies established for the position,
      and what is expected from the employee to move through the ladder.

C. Management will discuss the requirements for career band promotion during the discussion
      of the employee’s annual performance plan (typically within 30 days after the employee
      begins work). Management will provide feedback on progress toward the next higher band
      during the employee’s midyear and annual performance review. Management will also
      document the result of either conversation, in writing, at the employee’s request.

D. Management normally will conduct the review and decide whether to promote an employee
      at least 30 days in advance of the employee’s anniversary date provided that the conditions
      in Section III B, 3 have been met.

E. If Management determines that an employee on a career ladder is not to be promoted, the
      supervisor will meet with the employee to develop a written plan to achieve promotion in the
      future. This written plan will include the type of work assignments that if successfully
      completed would demonstrate the ability to perform at the higher level.




Section 5 Career Pathing Working Group
Within sixty (60) days of the effective date of this Agreement, the parties will establish a joint
working group on career pathing, which will include three representatives from management
and three representatives from the Union. This group will meet as necessary, but at least semi-
annually, to discuss the Bureau’s current career pathing efforts and any recommendations for
improvements or other changes that would help promote employee development and
opportunities for advancement.




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      20. Details
Section 1
A. A detail is the temporary assignment of an employee to perform the duties of a different
      position or perform a different set of job duties (including special projects or other
      assignments that are not covered by the employee’s position description) for a specified
      period with the employee returning to his or her permanent duties at the end of the
      assignment. A detail is not a position change; the detailed employee continues to encumber
      the position from which he or she is detailed, and keeps the same pay and status, except as
      provided below. This article only applies when employees will remain in the bargaining unit
      while on detail and the detail is within the Bureau. Details will be made in accordance with
      applicable laws, rules, regulations, and this Article.

B. This Article does not apply to rotational programs such as the Presidential Management
      Fellows Program or Honors Attorney Program. It also does not apply to the Examiner
      Commissioning Program’s headquarters rotation requirement.

C. Details may be to duties at the same, higher, or lower pay band or to unclassified duties.
      Employees may be detailed internally at CFPB as follows:

        1. To duties at the same or lower band: Details to duties at the same or lower band may
            be made without competition for up to 120 calendar days, with extensions in 120-day
            increments up to a maximum of one year.

        2. To duties at a higher band: Details to higher band duties (or duties with higher
            promotion potential than the employee’s current position) may be made without
            competition for up to 120 calendar days. Details to higher band duties beyond 120
            days within any twelve (12) month period require the use of merit promotion
            procedure in accordance with Merit Promotions Article and may be made or extended
            up to a maximum of one year. As outlined in Section 4 of this Article, if the employee
            is selected for a detail to higher band duties of more than 30 days and less than 120
            days and meets the OPM qualification standards, they will be temporarily promoted.




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        3. To unclassified duties: Details to unclassified duties may be made without
            competition for up to 120 calendar days, with extensions in 120-day increments up to
            a maximum of one year.

        4. Details will not be extended without the employee’s consent, except when necessary to
            complete work currently underway on an assignment. Employees are encouraged to
            raise any concerns about the possible extension of a detail prior to accepting the detail
            assignment.

D. The parties recognize that details are necessary to meet the staffing needs of the Employer
      and may also be appropriate for training and developmental purposes. The Employer has the
      right to detail employees based upon staffing, mission, and workload requirements.

E. In accordance with OPM regulations, details to duties at higher pay bands that are expected
      to last more than 30 calendar days shall be documented with a Standard Form 52 (or
      comparable agency form) filed in the employee's Official Personnel Folder. Details to duties
      at the same or lower pay band will be documented with an SF-52 (or comparable agency
      form) if they are expected to last 120 days or more.




Section 2
The Employer will select employees for details consistent with the Employer’s right to assign
work and/or employees pursuant to 5 USC § 7106(a), its mission, staffing and workload
requirements, and the terms of this Agreement. In making these selections, the Employer will
consider such factors as:

        1. The mission-related needs requiring the detail assignment;

        2. Employee knowledge, skills, abilities, experience, and relevant competencies;

        3. The extent to which workload would be interrupted in the office to which the potential
            detailee is permanently assigned;

        4. Other relevant job qualifications; and

        5. Developmental needs of the employee.



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Section 3
      A. The Employer will solicit employee interest for details of more than 30 days; however,
         such solicitation is not required when there is a business need for the work to be
         performed by a specific employee due to specialized skills or experience, or based on a
         business exigency (e.g., need for work on the project to begin immediately). Solicitation
         may be made through an expression of interest announcement on the CFPB Intranet, or by
         email to the group of employees eligible to participate. The Employer will describe these
         detail opportunities with as much specificity as practicable including the nature of the
         work involved, the anticipated geographic location, the pay band (if the detail work is
         classified), telework or alternative work schedule considerations and the anticipated
         duration of the assignment.

      B. An employee wishing to be considered for a detail covered by this Article will respond to
         the Employer’s solicitation by the specified deadline, which will normally be at least five (5)
         business days after posting, absent an urgent business need for filling the detail as soon as
         possible.

      C. The Employer will consider expressions of interest and make selections from among
         these employees in a fair and equitable manner consistent with the factors identified in
         Section 3 of this Article. The losing and gaining offices must both approve of the detail. If
         the detail is approved, the losing and gaining office managers will coordinate to identify
         a start date and implement the detail. If the losing office does not approve the selection,
         then the employee should be informed and provided an explanation as to the reasons
         why the selection could not be approved.

      D. If there are insufficient qualified volunteers and the Employer wishes to proceed with the
         detail, then selection will be made from qualified employees possessing the necessary
         band, skill level, and experience requirements for the detail.




Section 4
A. A temporary promotion is the temporary assignment of an employee to a higher band
      position for a specified period of time with compensation at the higher band level. The
      employee returns to his or her position at the end of the assignment. An employee who is
      selected for a detail to a higher band level position for a period of less than 120 days and
      meets all of the qualification and other applicable requirements will be offered the



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      opportunity as a temporary promotion. Temporary promotions under this section will only
      be made for temporary assignments of 30 days or more.

B. The new assignment will begin on the effective date of the temporary promotion which is
      established by the Office of Human Capital in partnership with the losing and gaining
      managers and after pay-setting has been completed.

C. Selection for temporary promotions that are more than 120 days will be filled in accordance
      with Merit Promotions Article. Employees who are temporarily promoted without the use of
      merit procedures will need to compete in order to remain in the position for more than 120
      days.




Section 5
A. To the extent known by the Employer, employees will be given as much advance notice as
      practicable of any detail and, where practicable, at least 14 calendar days’ notice as to the
      specific location and expected duration of the assignment. In those instances when the
      foregoing deadlines cannot be met, the Employer agrees to give as much advance notice as
      practicable.

B. Employees serving on details may request telework and a work schedule from among those
      available in the office to which they are detailed. Telework and work schedule requests will
      be considered consistent with the Bureau’s telework and work schedule policies and with
      mission requirements.

C. When an employee is returning from a detail, the Employer will seek to meet with the
      employee to discuss any material changes in the operating procedures of the position that
      may have occurred since the employee was detailed away from the position.




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      21. Reassignments
Section 1
A. A reassignment is an action that places an Employee in another CFPB position that is at the
      same pay band and has no higher promotion potential than the Employee’s current position.
      An Employee may be reassigned either competitively or non-competitively. This Article
      addresses the non-competitive reassignment of permanent bargaining unit employees from
      one bargaining unit position to another where the Employer has decided not to fill the
      position through a competitive vacancy announcement. This Article applies to management-
      directed reassignments. Competitive reassignments are covered by the Merit Promotion
      Article.

B. This Article does not apply to reassignments made by the Employer for the purpose of
      providing an employee with a reasonable accommodation. Reassignments as a reasonable
      accommodation will be made in accordance with applicable statutes, regulations, and the
      Bureau’s Reasonable Accommodation policy.

C. This Article does not apply to requests by employees to permanently change duty stations
      within the continental United States without a change in position, which are considered
      under the Employee-Initiated Requests for Change in Duty Station Article.

D. Employees in the Office of Supervision Examinations may request to relocate their Home
      Duty Station within their current region under procedures negotiated by the Parties, which
      are incorporated by reference.




Section 2
Unless a reassignment is directed for a specific Employee, the Employer will use the following
reassignment procedures:

A. The Employer will issue a notice of interest soliciting volunteers, listing the area of
      consideration, and the qualifications required for the position. In the event there are more


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      volunteers than the Employer needs, selection from among qualified volunteers will be
      based on the longest length of continuous Bureau service.

B. The Employer will compare the knowledge, skills, and abilities of the volunteers against the
      following criteria:

        1. the grade(s) of the position(s) to be filled;

        2. the duties to be performed; and

        3. the knowledge, skills, and abilities required by the position.

C. If there are insufficient volunteers to meet the needs of the Bureau, the Employer will
      determine the area of consideration and qualifications required for the position and select
      from among qualified employees based on shortest length of continuous Bureau service.




Section 3
Employees involuntarily reassigned will be notified of a reassignment outside of the duty
station/commuting area at least sixty (60) days in advance of the reassignment; and at least
thirty (30) days in advance for reassignments within the same duty station/commuting area.




Section 4
The provisions of this Article shall not apply to any reassignment resulting from a major
reorganization, realignment or restructuring of a Division and/or Office, that involves the
relocation of employees outside the commuting area or the closing of an office and in which the
impact of the reassignments is more than de minimis. In such cases, the Employer agrees to
provide the UNION with advance notice and an opportunity to bargain in accordance with the
requirements of the Mid-Term Negotiations Article or the Reduction in Force Article.




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Section 5
The Employer may waive qualifications for non-competitive reassignments. Normally waivers to
qualifications may be granted during reductions-in-force, as a result of a third-party decision on
a complaint or grievance, as part of a settlement agreement or to meet an important business
need.




Section 6
Nothing in this Article prevents an employee from applying for a position in response to a
vacancy announcement.




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22. Employee-Initiated Requests
for Change in Duty Station
Section 1 – Purpose
      A. This article defines the process for an employee to initiate a voluntary request for a
         change in duty station (without a change in position) in the following situations:
         1. The employee’s position is not eligible for a Remote Work Location Designation, but
             the employee would like to request a remote work arrangement. (Section 2)
         2. The employee currently works at an approved remote work location and would like to
             move to a different remote duty station location (Section 3)
         3. An employee is currently not working at an approved remote location but occupies a
             position that is eligible for a Remote Work Location Designation and would like to
             move to a remote duty station (Section 3).
         4. An examiner would like to change regions and move to a different remote duty
             station location (Section 4).
      B. The provisions (with the exception of Section 4) of this article apply to all employees,
         regardless of job title or duty station.
      C. All requests to change the location of a duty station under this article will be processed
         centrally using a form or system developed by the Bureau.
      D. Any change in duty station made under this article is subject to approval by the Bureau
         in accordance with the terms of this article.


Section 2 – Requesting a Remote Work
Location Designation and Duty Station
      A. Employees whose positions are not eligible for a remote work location designation
         pursuant to the Remote, Telework, and Hybrid Program article may request a remote
         designation in order to:


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         1. Address a unique or personal circumstance that necessitates relocation of the
             employee on a temporary basis; or
         2. Retain the employee on a permanent basis.
      B. The terms and provisions of the Remote, Telework, and Hybrid Program Article apply to
         any remote work authorized under this section.
      C. The official worksite/duty station for an employee who is approved for remote work is
         the approved location specified in the employee’s Remote Work Agreement; the
         employee will receive the locality pay that is associated with the location of their
         approved duty location.
      D. An employee-initiated request to change duty station without a change in position is not
         an entitlement. Work Location Designations are subject to approval by management.
         The Bureau will not pay for any employee-initiated moves.
      E. Temporary changes in duty station to address a unique or personal circumstance of an
         employee may be authorized for an initial period of up to one year and extended up to a
         maximum of two years, provided the current Bureau Telework Program (including
         Extended Situational Telework) does not adequately address the employee’s work
         location needs; the costs associated with having the employee change duty stations
         (travel, resources, etc.) are reasonable; and the employee meets the eligibility and
         suitability requirements outlined in Sections 5 C and D of the Remote, Telework, and
         Hybrid Program Article.
      F. Permanent changes in duty station to retain employees may be authorized if the request
         satisfies the conditions specified in item E above and management determines that the
         loss of the employee would have significant negative impact on the ability of the Bureau
         and/or work unit to achieve its goals; and the employee would likely choose voluntary
         separation if the relocation request is not approved. Factors that will be considered in
         deciding whether loss of the employee would have significant negative impact include,
         but are not limited to:
         1. Number of years working at the ”urea’
         2. Specialized knowledge
         3. Institutional knowledge
         4. The employee has unique knowledge or skills not possessed by other Bureau
             employees




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      G. To request a change in duty station for a position that is not designated as remote
         eligible:
         1. The employee initiates the process by submitting a request to their supervisor for a
             remote work location.
         2. The supervisor will review the request in accordance with the criteria as defined in
             this Section.
         3. If approved, the employee must execute a Remote Work Agreement with their first-
             level supervisor and maintains a record of the agreement. Management will process
             the personnel action within 30 days of executing the Remote Work Agreement unless
             a different timeframe is mutually agreed upon between the employee and their
             supervisor and the employee’s duty station will be changed to the approved location
             specified in the employee’s Remote Work Agreement. The employee will return to
             their previous duty station at the end of the approved duration of the Remote Work
             Agreement at the employee’s own expense.




Section 3 – Requesting approval of a remote
duty location or a change to an approved
remote duty location
      A. Employees who currently work at an approved remote location may request to change
         their official duty station to a different remote duty location on a permanent or
         temporary basis using a form or system developed by the Bureau.
      B. Employees not currently working at an approved remote location, but in a position that
         is eligible for a Remote Work Location Designation, may request a change to a remote
         duty location on a permanent or temporary basis by using the form or system developed
         by the Bureau.
      C. For positions with duties that do not require extensive travel, as identified in the
         employee’s position description and job announcement there will be no evaluation of the
         suitability of the proposed duty station outside of the terms and conditions of this article
         and Management will endeavor to process the personnel action within 30 days of
         receiving the request. Employees will not be permitted to work remotely outside of the
         contiguous United States without either a Domestic Employee Teleworking Overseas


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         Agreement (DETO) or an approved Situational or Extended Situational Telework
         Agreement.
      D. For positions with duties requiring extensive travel, as identified in the employee’s
         position description and job announcement, additional evaluation of duty station
         location suitability may be required prior to approval. Requests for locations outside of
         the contiguous United States will not be considered.
         1. No additional evaluation is required if:
             a. the proposed duty station is under 60 miles from the employee’s current duty
                  station; and
             b. the employee can travel to a Large or Medium Hub (as classified by the Federal
                  Aviation Administration) airport or any of the following small hub airports within
                  90 minutes commuting time: Oklahoma City, OK (OKC), Highland Springs, VA
                  (RIC), Spokane, WA (GEG), Myrtle Beach, SC (MYR), Louisville, KY (SDF),
                  Savannah, GA (SAV), Tucson, AZ (TUS), Pensacola, FL (PNS), Tulsa, OK (TUL),
                  Birmingham, AL (BHM), Palm Springs, CA (PSP), Long Beach, CA (LGB), Grand
                  Rapids, MI (GRR), Syracuse, NY (SYR), Buffalo, NY (BUF), Providence, RI
                  (PVD), El Paso, TX (ELP), Des Moines, IA (DSM), Alcoa, TN (TYS), Little Rock,
                  AR (LRT), Valparaiso, FL (VPS), Albany, NY (ALB), Fresno, CA (FAT)
         2. Additional evaluation is required if the employee does not meet the requirements of
             D1, above. In such cases, the employee must meet the following additional evaluation
             requirements:
             a.   The Proposed duty station must be within 90 minutes commuting time to a large
                  or medium hub airport or any of the following small hub airports within 90
                  minutes commuting time: Oklahoma City, OK (OKC), Highland Springs, VA
                  (RIC), Spokane, WA (GEG), Myrtle Beach, SC (MYR), Louisville, KY (SDF),
                  Savannah, GA (SAV), Tucson, AZ (TUS), Pensacola, FL (PNS), Tulsa, OK (TUL),
                  Birmingham, AL (BHM), Palm Springs, CA (PSP), Long Beach, CA (LGB), Grand
                  Rapids, MI (GRR),Syracuse, NY (SYR), Buffalo, NY (BUF), Providence, RI (PVD),
                  El Paso, TX (ELP), De Moines, IA (DSM), Alcoa, TN (TYS), Little Rock, AR
                  (LRT), Valparaiso, FL (VPS), Albany, NY (ALB), Fresno, CA (FAT); and
             b. For examination staff, the airport must have flight options to three frequented
                  destination airports within the employee’s assigned region, as of the time of the
                  employee’s request. The flight options must:


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             c. Not require employees to begin travel before 6:00 am or later than 10:00 am
                  local time; and
             d.   Allow the employee to travel from the proposed remote duty station to the
                  destination airport within six hours.
E. Employees will be expected to submit documentation supporting the additional evaluation
requirements.
F. Employees in an approved remote duty station location as of the effective date of this Article
that do not meet the additional evaluation requirements under section 3D1 will be allowed to
retain their current remote duty station location as long as they remain at their current location
or within 30 miles of their current location.
G. Management will provide NTEU with a list of positions with extensive travel requirements
within 5 business days of the effective date of this agreement, and thereafter whenever making
changes to the list.



Section 4 – Requesting a change in region and
remote duty location for examiners
A. Examiners may request a change in region and remote duty location.

B. An examiner may request to change regions without changing their duty station location as
long as their current duty station meets the additional evaluation requirements outlined under
Section 3.

C. Eligibility

      1. Must be an examiner
      2. Must not have been issued an At-Risk memo due to performance concerns within a year
      3. Must not have been on a Performance Improvement Plan within a year
      4. Must not be on a probationary period
      5. Must have been working in their current region for at least two years
      6. Must not have had any disciplinary action in the last two years




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D. The receiving region must have an examiner vacancy available or not be exceeding their
authorized headcount by more than five. If the receiving region does not have a vacancy but is
less than five over the authorized headcount, a transfer of the headcount may be approved.

E. Supervision leadership will consider a request to waive eligibility requirements related to a
probationary period or working in the region for two years in the event of specific hardship
situations that include:

      1. A specific long-term medical situation of a family member where services or care are
         more accessible from a specific location
      2. Specific situations related to a family member status, such as a divorce (custody issues)
         or spousal placement (dual career)



F. Regional transfers may also be initiated and approved through the reasonable
accommodations process when the employee has a medical situation or disability and requires
access to care in a specific location.


G. The new remote duty station within the receiving region must meet the additional evaluation
requirements listed in Section 3 of this article.



Section 5 – Denying an Employee Initiated
Request for a Change in Duty Station
A. When denying a request for an employee-initiated change in duty station (both temporary or
permanent), the supervisor must document the reason(s) for denial. A copy of the
documentation will be retained by OHC.

B. OHC will maintain records, consistent with the applicable records schedule(s), of all denials
of employee requests to change their duty station location under this Section, including: (1) a
unique employee identifier; (2) the employee’s job title; (3) the employee’s division; (4) the
employee’s office; (5) the employee’s region (if applicable); (6) the location (city and state) of the
employee’s current duty station; (7) the location (city and state) of the proposed new duty
station; (8) the name of the supervisor who denied the request; (9) the reason(s) given for the



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denial; and (10) the employee’s race, ethnicity (e.g. Hispanic or Not Hispanic), national origin,
gender, whether the employee has a disclosed disability status (not the particular disability), and
whether the employee is over or under 40 years old. Where necessary to protect an individual’s
privacy rights or other legal rights, redaction or aggregation of data may be employed.


C. Once each quarter, OHC will compile a spreadsheet containing the information listed in
Section 5B. of this Article and provide an electronic copy to both Bureau management and
NTEU 335 leadership.




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23. Position Classification
Section 1
A. The EMPLOYER agrees that the position description for each position will accurately reflect
      the duties, responsibilities, and the supervisory controls of the position. Employees will
      perform the duties enumerated in the position description for the position they are
      encumbering. Employees will be provided a copy of their position description (paper or
      electronic).

B. The EMPLOYER agrees to prepare new position descriptions within sixty (60) calendar days
      but no longer than ninety (90) calendar days of assigning employees to do the work of the
      position in those instances where no classified position description exists which accurately
      describes the duties to be performed.

C. When major duties are assigned on a regular and recurring basis which are not in the
      current position description, the EMPLOYER agrees to revise or amend the position
      description generally within sixty (60) calendar days but no longer than ninety (90) calendar
      days.

D. In the case of new or revised position descriptions, copies will be provided to the UNION on
      a timely basis, generally no later than the date it is provided to the employee. The Union
      shall have the right to bargain over the impact and implementation of changes to employees’
      position descriptions in accordance with 5 USC § 7106.

E. The phrase "other duties as assigned" relates to duties normally assigned to a position, and
      are of an incidental, infrequent, or emergency nature, so as to make it impractical to include
      the duties in the narrative portion of the job description. It is understood that this
      Subsection does not preclude the EMPLOYER from assigning such duties as necessary to
      accomplish its mission in accordance with law.

F. Employees on detail will remain on the position description of record. Employees who are
      detailed will be provided the position description for the position to which they are detailed.




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      If the detail is an assignment to unclassified duties, the employee will receive a list of
      relevant duties to be performed.




Section 2
Nothing in this article shall limit the UNION’s ability to raise issues concerning position
descriptions in appropriate situations, such as a Labor Management Forum, to the extent
permitted by law. In accordance with 5 USC § 7106, the UNION reserves the right to bargain
over the impact and implementation of changes to employees’ position descriptions.




Section 3
A. An employee may submit to his/her supervisor a written request for review of his/her
      position if he/she believes the duties he/she is performing are not consistent with the
      position description. The request must include a rationale in support of any changes to
      his/her position description along with a revised (edit mode) description of duties and
      responsibilities.

B. The supervisor will review the material provided and discuss the position description and
      proposed changes with the employee. If the supervisor concurs, the supervisor shall submit a
      written request along with the revised position description to the Office of Human Capital
      (OHC) for a classification review. The supervisor’s determination will also be communicated
      to the employee. The supervisor’s review and determination will normally be completed
      within forty-five (45) calendar days from receipt of a complete request from the employee.

C. If the employee is unable to resolve the position description discrepancies by following the
      steps outlined in subsections A and B above, he/she may submit a written request for a
      classification review directly to OHC. Classification review requests must include the
      rationale in support of his/her request and the revised description of duties and
      responsibilities from subsection A above.

D. Upon receipt of a request for a position classification review submitted through processes
      outlined in subsections B or C above. OHC will make the final determination as to whether
      the submitted rationale and revised description of duties and responsibilities constitute the


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      need for an interview, fact finding, review of written material or a desk audit. To the
      maximum extent possible, OHC’s classification review shall be conducted in a timely
      manner, generally no more than ninety (90) days from the receipt of the complete review
      request in OHC.

E. A copy of the written evaluation statement and position description resulting from the desk
      audit shall be furnished to the employee upon completion and approval by the OHC.

F. At any time during the above process, an employee shall have the right to consult with the
      Union.




Section 4
The EMPLOYER agrees that during the pendency of a position description or classification
review, work that may affect final classification of the position will not be reassigned for a
reasonable period of time, absent legitimate business reasons. This does not apply during any
period of reorganization and downsizing which are beyond the control of the Agency.




Section 5
To the extent permitted by the Grievance Procedure and Arbitration Articles, Employees may
grieve reductions in grade or pay actions that result from classification decisions, but not the
classification decision itself.




Section 6
To the maximum extent possible, employees' skills will be utilized within their job classification.
To the maximum extent possible, work will be distributed equitably among personnel within job
classifications.




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Section 7
The assignment of work will be made in order to meet the goals of the EMPLOYER and not for
purposes of causing advantage or disadvantage to any employee.




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24. Outside Employment
Section 1
A. Employees are permitted to engage in outside employment, consistent with applicable law,
      regulations issued by the Office of Government Ethics, and any supplemental provisions of
      the CFPB Standards of Ethical Conduct with prior approval of the Employer. Should the
      Employer issue any additions or changes to the supplemental standards, it shall notify the
      Union and negotiate over any and all legally negotiable matters prior to effectuating the
      proposed standards.

        1. “Outside employment” is “outside employment or other activities that involve the
            personal services of a Bureau employee.”

        2. “For purposes of this section, in accordance with 5 C.F.R. 9401.103(b) “employment”
            means any form of non-Federal employment, business relationship, or activity
            involving the provision of personal services by the employee, regardless of whether
            the services are compensated. It includes without limitation, personal services as an
            officer, director, employee, agent, advisor, attorney, consultant, contractor, general
            partner, trustee, teacher, speaker, or writer.

B. Employees are responsible for consulting with an ethics official in regard to the outside
      employment request. Should an employee submit a written request for prior approval, it will
      be acted upon as soon as possible, generally within twenty-five (25) calendar days of receipt.
      The Employer's decision will be made in accordance with the provisions of 5 C.F.R. Part
      2635, 5 C.F.R. Part 9401, applicable law, and any internal directive issued pursuant to 5
      C.F.R. 9401.103(e).

        1. If approved outside employment is subsequently found to violate 5 C.F.R. part 2635 or
            Bureau regulations, the Employer will give the employee fifteen (15) calendar days’
            notice to cease the activity. If the outside employment is specifically prohibited by law
            or the CFPB Ethics regulations, such activity must cease immediately. If the
            employee’s outside employment activity was consistent with the outside employment




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               activity that was requested and approved, and the employee ceases the outside
               employment activity as directed, then no disciplinary or adverse action will be taken.

        2. Reliance on the advice of a CFPB ethics official does not necessarily ensure that the
               employee will not be prosecuted for violation of a criminal statute.

C. Whenever there is a significant change in the nature, scope, or duties of the employee’s
      outside employment or in the employee’s official Bureau position, the employee must
      submit a new request for approval no less than ten (10) calendar days before the effective
      date of the change.

D. If there are questions concerning the appropriateness of outside employment, employees
      may obtain an opinion from the Employer's Ethics Official or designee at any time.




Section 2
A. Employees must generally not conduct outside employment during their official time and
      during their tour of duty. Employees who want to engage in outside employment during
      their tour of duty, must schedule and obtain advance approval from their supervisor, for use
      of annual leave, leave without pay, accumulated credit hours, or other excused or authorized
      absence. Supervisors will take into account the staffing and operational needs of the office
      when considering these requests.

B. To the greatest extent possible, attorneys performing pro bono service must do so outside of
      their tour of duty. Some pro bono service activities (such as occasional court appearances)
      may require attorneys to perform pro bono service during the business day. Before engaging
      in such pro bono service activities during their tour of duty, attorneys must request and
      obtain approval from the attorney’s supervisor to use annual leave, leave without pay,
      accumulated credit hours, or other excused or authorized absence. The attorney’s supervisor
      may not consider the supervisor’s personal views regarding the substance of the pro bono
      activity in making a decision to grant or deny the attorney’s request to use leave or credit
      hours.

        1. “Pro bono service” includes the uncompensated provision of legal services to:

      a. Persons of limited means or other disadvantaged persons;


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      b. Charitable, religious, civic, community, governmental, health and educational
           organizations in matters that are designed primarily to address the legal needs of
           persons of limited means or other disadvantaged persons, or that further their
           organizational purpose;

      c. Individuals, groups, or organizations seeking to secure or protect civil rights, civil
           liberties, or public rights; or

      d.    Further activities for improving the law, the legal system, or the legal profession.

      e. Pro bono services associated with political activity: Partisan political activities must
           comply with the Hatch Act as amended (see 5 U.S.C. §§7321-7326, 5 C.F.R. Part 734) and
           with the Bureau’s guidance concerning political activities by employees. The Ethics
           Office is available to assist with questions about the Hatch Act.

C. In appropriate circumstances, management may approve performance of pro bono service
      on duty time if it determines that such service furthers the mission of the Bureau.

D. Employees may generally not use their Bureau title and position in connection with their
      outside employment including pro bono work. The Standards allow a limited reference to
      official title and position, when the outside employment involves teaching, speaking, or
      writing. Employees should consult with the CFPB Ethics Office in this situation.

E. The following uses of Bureau equipment and facilities are authorized in connection with
      approved pro bono service:

           1. Use of Bureau property that involves minimal time and expense (e.g., electricity, ink,
              paper, and ordinary wear and tear).

           2. Limited, occasional outgoing telephone calls/fax.

           3. Use of commercial electronic databases, but only when the Bureau’s contract with the
              vendor permits unlimited use (e.g., Westlaw and Lexis).

F. An attorney performing pro bono service may contact the attorney’s supervisor with
      questions about whether a proposed use involves more than minimal expense.

G. All outside employment activities are subject to:




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        1. All applicable government ethics and other rules (e.g., rules governing conflicts of
            interest). The employee must not sell products or services to a member of the general
            public who they know, or reasonably should know, is a prohibited source; the
            employee must not sell products or services to a subordinate; and sales to co-workers
            may take place on Bureau property, but may take place only when both employees are
            on non-work time and the activity complies with the Bureau’s Policy on Employee
            Activities and Visitors in CFPB Workspace, III.B.

        2. A covered employee must not engage in compensated outside employment for an
            entity supervised by the Bureau, or for an officer, director, or employee of such entity.
            A covered employee who holds a license related to real estate, mortgage brokerage,
            property appraisals, or real property insurance is prohibited from using such license
            for the production of income.

        3. An attorney who serves in a 0905-series Attorney position must not engage in the
            outside practice of law, including in the course of pro bono service, that might require
            the attorney to: take a position that is or appears to be in conflict with the interests of
            the Bureau; or interpret any statute, regulation, or rule administered or issued by the
            Bureau. This prohibition does not prevent the Attorney from acting as an agent or
            attorney for or otherwise representing the employee’s own interests in the outside
            practice of law, except in those matters in which the employee has participated
            personally and substantially as a federal employee; or in those matters which are the
            subject of the employee’s official responsibility.

        4. Attorneys are responsible for ensuring they act within the bounds of any professional
            responsibility rules to which they are subject when engaged in outside employment.




Section 3 - Specific Exceptions
Employees may engage in the following types of outside employment without obtaining prior
approval:

        a. Membership in and providing personal services (including holding of office or other
            leadership position) to non-profit organizations and associations formed to serve
            certain purposes/groups, so long as the membership or service does not include: the



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            management of expenditures, budget, or assets of the entity; or, entail the operation
            of a business-type activity for the entity (e.g., commercial clubhouse; operation of
            independent schools or institutions of higher education; sales of products/services).
            Employees may, however, engage in fundraising activities for nonprofit
            organizations, including the solicitation of funds or sale of items outside the
            workplace, consistent with 5 C.F.R. 2635.808. Membership or service that does
            include management of expenditures, budget, or assets is subject to the regular pre-
            approval process. The specific purposes/groups included in this exception are:

            1.    Parent-teacher-student associations

            2.    Alumni associations

            3.    Civic, community, or neighborhood associations or organizations

            4.    Political associations or organizations

            5.    Social and fraternal clubs/groups

            6.    Veterans’ associations or organizations

            7.    Religious affiliation associations or organizations

            8.    Charitable organizations

            9.    Scouts, or similar youth activity clubs/organizations

        b. Membership in and personal services (including holding of office) to Federal
            employee organizations, credit unions, and Federal employee unions, as otherwise
            permitted by law.

        c. Personal services as a notary public.

        d. Sales of products or services to friends, relatives, neighbors, and co-workers (e.g.,
            home-based jewelry trunk shows, catalog sales).

        e. Rental of real or personal property owned by the employee, so long as the employee
            is not engaged in a commercial business venture.




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        f.   Minor personal services and odd jobs for friends, relatives, or neighbors.

        g. Personal services as a trustee, guardian, holder of a power of attorney, representative
             payee, or caregiver, including a financial caregiver, for family members or for a close
             personal friend. If these services will involve filing tax documents or otherwise
             interacting with any branch of the federal government, the employee must consult
             with the Ethics Office before interacting with the federal government.

        h. Personal services as an executor of an estate or person acting as a personal
             representative of a decedent under state law.

        i.   Pre-approved non-representational pro bono service- (which is pro bono service in
             which an attorney does not enter into an ongoing attorney-client relationship with
             the pro bono client), that Employer approves pursuant to Section IV.5 of the Policy
             on Outside Employment and Activities (Including Pro Bono Legal Service).




Section 4 - Approval Procedures and Forms
Employees and managers will use and follow the procedures and forms, concerning prior
approval of outside employment activities, set forth in Section IV of the Policy on Outside
Employment and Activities (Including Pro Bono Legal Service).




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25. Employee Assistance
Program
Section 1
The Employer will offer an Employee Assistance Program (EAP) to help employees effectively
address and overcome personal and professional problems or concerns. The details of an
employee’s discussions with a counselor may not be released to anyone, including the Employer,
without the employee’s written consent, except as authorized by law, rule, or regulation.




Section 2
EAP enhances Employee and workplace effectiveness by improving productivity, morale, and
Employee motivation. The program provides employees with the support, tools, and resources
they need to effectively balance the competing demands of work and life before personal
concerns impact well-being and work performance.




Section 3
The Employee may receive up to two (2) hours of administrative leave for the initial session with
an EAP counselor during duty time. However, the Employee will need to use his/her own leave
such as sick leave, annual leave, LWOP, earned credit hours, or earned comp time to account for
his/her time during any additional sessions. The Employer and any other party involved will treat
requests for meetings with EAP counselors as confidential.




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Section 4
When the Employer is conducting an interview that the subject employee reasonably believes
may result in disciplinary action against him or her, as described in Section 7.A of the Employee
Rights Article, the Employer may provide the employee with information on how to utilize EAP
services at the employee’s request.




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26. Transportation Subsidies
Section 1
The CFPB will provide eligible employees who use covered public transportation to commute to
and from work an employer-provided fare subsidy to apply toward their monthly transit costs
(“transit subsidy benefit”).

Employees may receive transit subsidy benefits only for that part of their commute for which
they use covered public transportation. The transit subsidy benefit is equal to the participant’s
actual monthly commuting cost, up to the current tax-free limit allowed by law per month. The
participant’s actual monthly commuting cost will vary depending on the type of public
transportation used; the cost of the chosen method of public transportation; and the employee’s
work schedule, including the number of times public transportation is used to commute to and
from an employee’s official duty station. Transit subsidy benefits are not taxable income and
are, therefore, not included on the participant’s Form W-2. The transit subsidy benefit must be
used solely by the participant and not for the benefit of any other person or entity.

The CFPB will also support bikeshare programs for employee’s duty-stationed in metropolitan
areas where the CFPB maintains an office. Employees receiving this benefit will be taxed on the
fair market value of the benefit.




Section 2
A. Eligibility and Coverage

        1. Eligible Participants

        a. Employees are eligible to participate in the Program if they are a:

            1.    Full- or part-time employee whose permanent duty station is an office building
                  leased, owned, or otherwise made available by CFPB to its employees for
                  official work (but not including an employee’s residence) (“CFPB office”).



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             2.    Full- or part-time employee who is performing a non-reimbursable detail (i.e.,
                   a detail in which CFPB continues to pay the employee’s salary and benefits)
                   and whose temporary duty station is not the employee’s residence.

             3.    Paid or unpaid student volunteer who is duty stationed at a CFPB office.

         b. Employees are not eligible to participate if they are a:

             1.      A contractor.

             2.      Full or part-time employee who is duty stationed at their residence.

             3.    Paying to park near a CFPB duty station.

        2. Covered Public Transportation

         To be eligible to receive the transit subsidy benefit, participants must use covered public
         transportation to commute between their residence and their duty station. Covered
         public transportation includes rail, bus, metro, and ferry. Covered public transit does not
         include air travel.

        3. Eligible Costs

         Eligible participants must not include in their calculations for their monthly transit
         subsidy benefit any costs for days when they do not use public transit to commute to
         work, e.g., when teleworking or on a Flex Day under the 4-5/9 Alternative Work
         Schedule.

        4. Termination of Benefits

         CFPB may terminate an employee’s participation in the Program based on willful or
         intentional noncompliance with these requirements, and CFPB may take disciplinary
         action, up to and including termination of employment, if appropriate.

B. Changing and Canceling Transit Subsidy Benefit Enrollment

      A participant will be removed from the Program upon separating from CFPB for any reason.

C. Withdrawing from and rejoining the Program



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        1. Participants who no longer want to participate in the Program or who become
              ineligible to participate in the Program are required to withdraw from the Program
              immediately. Participants must withdraw by following the procedures for withdrawal
              outlined in this Article and CFPB policy.

        2. Participants may rejoin the Program at a later date if they again become eligible but
              must re-enroll following the procedures set forth for new Program enrollees.

        3. Participants who experience a change in their transportation should revisit their
              application and complete the instructions for changing/updating/modifying their
              transit information immediately.

D. The Program Benefit Calculation

         a. The transit subsidy benefit is equal to the participant’s actual monthly covered
              commuting cost, up to the maximum tax-free amount allowed by law.

         b.    Each employee should visit the website of their preferred mode(s) of transportation
              to calculate their daily and monthly commute in order to be able to accurately
              complete the program application process. (Commuters utilizing a SmarTrip card in
              the DC region should visit wmata.com to calculate your costs).

E. Recertification

        1. All participants must recertify their eligibility to participate in the Program on an
              annual basis and confirm that their commuting costs have not changed. The
              recertification process includes completing annual Integrity Awareness Training
              program and a resubmission of their application.

        2. This annual requirement does not eliminate the requirement for all applicants to
              modify their information as soon as they become aware of any change that might
              affect the amount of the subsidy to which they are entitled.

F. For Regional Offices

      Employees who are duty stationed in regional offices are eligible for the Program.

G. Prohibited Uses of Transit Subsidy Benefits



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        1.   Prohibited uses of the transit subsidy benefit include, but are not limited to:

         a. Exchanging the subsidy for cash, credit, or anything of value.

         b. Transferring the subsidy from one employee to another.

         c. Transferring, in any manner, the subsidy to any other person including, but not
             limited to, family members.

        2. Employees who engage in prohibited uses may be disciplined, up to and including
             termination of employment.




Section 3
A. Participant Responsibilities

      To participate in the Program, participants must certify that:

         a. The participant works for the CFPB and is not a member of a federal commuter
             carpool.

         b. The participant who uses vanpool services must be using an approved vanpool
             provider as stated by WMATA or, for regional offices, the relevant local transit
             authority.

         c. The participant is not the holder or beneficiary of any other form of workplace motor
             vehicle parking permit and is not receiving transportation benefits from another
             federal organization.

         d. The participant is eligible for a transportation subsidy benefit for use on a
             participating public transportation system, obtaining the subsidy for personal
             commuting use, and will not transfer the benefit to anyone else.

         e. The participant has accurately listed the commuting cost to and from the
             participant’s home to work using public transportation.




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          f.   The participant understands that it is the participant’s responsibility to cancel or
               suspend their transit subsidy benefit due to extended leave or separation from the
               Bureau.

          g. The participant understands that it is the participant’s responsibility to report any
               change of address or absences that may affect his/her transit subsidy benefits.

          h. The participant understands that parking in CFPB garages while receiving benefits is
               not permitted under the Program and acknowledges that if the participant parks in
               CFPB garages while receiving transit subsidy benefits, the participant may be
               removed from the Program, have parking privileges revoked, and/or be subject to
               discipline.

      If the above responsibilities are not met, CFPB may, at its sole discretion, terminate the
      participant from the Program, and CFPB may take disciplinary action, up to and including
      termination of employment, if appropriate.




Section 4 - Bikeshare Program
A. Memberships

      CFPB memberships will provide eligible employees with one-year membership to Capital
      Bikeshare in Washington, D.C. In other metropolitan areas in which the CFPB has a regional
      office, the CFPB will establish a similar program to reimburse or pay for employee bikeshare
      memberships where such bikeshare programs are available.

B. Eligibility Requirements

      All CFPB employees on appointments of at least one-year who are duty stationed at an
      official headquarters office building are eligible to participate. Contractors and interns are
      not eligible. Current use or eligibility for transit subsidy benefits is not an eligibility factor.

C. Employee Obligations




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      Any additional charges beyond the cost of membership (e.g., overtime fees and damage to
      the bicycle) will be the responsibility of the individual employee and are not reimbursable by
      the CFPB.

D. Biking involves inherent risks. Appropriate use of bikes, compliance with safety standards
      and traffic regulation may decrease risks, but in no way ensures against adverse occurrences
      during biking including serious injury and even death. CFPB employees bike at their own
      risk.




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27. Annual Leave
Section 1
The purpose of Annual Leave is to provide paid time away from work for vacation and other
personal or emergency reasons. Scheduling annual leave is at the discretion of the employee, but
subject to the approval of the leave-approving official based on the criteria outlined in this
Article.




Section 2
Annual leave is provided to employees consistent with applicable laws and regulations and to
balance the personal needs of employees with the business needs of the Bureau. Requests to use
annual leave will be handled in a timely, efficient, and fair manner in accordance with the
provisions of this Article. Where this Article is silent, the Employer will follow federal
government-wide legal and regulatory requirements with respect to annual leave
administration.




Section 3
Definitions related to this article are:

A. Accrued Leave: The leave earned by an employee during the current leave year that is
      unused at any given time in that leave year.

B. Accumulated Leave: The unused leave remaining to the credit of the employee at the
      beginning of the leave year.

C. Administrative Workweek: A consecutive period of seven days designated as Sunday 12:00
      a.m. – Saturday 11:59 p.m.




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D. Intermittent Employee: An individual who does not have an established regular tour of duty
      during the administrative workweek.

E. Leave-Approving Official: The individual with delegated authority to approve annual leave
      requests. Typically, immediate supervisors approve leave for their direct reports.

F. Leave Balance: Number of annual leave hours that have been accrued and are available to be
      used by the employee.

G. Leave Ceiling: Maximum number of annual leave hours that may be carried over into the
      new leave year.

H. Leave Year: The period beginning with the first day of the first complete pay period in a
      calendar year and ending with the day immediately before the first day of the first complete
      pay period in the following calendar year.

I. Restored Annual Leave: Annual leave that was forfeited in a previous leave year and was
      restored to the employee due to an exigency of the public business, employee illness, or
      administrative error.

J. Tour of Duty: The hours of a day (i.e., daily tour of duty) and the days of a workweek (i.e.,
      weekly tour of duty) that constitute an employee’s regularly scheduled administrative
      workweek, during which the employee is scheduled to work. Tour of duty is the limit within
      which an employee must complete his/her basic work requirement.

K. Workday: A day for which an employee is scheduled to be in a duty status.




Section 4
A. Earning Annual Leave

        1. Annual leave is earned for each full pay period of employment in which an employee
            is in pay status for at least a portion of the pay period. When an employee’s time in a
            non-pay status reaches 80 hours or a multiple of 80 hours, the employee does not
            earn annual leave in that pay period.




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        2. Full-time employees earn annual leave at the following rates for each biweekly pay
            period:


TABLE 8:       ANNUAL LEAVE EARNING RATES FOR FULL-TIME EMPLOYEES

                                            Annual Leave Hours Earned               Annual Leave Hours Earned
   Length of Service
                                            Biweekly                                Annually
   Less than 2 years of service             4                                       104 (13 days/year)

   Two to 14 years of service               6*                                      160 (20 days/year)
   Fourteen or more years of
                                            8                                       208 (26 days/year)
   service
*10 hours are accrued in the last full pay period of the calendar year to reach 160 total hours.


        3. Part-time employees who have an established tour of duty on at least one day in each
            administrative workweek earn annual leave at the following rates:


TABLE 9:       ANNUAL LEAVE EARNING RATES FOR PART-TIME EMPLOYEEES


   Length of Service                                         Hours
                                                             One hour for each 20 hours in a pay status
   Less than 2 years of service
                                                             (not to exceed 4 hours for a pay period)
                                                             One hour for each 13 hours in a pay period
   Two to 14 years of service
                                                             (not to exceed 6 hours for a pay period
                                                             One hour for each 10 hours in a pay status
   Fourteen or more years of service
                                                             (not to exceed 8 hours for a pay period)

        4. Exclusions:

         a. Temporary employees on appointments less than 90 days long do not earn annual
              leave. If, however, the appointment is extended or the employee receives one or more
              successive appointments without a break in service that extend the appointment
              beyond 90 days, the employee will begin accruing annual leave and on the 90th day
              will be credited with annual leave that would have accrued during the first 90-day
              period, per the rates outlined above. A break in service is one workday or more when
              the employee is not on a Federal appointment. An employee may begin requesting
              leave immediately upon conversion to the new appointment.

         b. Intermittent employees do not earn annual leave.


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B. Annual Leave Ceilings

      1. Bureau Leave Ceiling: All employees can carry over up to 360 hours of annual leave at the
      end of the leave year for use in succeeding years.

      2. Personal Leave Ceilings: Newly hired employees who transfer directly to CFPB from
      another Federal agency and current CFPB employees who, prior to the effective date of this
      Article, had leave ceilings greater than 360 hours will retain all unused annual leave at the
      end of the first leave year after the effective date of this Article up to but not exceeding their
      prior limit. At the beginning of the following leave year, the employee’s leave ceiling will be
      reduced to the higher of the employee’s leave balance at the end of the prior leave year or the
      Bureau’s 360-hour leave ceiling. Re-setting of the employee’s personal leave ceiling will
      occur each year until the employee’s year-end leave balance falls at or below the Bureau’s, at
      which point the Bureau limit will apply.

      3. Leave in excess of the ceiling— Lump-sum payment; Forfeiture:

         c. At the end of a leave year, all employees who have an annual leave balance in excess
             of their personal leave ceiling will receive a lump-sum payment at their regular
             hourly rate for the number of excess hours up to a maximum of 40 hours of annual
             leave.

         d. Any accumulated leave above their personal leave ceiling in excess of 40 hours will be
             forfeited. Alternatively, an employee may choose to donate excess annual leave in
             accordance with the CFPB Voluntary Leave Transfer Program (VLTP) in the Other
             Leave Article, as long as the donation is made prior to the end of the leave year.

      4. Restoration and Use of Forfeited Annual Leave:

         A. There are only three bases for the restoration of forfeited annual leave:

             1.       Annual leave that was forfeited due to an administrative error will be restored
                      to the employee’s credit. If an employee believes that an administrative error
                      has occurred, he/she must contact the Bureau of Fiscal Services as soon as the
                      employee discovers the error. Upon request, the Office of Human Capital will
                      provide assistance if the employee encounters problems in getting their leave
                      restored.



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             2.    If the employee becomes ill and forfeits annual leave, when the annual leave
                   was scheduled in advance, the leave forfeited due to illness will be restored to
                   the employee’s credit. Employees thus affected must contact the Bureau of
                   Fiscal Services by the end of the third pay period after the end of the leave year,
                   providing proof that the annual leave had been scheduled in advance and in
                   writing (either in time and attendance system or via e-mail) and that the
                   employee used approved sick leave, donated leave or leave under the Family
                   and Medical Leave Act (FMLA) for his/her own illness during that time period.
                   Upon request, the Office of Human Capital will provide assistance if the
                   employee encounters problems in getting their leave restored.

             3.    If an employee’s previously approved leave is rescinded due to staffing,
                   workload or mission requirements, the rescinded leave, up to 40 hours, will be
                   restored not to exceed the established annual leave ceiling of 360 hours.

C. Using and Requesting Annual Leave

             1.    Usage: Annual leave may be used in 15-minute increments. Employees may use
                   accrued and accumulated annual leave but leave-approving officials have the
                   authority to decide when such leave may be used based on operational needs.
                   Usage of annual leave is not approved unless and until officially approved by
                   the leave-approving official. If due to business needs, because the employee is
                   on leave restrictions, or for other legitimate operational reasons, the leave-
                   approving official does not approve an employee’s leave request, the employee
                   must report to work or be charged, as appropriate, absent without leave
                   (AWOL), which can be the basis for disciplinary or adverse action.

      2. Method of request: To the extent possible, employees may request annual leave as far in
         advance as practical of when it will be used. Requests for annual leave may be submitted
         in the Bureau’s Time and attendance system or via email. All annual leave taken will be
         documented in the Bureau’s Time and attendance system.

      3. Unexpected need for annual leave: When the need to use annual leave is sudden and
         unexpected, the employee must notify the leave-approving official as soon as possible
         before the beginning of the workday and no later than one hour after the normal
         reporting time unless the circumstances surrounding the need for annual leave prevent
         compliance with the one-hour requirement. If the employee is unable to comply with the


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         one-hour requirement, the employee (or a representative) must report the absence as
         soon as possible. The employee must also notify the leave-approving official no later than
         one hour after the normal time for reporting to work on each subsequent day that annual
         leave is requested, unless the initial request was specifically approved for multiple days.
         No leave is authorized unless and until approved by the leave-approving official.

      4. Failing to give notice: An employee who fails to give proper notice may be charged
         AWOL, unless extenuating circumstances such as an unexpected need for leave
         precluded the employee from providing the required notification. AWOL and failure to
         follow proper leave-requesting procedures can serve as the basis for counseling, a leave
         restriction, discipline, or adverse action up to and including removal.

      5. Illness while on leave: If an illness occurs while an employee is using approved annual
         leave, the employee may request that the period of incapacitation or illness be changed
         to sick leave by making a request to the leave-approving official upon returning to work.
         The leave approving official will approve the request to substitute sick leave for annual
         leave if the request and use of the sick leave is consistent with the standards and
         requirements set forth in the Sick Leave Article.

D. Approving Annual Leave Requests

      Leave-approving officials will timely and efficiently process all annual leave requests they
      receive, and will grant leave requests consistent with applicable laws, regulations, and the
      provisions of this Article.

      The employer will not consider the use of approved leave in preparing an employee’s written
      performance appraisal.

E. Rescinding Leave Requests

      Annual leave, once approved, will not be rescinded unless the rescission is necessitated by a
      severe impact on the Employer’s workload, staffing, or mission requirements, or is required
      by applicable law or regulation. To the extent possible, the Employer will notify the
      employee, as far in advance as practicable, when it is necessary to rescind leave and the
      reason. If the leave rescission will result in a monetary loss to the employee, the employee
      shall immediately notify the supervisor in writing of the actual amount of unavoidable and
      non-refundable loss caused by the rescission. If the leave rescission remains in effect, the



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      employer shall notify the employee in writing and reimburse the employee for up to $1,250
      of the actual amount of unavoidable and non-refundable loss caused directly by the
      rescission. The employee’s claim for reimbursement must include:

      1. All original and unused tickets or other original documents evidencing the amount of the
         employee’s loss; and

      2. A copy of the employee’s written notice to the supervisor stating that the rescission will
         result in an actual loss to the employee.

F. Denying Leave Requests

      The Employer will approve an employee’s request for annual leave unless the employee’s
      absence would have an adverse effect on staffing, workload, or mission requirements.

G. Advancing Annual Leave

      1. Advancing leave: Leave-approving officials may advance annual leave not to exceed the
         amount the employee is expected to earn during the period of time that remains in that
         leave year.

      2. Issues for consideration in evaluating a request: In considering requests for advanced
         annual leave, the leave-approving official should evaluate the following:

         A. Whether the employee’s use of advanced annual leave may cause workload or
             coverage issues;

         B. Whether the employee is suspected of leave abuse, has been on a leave restriction, or
             has been counseled or disciplined for leave abuse; and

         C. Whether the employee is expected to return to duty for a long enough period of time
             to repay the advanced leave.

H. Restrictions on advancing annual leave: Leave-approving officials must not:

                 1. Advance more leave than the employee can be reasonably expected to repay,
                 based on the time remaining in his/her appointment or the time remaining in the
                 leave year, whichever is earlier;




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               2. Advance annual leave to an employee whose leave record indicates leave abuse,
            a leave restriction, or who has been counseled or disciplined for leave abuse; or

                        3. Advance leave to an employee who is not likely to return to duty.

          Liquidation of advanced annual leave balances: Advanced annual leave is normally
         liquidated by applying earned annual leave to the advanced (unearned) leave balance.
         Donated leave may be applied to the advanced annual leave balance under the terms of
         the CFPB Voluntary Leave Transfer Program in the Other Leave Article.

         Separation of employee from Federal service: If an employee separates from Federal
         employment before repaying the advanced leave, the value of the leave is recovered from
         the employee through an allowable and appropriate means of collecting debts owed to
         the government (including without limitation, withholding from the employee’s final
         salary payment; other means of administrative offset; and payment by the employee
         from personal funds). Repayment is not required if the employee is separated because of
         disability retirement or death. To the extent possible, employees may request annual
         leave as far in advance as practicable of when it will be used.

      I. Annual Leave Upon Separation or Activation for Military Service

             b. Using annual leave immediately prior to separation:

                     i. At the leave-approving official’s discretion, if it is in the interest of the
                        Employer, individual employees may be allowed to use annual leave when
                        the separation date is known, and it is unlikely that the employee will
                        return to duty prior to the separation date. In approving such requests,
                        leave-approving officials should consider whether allowing the employee
                        to take leave will cause difficulties for the Employer in terms of workload
                        or replacing the employee, as well as whether it would be detrimental to
                        require an employee to work when he/she may no longer be committed to
                        the job.

             c. Lump-sum payment upon separation: An employee who separates or retires from
                Federal service, dies, or transfers to an agency to which his/her leave cannot be
                transferred will receive a lump-sum payment for accumulated and accrued
                annual leave in accordance with 5 C.F.R. Part 550, Subpart L.



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            d. Lump-sum payment upon entering on active duty in the armed forces:
               Employees entering on active duty in the armed forces who elect to receive a
               lump-sum payment for accumulated and accrued annual leave will receive such
               payment in accordance with 5 C.F.R. Part 550, Subpart L.




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28. Sick Leave
Section 1
The purpose of Sick Leave is to provide paid time away from work when an employee is unable
to work because of a non-work-related medical need, caring for a family member with a medical
need, adoption and childbirth-related purposes or bereavement.

CFPB will provide sick leave to employees consistent with applicable laws and regulations and to
balance the personal needs of employees with the business needs of the Bureau. Sick leave
requests will be handled in a timely, efficient, and fair manner.




Section 2
Definitions:

A. Family and Medical Leave Act (FMLA) is a statute that entitles eligible employees to up to 12
      administrative workweeks of unpaid leave during any 12-month period for certain family
      and medical reasons, including a birth, adoption, the serious health condition of the
      employee or certain family members of the employee, and military-related situations as
      defined in the FMLA. Employees are also entitled to Paid Parental Leave (PPL) in
      accordance with Section 8 of the CFPB-NTEU 2024-2026 Compensation Agreement in
      connection with the birth, adoption, or foster placement of a child.

B. Family member has the meaning given that term in 5 C.F.R. § 630.201 and includes
      individuals with any of the following relationships to the employee:

          Spouse/domestic partner and his/her parents;

          Sons and daughters, and their spouses/domestic partners;

          Parents and their spouses/domestic partners;

          Brothers and sisters, and their spouses/domestic partners;



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          Grandparents and grandchildren, and their spouses/domestic partners;

          Any individual related by blood or affinity whose close association with the employee is
           the equivalent of a family relationship.

C. Health care provider has the meaning given that term in 5 C.F.R. § 630.1202, FMLA
      regulations.

D. Leave approving official means the individual with delegated authority to approve sick leave
      requests. Typically, immediate supervisors approve leave for their direct reports.

E. Medical Certificate: A brief note or form signed by a medical professional stating that the
      employee had a medical condition or required treatment, and the dates of absence. It does
      not include detailed medical information (diagnosis, prognosis, treatment received).

F. Medical Documentation: A form or letter signed by a medical professional that provides
      detailed medical information about an employee. It must include diagnosis, prognosis,
      treatment plan, specific duration of absence out of office and expected date of return and
      affirmative statement by the medical provider that the employee is unable to work during
      the period of incapacity.

G. Serious health condition has the meaning given that term in 5 C.F.R. § 630.1202, FMLA
      regulations.




Section 3
A. Earning and Accumulating Sick Leave

          1. Sick leave is earned for each full pay period of employment regardless of the type of
              appointment or length of service, when the employee is in pay status or in a
              combination of pay and non-pay (e.g., leave without pay) status. When an employee’s
              time in a non-pay status reaches eighty (80) hours or a multiple of eighty (80) hours,
              the employee does not earn sick leave in that pay period.

          2. Full-time employees earn sick leave at the rate of four (4) hours for each full biweekly
              pay period.



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        3. Part-time employees must have a regular weekly scheduled tour of duty in order to
           earn sick leave. They earn sick leave at the rate of one (1) hour of leave for each 20
           hours in pay status. The amount of sick leave earned may not exceed 4 hours in a pay
           period.

        4. Sick leave accumulates without limit. An employee who leaves Federal service does
           not receive a lump-sum payment for unused sick leave. Generally, if the employee
           returns to Federal service, unused sick leave will be re-credited. Sick leave also may be
           credited for retirement, in accordance with parameters established by the various
           retirement programs.

B. Using Sick Leave

        1. In general, sick leave may be used in 15-minute increments.

        2. Sick leave for employee’s personal need. An employee may use sick leave when
            he/she:

             i. Is incapacitated for the performance of his or her duties by:

                                           i. physical or mental illness,

                                           ii. injury,

                                          iii. pregnancy, or

                                          iv. childbirth.

             ii. Receives medical, dental, or optical examination or treatment;

            iii. Would, as determined by the health authorities having jurisdiction or by a health
                 care provider, jeopardize the health of others by his or her presence on the job
                 because of exposure to a communicable disease;

            iv. Must be absent for purposes related to his/her adoption of a child. This includes
                 activities such as court proceedings; appointments with adoption agencies,
                 social workers, and attorneys; required travel, including trips outside the United
                 States; and any other activities necessary to allow the adoption to proceed.
                 Employees who must be absent for such purposes are also eligible for PPL.


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        3. Sick leave for family-related reasons. An employee may use sick leave for family-
            related reasons, with limitations, as follows:

               a. Sick leave for general family care or bereavement. A full-time employee may
                   use up to a combined 104 hours of sick leave per leave year, and a part-time
                   employee may use up to a combined total per leave year of the number of
                   hours of sick leave normally accrued in a leave year based on the employee’s
                   scheduled tour of duty, for the following reasons:

                                i. Attending to a family member receiving medical, dental, or
                                   optical examination or treatment;

                               ii. Providing care for a family member as a result of physical or
                                   mental illness or injury;

                              iii. Providing care for a family member who would, as determined
                                   by the health authorities having jurisdiction or by a health care
                                   provider, jeopardize the health of others by that family
                                   member’s presence in the community because of exposure to a
                                   communicable disease; and

                              iv. Making arrangements necessitated by the death of, or
                                   attending the funeral of, a family member.

               b. Sick leave to care for a family member with a serious medical condition. A
                   full-time employee may use up to 480 hours of sick leave per leave year to
                   provide care for a family member with a serious health condition. A part-time
                   employee may use up to an amount of sick leave equal to 12 times the average
                   number of hours in the employee’s scheduled tour of duty each week. An
                   employee who has invoked his/her entitlement to unpaid leave under the
                   Family and Medical Leave Act for this purpose may substitute sick leave for
                   the unpaid FMLA leave, as long as he/she does not exceed this total annual
                   limit for non-FMLA and FMLA use of sick leave.

               c. Total use of sick leave for general family care, bereavement, and care of a
                   family member with a serious medical condition. The combined total of the
                   sick leave used per leave year under Section 3.B.3.a and Section 3.B.3.b of this



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                   Article may not exceed 480 hours for a full-time employee, or 12 times the
                   average number of hours in the employee’s scheduled tour of duty each week
                   for a part-time employee.

               d. Sick leave for childbirth or adoption. A full-time employee may use up to 320
                   hours of sick leave per leave year for the birth or adoption of his/her child,
                   regardless of medical incapacitation. Sick leave used for childbirth or
                   adoption purposes is in addition to PPL. Purposes to which adoptive parents
                   could use sick leave include: appointments with adoption agencies, social
                   workers, and attorneys; court proceedings; required travel; and other
                   activities necessary to allow the adoption to proceed. Sick leave used for
                   adoption purposes is in addition to the employee’s unpaid leave for the
                   placement of a child with an employee for adoption under the Family and
                   Medical Leave Act (FMLA), as well as PPL. A part-time employee may use up
                   to an amount of sick leave equal to eight (8) times the average number of
                   hours in the employee’s scheduled tour of duty each week.

                               i. This time must be used within the first 16 weeks after the birth
                                  of the child or the placement of the child with the employee.

                              ii. An employee who has invoked his/her entitlement to unpaid
                                  leave under the FMLA for this purpose may substitute sick
                                  leave for the unpaid FMLA leave, as long as he/she does not
                                  exceed this total annual limit for non-FMLA and FMLA use of
                                  sick leave. Such employees are also entitled to use PPL.

                             iii. An employee recovering from childbirth who is incapacitated
                                  for the performance of duties because of the birth may use sick
                                  leave as long as medically necessary (under Section 3.B.2.a of
                                  this Article), without regard to this limit. Such employees are
                                  also entitled to use PPL.

                   v. Sick leave for employee to provide care for a covered servicemember. A
                      full-time employee who is using leave under the FMLA to provide care for
                      a covered servicemember, as described in 5 U.S.C. § 6382(a)(3), may
                      substitute up to 1040 hours of sick leave for the unpaid leave entitlement.
                      A part-time employee may substitute an amount of sick leave equal to


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                       twenty-six (26) times the average number of hours in his or her scheduled
                       tour of duty each week.

      B. Advancing Sick Leave

            a. Advancing leave for employee’s incapacitation, exposure to a communicable
                disease, adoption of a child, or certain family-related purposes: Leave approving
                officials may advance up to 240 hours of sick leave to a full-time employee
                (prorated for a part-time employee based on the employee’s regular work
                schedule) for the reasons outlined above in Section 3.B.2.a, Section 3.B.2.c-d,
                Section 3.B.3.b, and Section 3.B.3.d-e.

            b. Advancing leave for employee receiving examination or treatment, or for general
                family care purposes: Leave approving officials may advance up to 104 hours of
                sick leave to a full-time employee (prorated for a part-time employee based on
                the employee’s regular work schedule) for the reasons outlined above in
                Section.3.B.2.b and Section 3.B.3.a.i-iv.

            c. Documentation required: Unless otherwise instructed by the leave approving
                official, an employee requesting advanced sick leave must submit a medical
                certificate to support the request.

            d. Issues for consideration in evaluating a request: In considering requests for
                advanced sick leave, the leave approving official should evaluate the following:

                    i. The employee's total employment and leave record;

                   ii. Whether the employee has been disciplined for leave abuse; and

                   iii. Whether the employee is expected to return to duty for long enough to
                       repay the advanced leave.

            e. Restrictions on advancing sick leave: Leave approving officials must not:

                    i. Advance more leave than the employee can be reasonably expected to
                       repay, based on the time remaining in his/her appointment;




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                    ii. Advance sick leave to an employee who has been disciplined for leave
                        abuse; or

                    iii. Advance sick leave to an employee who is not likely to return to duty.

            f.   Liquidation of advanced sick leave balances: Advanced sick leave is normally
                 liquidated by applying earned sick leave to the advanced (unearned) leave
                 balance. Annual leave may be substituted retroactively for advanced sick leave to
                 liquidate leave indebtedness unless the substitution is to prevent the forfeiture of
                 annual leave. Donated leave may be applied to the advanced leave balance under
                 the terms of the CFPB Voluntary Leave Transfer Program found in the Other
                 Leave Article.

            g. Separation of employee from Federal service: If an employee separates from
                 Federal employment before repaying the advanced leave, the value of the leave is
                 generally recovered from the employee through an allowable and appropriate
                 means of collecting debts owed to the government (including without limitation,
                 withholding from final payment for accrued annual leave; withholding from the
                 employee’s final salary payment; other means of administrative offset; and
                 payment by the employee from personal funds). Repayment is not required if the
                 employee is separated because of disability retirement or death.

      C. Requesting Sick Leave

            a. Method of request: Requests for sick leave may be submitted by WebTA or email.
                 All sick leave taken will be documented in WebTA.

            b. Unexpected need for sick leave: When the need to use sick leave is sudden and
                 unexpected, the employee should notify the leave-approving official as soon as
                 possible before the beginning of the workday and no later than one hour after the
                 normal reporting time unless the degree of illness, injury, or other difficulties
                 prevents compliance with the one-hour requirement. If the employee is unable to
                 comply with the one-hour requirement, the employee (or a representative) must
                 report the absence as soon as possible. The employee must also notify the leave-
                 approving official no later than one hour after the normal time for reporting to
                 work on each subsequent day that sick leave is requested unless the initial
                 request was specifically approved for multiple days.


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            c. Prearranged appointments: Employees should request the use of sick leave for
                 prearranged appointments (e.g., medical, dental, or optical examination or
                 treatment for the employee or his/her family member) or other scheduled events
                 as far in advance as possible. Supervisors can deny requests for sick leave for
                 non-emergency appointments for self or family members if business needs
                 require the individual to work.

            d. Failing to give notice: An employee who fails to give proper notice may be
                 charged absent without leave (AWOL) unless extenuating circumstances
                 precluded the employee from providing the required notification. AWOL can
                 serve as the basis for discipline.

            e. Documentation required: Employees must be prepared to support requests for
                 sick leave with administratively acceptable evidence in accordance with Section
                 2.E or 2.F of this Article. When an employee is absent for more than three
                 consecutive workdays, or in other appropriate circumstances, the leave approving
                 official may require that the employee submit a medical certificate or, medical
                 documentation, to support the absence. Medical documentation is confidential
                 and will only be shared on a need-to-know basis. Leave approving officials will
                 request medical documentation in an equitable manner, as appropriate for the
                 circumstances.

            f.   Illness while on leave: If an illness occurs while an employee is using approved
                 annual leave, the employee may request that the period of incapacitation or
                 illness be charged to sick leave by making a request to the leave approving official
                 upon returning to work.

      D. Approving Sick Leave Requests

            a. Leave approving officials will timely and efficiently process all sick leave requests
                 they receive and will grant leave requests consistently with applicable laws.

            b. Employees will not normally be required to furnish medical documentation to
                 substantiate a request for approval of sick leave for sick leave periods of three
                 consecutive workdays or less unless the Employer has given written notice to the
                 employee that he or she is under a leave restriction for a stated period (generally
                 six months), or there are specific circumstances that suggest the employee may


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                be misusing sick leave. In these cases, the employee may be required to furnish
                medical documentation from a competent healthcare professional for each
                absence from work which he/she desires to charge to sick leave.

             c. When an employee is absent in excess of three consecutive workdays, the
                supervisor may accept an employee’s written or oral statement as to the reason
                for the absence (for example, if the services of a physician were not required), or
                the supervisor may require the employee to submit medical certificate. If a
                medical certificate is not sufficient (for example, for extended leave, FMLA,
                donated leave, etc.), medical documentation may be required. If a medical
                certificate or documentation is required to support the use of sick leave, the
                supervisor will make this request before the employee returns to work, if
                practicable. The employee should provide an acceptable medical certificate or
                documentation no later than 15 calendar days after the request. If that time
                frame is impractical, the supervisor may extend it to a maximum of 30 calendar
                days.

             d. If the Employer requests medical documentation to support a request for sick
                leave, the employee must submit such medical documentation directly to the
                Office of Human Capital.

             e. The confidentiality of the employee’s medical information will be maintained by
                the Employer. Agency officials who need to know may be told about necessary
                restrictions or limitations on the work or duties of the employee, but specific
                medical documentation (including diagnosis, prognosis, and treatment) should
                only be disclosed if absolutely critical (e.g., information may be shared with LER
                staff or legal counsel who have a need to know in connection with providing
                advice to agency officials).

      E. Determinations on the employee’s request will be based on compliance with the
         requirement to submit supporting medical documentation submitted to OHC.

      F. Misuse of Sick Leave
         Misuse of sick leave may warrant a letter of warning, a leave restriction notice, or other
         disciplinary or adverse action, up to and including removal from employment with
         CFPB. An employee who is on leave restriction with a questionable record may be
         required to submit medical documentation (as defined in section 2F above) applicable to


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        the specific instance to support any future sick leave absence, regardless of length. An
        employee required to submit medical documentation must be notified of the reasons in
        writing.

        G. Confidentiality of Leave Records
        Sick leave records will not be made public and will be kept confidential. If an employee
        is absent due to illness, then co-workers or other non-CFPB personnel will only be
        advised that the employee is absent and on leave.




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29. Other Leave
Section 1
A. Leave without Pay (LWOP) is absence from duty in an approved nonpay status that may be
      granted at the Employee’s request. LWOP is distinguished from absence without leave
      (AWOL), which is an absence from duty that is not authorized or approved, or for which a
      leave request has been denied. The effect of any period of LWOP on service time and benefits
      will be determined in accordance with Office of Personnel Management (OPM) and Federal
      Reserve Board (FRB) rules and regulations as appropriate.

B. Employees are eligible for LWOP, but are not entitled to LWOP as a matter of right, except
      for:

         1. Disabled veterans requiring medical treatment for service-connected disabilities

         2. Reservists and National Guard members entitled to leave for military duty or training

         3. Employees receiving injury compensation or short/long-term disability payments
             (CFPB)

         4. Employees invoking the Family Medical Leave Act (FMLA) entitlement

C. Requests for LWOP must be submitted via email or webTA. Requests for extended LWOP
      (in excess of 30 days) should be accompanied by a written statement of the reason(s) for the
      request. Medical and/or other applicable documentation may also be required. LWOP in
      excess of 30 days may be approved by the leave approving official, and documented with an
      SF-50, Notification of Personnel Action. Any medical documentation will be provided and
      reviewed in accordance with Article 28, Sick Leave. Medical documentation is defined as a
      form or letter signed by a medical professional that provides detailed medical information
      about an Employee. It may include diagnosis, prognosis, treatment plan, etc.

D. When reviewing requests for LWOP, the leave approving official should ensure that the
      benefit to the CFPB and the government, or the serious needs of the Employee, are sufficient
      to offset the costs and administrative inconvenience of retaining an Employee in a LWOP


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      status. When granting extended LWOP (in excess of 30 days), the leave approving official
      should have a reasonable expectation that the Employee will return to duty at the end of the
      LWOP, and that at least one of the following benefits would result: protection or
      improvement of an Employee’s health, fulfillment of family responsibilities, retention of the
      Employee, or furtherance of a CFPB or government goal or program of interest. LWOP will
      not be authorized for any period in excess of 52 weeks.

D. LWOP may be granted on a temporary basis. However, LWOP normally will not be granted
      on a regular weekly or biweekly basis that would, in effect, permanently reduce a full-time
      Employee’s work schedule to an informal part-time schedule.

E. LWOP may be granted for family and medical reasons in addition to FMLA and sick leave
      for family care purposes. Employees may be granted up to 24 hours of LWOP each year for:
      participation in school and early childhood educational activities, including parent-teacher
      conferences; meetings with principals, counselors, teaching staff; school board meetings;
      tutoring; interviewing for a new school or child-care facility; meetings with child-care
      providers; participating in volunteer activities supporting the child’s educational
      advancement; school or child-care sponsored activities, such as sports and recreation
      programs, field trips, or class plays; or routine family medical appointments, such as for
      parents to accompany children to routine medical or dental appointments, such as annual
      checkups or vaccinations, or relatives’ health needs, such as making arrangements for
      housing, meals, phones, banking services, and other similar activities.




Section 2
Voluntary Leave Transfer Program (VLTP)

Employer shall continue to provide the VLTP. The VLTP allows a CFPB Employee to transfer
annual leave directly to another Employee who has insufficient annual or sick leave to cover a
period of absence due to the Employee’s own medical emergency or that of a family member.

A. Definitions

        1. Leave Donor: A current Federal Employee who voluntarily transfers his/her own leave
            to an approved leave recipient.



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        2. Leave Recipient: A current Federal Employee who has been accepted into a leave
             transfer program to receive transferred leave from another Federal Employee.

        3. Medical Emergency: A medical condition of either an Employee or an Employee’s
             family member that has required or is likely to require the Employee to be absent
             from duty and to result in a substantial loss of income because of the Employee’s lack
             of available annual and sick leave.

        4. Family Member: The following relatives of the Employee:

            Spouse/domestic partner and his/her parents;

            Sons and daughters, and their spouses/domestic partners;

            Parents and their spouses/domestic partners;

            Brothers and sisters, and their spouses/domestic partners;

            Grandparents and grandchildren, and their spouses/domestic partners;

            Any individual related through blood or affinity whose close association with the
             Employee is the equivalent of a family relationship.

B. Policy

      Any Employee may apply to become a leave recipient under this Article. To be accepted into
      the VLTP program, the prospective leave recipient must meet the following conditions:

        1. Have a medical emergency or assist in the care of a family member experiencing a
             medical emergency; and

        2. Be, or anticipate being, absent from duty without available annual and sick leave
             because of the medical emergency for at least 24 work hours (for a part-time
             Employee, at least 30% of the average number of hours of work in the Employee’s bi-
             weekly tour of duty). For an Employee’s personal medical emergency, he/she must
             have exhausted all accrued or accumulated annual and sick leave before receiving any
             transferred leave. For a family member’s medical emergency, the Employee must
             have exhausted all accrued or accumulated annual leave and the applicable amount of




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            sick leave allowed for the care of a family member, as defined in 5 C.F.R. § 630.401,
            before receiving any transferred leave; and

        3. If the Employee has filed a claim under the CFPB Short- or Long-Term Disability
            Insurance programs, he/she must cease participation in and stop receiving benefits
            from these programs before receiving any transferred leave.

      The prospective leave recipient’s application must be submitted within 30 days of the
      termination of the medical emergency unless the applicant satisfactorily demonstrates in
      writing that the application could not be submitted in a timely manner. If an Employee’s
      medical emergency has already ended at the time of application for VLTP and the
      application is approved, the leave recipient’s case will be opened for a period of 30 days to
      allow for receipt of transferred leave, after which time, the case will be closed.

C. Use of Transferred Leave

      An approved leave recipient may not receive more than three months (521 hours) of
      transferred leave in any calendar year. The Chief Human Capital Officer may make
      exceptions to this limitation on a case-by-case basis consistent with applicable laws and
      regulations.

      A leave recipient may use transferred leave only for the purpose of the approved medical
      emergency. Transferred leave will be applied as follows:

        1. Transferred leave will first be used to liquidate any period of advanced annual leave or
            advanced sick leave that the Employee incurred on or after the beginning date of the
            medical emergency, when the advanced leave was for the same medical emergency as
            the leave transfer request; and

        2. Remaining transferred leave, at the Employee’s choice, can then be applied to any
            periods of leave without pay already incurred as a result of this medical emergency
            (unless the leave without pay hours were recorded due to the Employee’s participation
            in the CFPB Short- or Long-Term Disability Insurance programs), or can be placed in
            the Employee’s leave account for future use for the specific, approved medical
            emergency.




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      Approval and use of transferred leave is subject to the same requirements as regular annual
      leave, except that transferred leave is not subject to “use or lose” limitations and may be
      carried over between leave years.

      Employees must request and be granted permission by management in advance in each
      instance that the Employee wants to use transferred leave.

D. Limitations on Earning Annual and Sick Leave while Using Transferred Leave

      While using transferred leave, a full-time Employee may earn a maximum of 40 hours of
      sick leave and 40 hours of annual leave. This leave will be set aside in separate leave
      accounts for use after the medical emergency terminates and the Employee returns to duty,
      or after the transferred leave is depleted. While using transferred leave, a part-time
      Employee may earn the equivalent of the average number of hours of work in that
      Employee’s weekly scheduled tour of duty.

E. End of Participation in VLTP

        1. An Employee’s participation in VLTP ends on the date when one of the following
            occurs:

         a. Leave recipient’s employment with CFPB terminates;

         b. Leave recipient or his/her representative submits a written notice that the leave
             recipient or the recipient’s family member is no longer affected by the medical
             emergency;

         c. Leave recipient begins receiving payment through the CFPB Short- or Long-Term
             Disability Insurance programs.

        2. Bureau of the Fiscal Services (BFS) determines that the recipient or the recipient’s
            family member is no longer affected by the medical emergency. The determination
            will be made based on medical information provided by the recipient, and the
            recipient, or his/her representative, will be notified in writing as soon as practicable
            before the effective date of termination of the Employee’s participation in the
            program.




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        3. In cases wherein the Employee’s medical emergency has already ended at the time of
            application for VLTP, the 31st day after the approval of the application or sooner, if
            the Employee has received sufficient transferred leave to cover the period of absence.

        4. CFPB receives notice that OPM or the Federal Reserve Retirement System has
            approved an application for disability retirement for the recipient.

        5. A leave recipient who has been notified that his/her participation in VLTP has been
            terminated and who disagrees with the decision has the right to respond in writing to
            the OHC within ten (10) workdays of receipt of the notice. The response should detail
            the reasons why CFPB should extend the Employee’s participation in the program.
            The appropriate management official will respond within seven (7) workdays of
            receipt of the leave recipient’s request for reconsideration.

F. Status of Leave upon Separation from Federal Employment

      If a leave recipient separates from Federal service while participating in VLTP, transferred
      leave currently in the Employee’s leave accounts and leave accrued in set-aside annual and
      sick leave accounts will not be paid out to the leave recipient and will not be available for re-
      credit upon reemployment by any Federal agency.




Section 3
A. Leave Donors Transferring Leave

      CFPB Employees may transfer annual leave or restored annual leave in one-hour increments
      to any CFPB Employee who has been accepted into the VLTP, with the following restrictions:

        1. The leave donor must have an annual leave balance of 80 hours after the transferred
            leave is deducted from his/her leave account.

        2. The leave donor may not transfer leave to anyone above him/her in his/her
            management chain.

      CFPB Employee may transfer annual leave or restored annual leave to a leave recipient in
      another Federal agency, subject to the approval of the recipient’s employing agency, as long



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      as the leave donor has an annual leave balance of 80 hours after the transferred leave is
      deducted from his/her leave account.

      Employees in other Federal agencies may transfer annual leave or restored annual leave to
      CFPB leave recipients, in accordance with their employing agency’s guidelines, when:

        1. The leave donor is a family member of the leave recipient, as defined in Section II
            above; or

        2. It is apparent that the leave recipient will not receive a sufficient number of
            transferred leave hours from CFPB leave donors to cover the expected absence due to
            the medical emergency.

      Leave transfer is strictly voluntary. Any attempt to intimidate, coerce or take reprisal upon
      an Employee for transferring or not transferring leave, or promising any benefit regarding
      this program, is prohibited, and should be reported to OHC.

B. Restoration of Unused Transferred Leave

      To the extent feasible, any unused, transferred leave will be restored in 15-minute
      increments to the leave donor(s) when the recipient’s medical emergency ends, in
      accordance with applicable regulatory guidelines. A donor may choose to have such leave:

        1. Credited to the donor’s annual leave account during the current leave year;

        2. Credited to his/her account effective as of the first day of the first leave year beginning
            after the date of election;

        3. Transferred to another leave recipient; or

        4. Any combination of the above.

      Any transferred annual leave that is restored to the donor will be subject to the Employee’s
      annual leave ceiling limitation at the end of the leave year in which the leave is credited.

C. Procedures

      Application to Become a Leave Recipient




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      To be considered for admission into the VLTP as a leave recipient, an Employee or his/her
      representative must send a written application to BFS Leave Transfer Coordinator The
      application must include:

        1. Completed CFPB Voluntary Leave Transfer Program Recipient Application Form, (see
             https://cfpbprod.servicenowservices.com/servicecenter?id=sc_cat_item&sys_id=36f
             4401c1b4d0e101239a6c4604bcb5b), indicating name, position, title, pay band of the
             potential recipient, as well as a brief description of the medical emergency. If
             applicable, the form must also indicate the family member’s relationship to the
             Employee and the reason necessitating the Employee’s absence from work.

         If the medical condition allows flexibility when the Employee takes time off (i.e.,
         condition does not require immediate treatment and can be scheduled in advance), the
         Employee’s supervisor must sign the application form.

        2. Medical certification from the Employee’s or family member’s health care provider
             that includes a description of:

            The nature of the medical emergency;

            Its severity and anticipated duration;

            If recurring in nature, its approximate frequency; and

            An assessment of the Employee’s ability to perform work or time commitment
             required to care for a family member with or without accommodation, such as
             telework.

      BFS will approve or deny, in writing, all applications. Under normal circumstances, the
      designated approving official will approve or deny the application within five workdays after
      the properly completed application is received. If the application is approved, a BFS
      representative will notify the applicant or his/her representative, the applicant’s supervisor
      and OHC in writing.

      If the application is denied, a BFS representative will notify the applicant or his/her
      representative and OHC in writing and will include the reason(s) for disapproval. The
      applicant can request reconsideration by providing additional information or supporting
      documentation.



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D. Publicity

      Any publicity or promotion of need for transferred leave must be at the request of, and
      authorized by, the leave recipient or his/her representative, with the approval of OHC. The
      prospective leave recipient must indicate on the CFPB Voluntary Leave Transfer Program
      Recipient Application Form whether he/she:

        1. Authorizes that his/her name be shown as a leave recipient in the webTA system;

        2. Requests the assistance of OHC in soliciting for leave donors through all-hands e-
            mails, postings on the CFPB intranet, or other similar venues, as established.

      Details concerning the nature of the medical emergency will only be made public if
      specifically requested in writing by the Employee.

E. Transferring Leave

      Employees may transfer leave to approved CFPB leave recipients via the Leave Donations
      function in webTA. Employees may transfer leave to approved leave recipients employed by
      other Federal agencies by using Form OPM 630-B, which should be submitted to BFS.

      Employees in other Federal agencies may transfer leave to CFPB leave recipients via the
      completed Form OPM 630-B, which should be submitted to BFS.




Section 4
A. Military Leave
      Full-time Employee who are members of the National Guard or a reserve component of the
      Armed Forces shall be entitled to military leave for active duty, active-duty training, and
      inactive duty training at the rate of 15 days (120 hours) per fiscal year. Military leave that is
      not used in a fiscal year accumulates for use in the succeeding fiscal year. However, no more
      than 15 days may be carried over into the succeeding fiscal year. The total maximum
      accumulation for military leave is 30 days (240 hours) in any fiscal year.

B. Organ Donor
      An Employee may use up to 30 days (240 hours) of paid leave each leave year to serve as an



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      organ donor. Leave for organ donation is a separate category of leave that is in addition to
      annual leave and sick leave. For absences in excess of 30 days, an Employee may request
      accrued or advanced annual or sick leave, donated leave, or LWOP.

C. Bone Marrow Donor
      An Employee may use up to seven days (56 hours) of paid leave each leave year to serve as a
      bone marrow donor. Leave for bone marrow donation is a separate category of leave that is
      in addition to annual leave and sick leave. For absences in excess of seven days, an
      Employee may request accrued or advanced annual or sick leave, donated leave, or LWOP.

D. Compensatory Time for Religious Observance
      The Employer will approve an Employee’s request for leave (whether annual or leave
      without pay) or compensatory time for religious observance in accordance with 5 CFR Part
      550, subpart J.. Those provisions are reproduced herein.

        1. The scheduling of time to earn and use religious compensatory time off by
            an employee is subject to the agency's approval as provided in § 550.1005(a).

        2. Approval shall be determined in accordance with § 550.1005(b) as follows:

E. An agency must approve an employee's request to use religious compensatory time off
      unless the agency determines that approving the request would interfere with the agency's
      ability to efficiently carry out its mission. If the employee's request to use religious
      compensatory time off is denied, the agency must provide a written explanation as to the
      reason the request has been denied, regardless of whether the employee's request was
      written or oral.




        1. For an employee who earns religious compensatory time off prior to using it, religious
            compensatory time off may be earned up to 13 pay periods in advance of the pay
            period in which the targeted religious observance commences and must be linked to
            specific dates and times for future use, as compatible with agency mission
            requirements.

                     (a) An employee who uses religious compensatory time off prior to earning it
                         must fulfill his or her obligation to perform overtime work in exchange for



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                         the advanced religious compensatory time off within 13 pay periods after
                         the pay period in which he or she used religious compensatory time off, or
                         the agency must take action as provided in 550.1006 (c)(3)

                     (b) The 13 pay periods described in paragraph 550.1006 (c)(1) are calculated
                         beginning with the first pay period beginning after the date on which
                         the religious compensatory time off was used.

                     (c) If the employee fails to earn religious compensatory time off within 13 pay
                         periods after taking religious compensatory time off, the agency may take
                         corrective action to eliminate or reduce the negative balance by making a
                         corresponding reduction in the employee's balance of annual leave, credit
                         hours, compensatory time off in lieu of regular overtime pay,
                         compensatory time off for travel, or time-off awards. An agency may
                         determine the order of precedence for applying the various types of paid
                         time off to offset the negative balance. Any negative balance of religious
                         compensatory time off remaining after any charging of these types of paid
                         time off must be resolved by charging the employee leave without pay,
                         which would result in an indebtedness that is subject to the agency's
                         internal debt collection procedures.

  An automated leave request form should be used to show hours earned and used and should
  clearly state the time is for religious purposes.


F. Court Leave
      An Employee is entitled to court leave to the extent necessary to serve on a jury or to
      participate as a witness in a nonofficial capacity on behalf of a state or local government or
      as a witness in a nonofficial capacity on behalf of a private party in connection with any
      judicial proceedings to which the United States, the District of Columbia, or a state or local
      government is a party. Upon being notified by an Employee that he or she needs court leave,
      the Employer will advise the Employee regarding leave status. The Employee will provide
      documentation which substantiates his or her presence as a witness or for jury duty. This
      documentation can be provided after the jury duty or witness service has been conducted.




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      Employees must reimburse to the Employer agency fees paid for service as a juror or
      witness. However, monies paid to jurors or witnesses which are in the nature of “expenses”
      (e.g., transportation) do not have to be reimbursed to the Employer.




Section 5
Excused Absences / Administrative Leave
Excused absence is an administratively authorized absence from duty without loss of pay and
without charge to leave. “Administrative leave” is a term sometimes used to refer to excused
absence.

A. If the Employer must close a facility or must stop work at a temporary duty location because
      of severe weather conditions or an emergency situation, excused absence will be granted to
      those Employees on official duty in accordance with applicable law and regulation, and
      Article 12, Section 8 of this CBA. If this decision is made prior to the start of the business
      day, the Employer will follow procedures established to inform Employees.

B. If an Employee will be unavoidably delayed in, or prevented from, arriving at work due to an
      emergency, including severe weather conditions, natural disasters, and public emergencies,
      the Employer will consider the Employee’s request for a reasonable amount of excused
      absence. An emergency is one that is general rather than personal in scope and impact. The
      Employer will consider each Employee’s request for excused absence, based on factors such
      as availability of transportation and the success of other Employees in similar situations, and
      grant such requests when reasonable in accordance with Article 12, Section 8 of this CBA..

C. In the event of an early closing of a facility, Employees will be notified as promptly as
      possible after the decision is made that they may leave work at no charge to leave or loss of
      pay. The early dismissal will have no effect on the leave or pay of Employees not in duty
      status when the dismissal became effective. Employees with telework agreements may be
      required to telework from their alternate worksite in accordance with Article 12, Section 8 of
      the Remote, Hybrid, and Telework Program Article.

D. Upon advance request to his or her supervisor and consistent with the Employer’s workload
      requirements, Employees will be granted up to four (4) hours of administrative leave for the
      purposes of donating blood.



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F. An Employee may be granted duty time up to three days to sit for a professional examination
      where that examination is job-related, required, and approved by the Employer.
      Additionally, excused absence may be granted up to one day when travel is required to take
      the examination outside the metropolitan area of the Employee’s duty station.




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30. Employee Orientation
Section 1
A. The Union shall be provided advance notice of the date, time, and location of the orientation
      session. The Union shall be provided advance notice of the orientation session at the time
      the session is scheduled by the Employer.

B. NTEU may send two (2) local representatives to each orientation session at Headquarters
      for thirty (30) minutes of official time on the agenda to address new employees. This time
      will be scheduled immediately preceding lunch or an employee break. Whenever practicable,
      at least two (2) workdays prior to any scheduled orientation session, the Union will provide
      the Employer with the name(s) of the Union representative(s) who will be attending the
      session.

C. The Employer will introduce the Union during each orientation. The Employer will allow the
      Union access to standard equipment already in use during orientation to show an NTEU
      video or make a PowerPoint presentation. The Union will provide the presentation
      materials to the Employer at least two (2) workdays prior to the scheduled orientation
      session.

D. During the course of each orientation session, the Employer and the Union agree to act
      professionally and with respect for the other party’s rights and responsibilities.

E. In the event an NTEU representative is not available to attend an orientation, the Union can
      use all or any part of the thirty (30) minutes of official time to meet with the employee(s) at
      his or her assigned office. If an employee will not be included in a group orientation upon
      hiring, or an employee previously in a position outside the bargaining unit is placed in a
      bargaining unit position, a Union representative will be afforded thirty (30) minutes to meet
      with the employee on the employee's first week in the position. Whenever possible, the
      Union will meet with multiple employees at the same time. Bargaining unit employees will
      only be entitled to a single, thirty (30) minute session during their Bureau tenure.




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F. At employee orientation, the Employer will provide new employees access to a printable
      version of the Collective Bargaining Agreement through the CFPB intranet.




Section 2
The Employer will provide the Union with a list of new employees, including their entry-on-duty
date, title, grade, official duty station, and orientation date at least two (2) workdays prior to
their entry-on-duty date. The Employer will notify the Union no later than the effective date of
the placement of a non-bargaining unit employee in a bargaining unit position.




Section 3
During the first year of this contract, the Union may hold two (2) sessions of up to two (2) hours
at headquarters with online/dial-in access to provide CBA training and other negotiated
agreements. Upon request, the Employer will provide an on-site meeting room with online/dial-
in access. Employees may attend or call in to only one (1) of these sessions. Travel, official time
for travel, and per diem will not be authorized.

The Union may hold similar sessions to of up to one (1) hour in alternate years.




Section 4
The Union will be provided access to copies of the orientation materials through the CFPB
intranet.




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31. Meetings During
Conferences
Section 1
A. The Employer will provide the Union with written notification of the date(s) and location of
      conferences (meetings where 50 or more bargaining unit employees are invited over the
      course of more than two days). Such notice shall be provided as soon as practicable after the
      conference has been scheduled. External vendor training is not a conference.

B. If the Union wishes to hold a separate meeting with bargaining unit employees during any
      such conference period, the Union must make a written request no later than fourteen (14)
      working days before the first scheduled day of the conference, or within five (5) working
      days of receipt of notice regarding the conference, whichever is later. The Employer will
      make every effort to obtain a meeting room for a Union meeting to be held during the time
      period of the conference at no charge. If there is a charge for the meeting room, it will be the
      responsibility of the Union. Such Union meeting will be held during non-duty hours.




Section 2
A. Subject to the requirements of Section 2, Article 5 (Union Rights), the Employer will provide
      notice of any formal meeting as defined by 5 USC § 7114.

B. If other internal or external groups or organizations are permitted to set up booths or tables
      at such conferences, the Union will also be entitled to do so at its own expense.




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32. Official Time
Section 1
A. The Parties agree that the use of official time for the activities identified in this Article
      contributes to the effective conduct of the Employer's business in the public interest.

B. The terms "representative," "steward" or "officer" are used interchangeably in this Article
      and those terms refer to all employees representing NTEU, e.g., assistant chief stewards,
      chief stewards, stewards, and Union officers. No other bargaining unit employee(s) may be
      authorized by the Union to act on its behalf and receive official time unless mutually agreed
      to by the Parties.

C. The Union may designate one representative (steward and/or officer) for each forty (40)
      bargaining unit employees (or fractional portion thereof) at Bureau Headquarters and in
      each Region. Only these representatives, in addition to the Chapter President, will receive
      official time, in accordance with this Article.

D. The Union agrees to provide to the Employer (Chief, Labor Relations) a list of
      stewards/representatives as described above, within thirty (30) workdays after the effective
      date of this Article. The Union will also provide to the Employer written notice of any
      changes (additions or deletions) in such a list at least two (2) workdays in advance of the
      effective date of the change. No two representatives can report to the same first-line
      supervisor.




Section 2
A. Union representatives will receive a reasonable amount of official time (including official
      time to travel to and from meetings described in C. below to the extent the employee is
      otherwise in a duty status) to fulfill their representational responsibilities in accordance with
      § 7114 (a) (1-2).




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        1. The Employer recognizes that in using official time under this Article, the Chapter
            President, Chief Steward, the Vice President of Headquarters and the Vice President
            of the Field will share a bank of 3250 hours per year.

        2. If the Chief Steward or either of the Vice Presidents requests more than twenty-four
            (24) hours of official time in a pay period, such additional official time will be
            requested by having the Chapter President or designee submit the request to the office
            of Labor Relations.

        3. If any other Union representative requests reasonable time more than 4 (four) hours
            in a pay period, such additional official time will be requested by having the Chapter
            President or designee submit the request to the office of Labor Relations.

B. The number of Union representatives authorized for official time is governed by the
      following:

        1. For each of the matters with the Employer described in subsection C.1 and 17, the
            Union shall be entitled to official time for no more than one representative.

        2. For the matters described in subsections C.3, 4, 5, 6 and 7, the Employer will normally
            have two representatives (e.g., the deciding official and an advisory management
            representative), and the Union will be limited to one representative (in addition to the
            employee/grievant) with the exception that upon notice in advance, an additional
            union representative may attend for training purposes subject to managerial approval.
            If the Employer sends additional representatives to these meetings, it will notify the
            Union in advance, and the Union may send an equal number of additional
            representatives.

        3. In cases arising under subsection C.2, 8, 9, and 16, the number of Union
            representatives is equal to the number of Employer representatives at such meetings.

        4. The Union may occasionally designate an additional representative for training
            purposes so that a new steward may observe at least one official time meeting, and so
            that an experienced steward can supervise a new steward at least once in a meeting.
            Managerial approval is required.




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C. Official time will only be granted for representational activities when the representative
      would otherwise be in a duty status. A Union steward may not use official time or duty time
      to conduct internal Union business. A Union steward may not earn overtime, premium pay,
      compensatory time for travel, or compensatory time for any activities relating to
      representational activities. Official time for Union representatives and for affected
      bargaining unit employees is authorized for the following purposes:

        1. meetings concerning personnel policies, practices or other general conditions of
            employment or any other matter covered by 5 U.S.C. 7114(a)(2)(A);

        2. meetings to discuss or present unfair labor practice charges or unit clarification
            petitions;

        3. meetings with the FLRA or participation on behalf of the Union in proceedings before
            the Authority;

        4. meetings for the purpose of presenting replies to proposed termination of
            probationers under limited circumstances in accordance with Section 4 of the
            Probationary/Trial Period Employees Article;

        5. oral replies to notices of proposed disciplinary, adverse, or unacceptable performance
            actions;

        6. meetings to present appeals in connection with statutory or regulatory appeal
            procedures in which the Union is designated as the representative;

        7. examinations of employees in the unit by a representative of the Employer in
            connection with an investigation if the employee reasonably believes that the
            examination may result in disciplinary action against the employee; and
            the employee requests representation;

        8. grievance meetings and arbitration hearings;

        9. negotiations sessions with the Employer (e.g., mid-term negotiations);

        10. meetings of committees on which Union representatives are authorized joint
            membership pursuant to this Article or any other negotiated agreement;




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        11. to participate in one annual NTEU National training per year per representative, or up
            to 8 hours per year, per representative, to participate in other non-NTEU sponsored
            training designed to improve representational skills or otherwise improve the labor-
            management relationship;

        12. to communicate with affected employee(s) about matters covered under this Article;

        13. to prepare and investigate grievances, interview witnesses, prepare arbitrations, and
            meet with NTEU National Staff Representatives in connection with representational
            activity;

        14. to prepare to represent an employee in a statutory appeal process, including replies;

        15. to prepare to negotiate over mid-contract issues;

        16. to prepare to participate in a FLRA investigation or hearing as a representative of the
            Union;

        17. to prepare for and attend Labor Management Forum (LMF) meetings;

        18. to prepare and maintain records and reports required of the Union by Federal
            agencies; and

        19. to contact members of Congress and their staffs to discuss legislative matters affecting
            the Employer and its employees, including attending NTEU's annual Legislative
            Conference. For purposes of attending the Legislative Conference, the Union shall be
            entitled to no more than seven (7) representatives on official time per year.

D. The Employer shall provide the chapter with quarterly reports regarding the use of Official
      time by Union representatives.




Section 3
A. The Chapter President will account for his or her use of official time on a biweekly basis
      using in the Bureau’s official time keeping system (WebTA).




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B. Any other Union representative will submit a request to his or her supervisor, via email for
      use of official time. The official time request will include the date, location, general purpose,
      and the amount of time being requested. The representative is required to input those
      approved hours in WebTA each pay period.

C. The request for official time should normally be made by the employee to their supervisor no
      less than 24 hours in advance. The Employer will approve or deny the request in a timely
      manner, but no later than when the requested official time would begin. The supervisor shall
      normally grant the employee’s written request unless the requested duration is
      unreasonable, or the employee’s absence would substantially interfere with business needs.
      The employee will notify his/her supervisor upon return to the worksite.

        1. If the Union Representative has provided no less than 24 hours advance notice, but
            the Employer fails to act on the request in a timely fashion, the request will be
            considered as approved for up to 2 hours per day until the supervisor or designee
            approves/denies the request.

        2. If the Union representative is not released, official time will be granted later that day
            if at all feasible. Any denial of a request for official time must be made as quickly as
            possible.

        3. When the anticipated duration of use of official time is less than one half (1/2) hour,
            advance approval is not required. However, the employee will normally notify the
            supervisor if they are leaving the work area.

D. Bargaining unit employees will seek approval, in writing from his or her supervisor to use a
      reasonable amount of time under this Article, to confer with his or her Union representative
      concerning representational matters and to attend and prepare for any proceeding listed
      under Section 2.C. of this Article in which the employee is a proper participant (e.g., as a
      mutually agreed upon witness or if allowed to testify as a technical advisor in lieu of the
      Union representative). The employee will submit a request reasonably in advance, and the
      Employer will approve or deny the request in a timely manner, but no later than when the
      requested official time would begin. If the employee has provided reasonable advance notice,
      but the Employer fails to act on the request in a timely fashion, the request will be
      considered as approved for up to 2 hours per day until the supervisor or designee
      approves/denies the request.



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E. The provisions of this Article shall not bar Union representatives from using a reasonable
      amount of official time for activities specifically provided elsewhere in this Article.

F. Any use of official time under this Article shall count from the time the Union official ceases
      working at his or her normal duties to the time he or she resumes those normal duties.
      Union officials are responsible for recording the amount of official time utilized on his or her
      official CFPB Time and Attendance Report (WebTA). Bargaining unit employees who are
      meeting with Union officials or otherwise using time authorized by this contract are not
      required to report the use of this time on their Time and Attendance Report.

G. The employer has determined that a Union representative will receive an annual appraisal
      provided the Union representative has worked enough time to be rated, i.e., performed at
      least 120 hours of ratable work based on assigned duties included in their position
      description.

H. Performance of employees serving as union representatives will be rated on the basis of
      Agency-assigned work (as described in Section 3G above) consistent with the elements used
      in his or her performance plan. No union representative will be disadvantaged in the
      assessment of his or her performance based on the use of approved, documented official
      time spent on representational duties authorized by the Federal Service Labor Management
      Relations Statute or as permitted under the terms of this Article. The EMPLOYER will take
      into account the time spent by UNION representatives carrying out their labor-management
      responsibilities, and interruptions in performing their normal job functions, when
      evaluating the performance of those UNION representatives. However, it is understood that
      performance problems unrelated to the use of official time may be addressed in accordance
      with other relevant provisions of this Article. Supervisors will not consider time spent on
      union duties when assessing employee performance.




Section 4
A. The Employer will pay travel and per diem expenses per the CFPB Travel Article incurred by
      CFPB employed Union officials as follows:

        1. Representatives authorized to engage in midterm reopener and term negotiations
            pursuant to signed ground rules;



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        2. Representatives authorized to engage in midterm bargaining on significant matters
            affecting bargaining unit employees upon mutual agreement of the Parties;

        3. Representatives authorized to attend meetings of a Labor Management Forum (LMF);

        4. One union representative (Chapter President or designee) to attend one huddle
            meeting per Region per year; and

        5. Other meetings where Union officials are requested to attend in person by
            management.

B. For purposes of the annual NTEU training conference, the Employer will pay travel and per
      diem for up to six (6) representatives per year covered by this Article. Representatives who
      will be attending the conference are required to provide fifteen (15) calendar days advance
      notice to their supervisor for planning purposes.

C. Reimbursement shall be in accordance with CFPB travel procedures, as modified by any
      applicable negotiated agreements.




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33. Union Access to Space
Section 1
A. Upon reasonable advance request by the Union, the Employer will, provide a meeting space,
      as available, for meetings between 6:30 A.M. and 6:00 P.M. (local time) in each location of
      the Employer. Requests by the Union to utilize meeting space after 6:00 P.M. will be granted
      if consistent with local security arrangements. It is agreed that the Union will comply with all
      security and housekeeping rules in effect on the Employer's premises at that time and place.
      The room will be used for the following purposes:

        1. preparing or discussing a grievance;

        2. preparing for meetings with the Employer;

        3. conducting informal discussions including meetings during coffee breaks or lunch
            periods to meet employees and generally discuss collective bargaining and labor
            relations; and

        4. internal Union business (e.g., internal Union meetings), so long as no official CFPB
            duty time is utilized for such meetings.

B. This article also adopts and incorporates by reference the Bureau’s Acceptable Use of CFPB
      Information Technology Resources Policy as revised on June 1, 2023.

C. CFPB employees who are Union representatives may use the Employer's office equipment
      (including computers and computer files), e-mail system, fax, printers, scanners, and
      photocopy machines in connection with labor management activities for which official time
      is authorized under Article 32 (Official Time). The Union will be entitled to a reasonable
      number of mailboxes on the CFPB’s Outlook system.

        1. The Bureau’s equipment, including computers, printers, copying equipment, fax
            machines, telephones and email systems may not be used for internal Union business,
            except pursuant to the Bureau’s policy permitting employees to use such equipment
            for reasonable and limited personal use. However, limited personal use does not


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            include mass mailing, including emails of materials to employees. Internal Union
            business includes, but is not limited to, the solicitation of membership, elections of
            Union officials, discussions about local or national Union management and their
            decision making, and collection of dues.

        2. The NTEU National President and the local Chapter President are the sole Union
            officials that may authorize transmission of mass mailings (i.e., emails sent to a
            majority or all bargaining unit members in either one or several emails) in connection
            with representational activities. The Union will be provided an email distribution list
            of bargaining unit employees (updated quarterly) to be used for such purposes.
            Unless otherwise delegated by the National President or the Chapter President, no
            other employee or Union representative will be authorized to transmit mass mailings
            to bargaining unit employees on Union-related matters. Such mass emails may not
            violate law or the security of the employer, or contain scurrilous or libelous material,
            or material maligning the integrity of any individual, the employer, or the federal
            government.

D. The Union may use the Employer's video equipment, for presentations in orientation
      sessions described in Article 30 (Employee Orientation), when such equipment is reasonably
      available. The Union may also use such equipment for Union-sponsored local training
      (excluding internal Union business) and meetings with employees.

E. The Employer will provide the Union with its own home page on the CFPB Intranet, with a
      hyperlink to the NTEU National web site. NTEU will maintain the content of these pages in
      accordance with established CFPB policy, procedures, and standards.




Section 2
Each January, April, July and October, the Employer will provide NTEU National for its internal
use only, an electronic spreadsheet which will contain the names, band, position titles, division,
branch, group, unit, section, assigned duty location (city and state) adjusted base pay and email
address for all employees in the unit. The list will also identify employees who are on dues
withholding status and employees' work status (for example, temporary, term, permanent, full-
time, or part time), and have changed names in the CFPB Directory and/or in M/S Outlook
(marriage, divorce, hyphenated name, nickname). Quarterly, the Employer will also provide a


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listing of any employees whose bargaining unit status has been changed (added or removed
from the bargaining unit), and if removed from the bargaining unit, the reason for the change
(e.g., promotion or transfer to a non-bargaining unit position).




Section 3
      A. The cost of publishing (which includes electronic copies) this Agreement and any
      amendments shall be borne by the Employer. Within five (5) days after the collective
      bargaining agreement is effective as defined by Article 49, (Duration), the Employer will
      notify employees via e-mail that they may request an electronic copy within 30 days. In
      addition, the Employer will also provide employees with the website link they can use to
      access the contract through both the CFPB and the NTEU websites. NTEU National will be
      provided with an electronic copy of the Agreement and any amendments. The Employer will
      place the Agreement and any amendments on the CFPB intranet website, in both HTML and
      PDF formats. CFPB will also place all Memoranda of Understanding between CFPB and
      NTEU on the CFPB intranet website. All of these Agreements will be linked from the CFPB
      intranet home page (first page), with the link titled CFPB/NTEU Agreements. CFPB will
      conduct an ongoing section 508 review to ensure compliance of all the electronic
      document(s), including PDF and HTML formats. Employees will be permitted to access
      these Agreements online through both the CFPB and NTEU web sites during normal work
      hours and after hours. Employees will be encouraged by the Employer to familiarize
      themselves with the contents of these Agreements.

      B. Upon request, an accessible copy of this Agreement will be furnished to each visually
      impaired employee.




Section 4
The Agreement shall contain a Table of Contents listed in numerical order by Article.




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Section 5
A. At headquarters, the Employer will provide the chapter an office of at least 150 square feet.

B. The Union office will be designed to provide privacy to the Union and shall have a lockable
      door. The Employer will provide, for the office, meeting tables, a single four (4) drawer
      lockable file cabinet, a bookcase, four (4) chairs, a bulletin board, a telephone, a computer
      with full network and Internet access, a printer, and a shredder.

C. Subject to the needs of the Employer, use of a conference rooms at Headquarters and
      Regional Offices may be scheduled by the Union through the normal scheduling system (e.g.,
      MS Outlook).




Section 6
The Union shall have the right to receive U.S. Postal Service mail or private express mail services
addressed to the Union, clearly identified as Union business-related. Such mail will be opened
by the Employer only to the extent required for security purposes; the contents will not be read.
Further, the Employer agrees to issue written instructions to all appropriate employees notifying
them of these requirements.




Section 7
The Employer will provide to the Union one bulletin board of appropriate size per building in
Headquarters and Regional offices. The specific location of such bulletin boards shall be
mutually agreed to by the Employer and the Union. It is agreed that the Union may title the
designated bulletin board space as "NTEU CHAPTER 335." The Union's bulletin boards should
contain material which does not reflect adversely on the integrity of any individuals, other labor
organizations, government agencies, or activities of the Federal government. Material will be
posted directly by the Union. If the Employer reasonably objects to any posted item, the Union
will remove and/or relocate such item in a reasonable amount of time.




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Section 8
A. The Union may distribute material on the Employer's premises to employees provided that
      the employee distributing the material is in a non-duty status, and further provided that the
      distribution does not create a litter or employee traffic problem and that the material being
      distributed complies with the requirements of Section 7 of this Article.

B. When the Union wishes to set up displays or tables to distribute materials or gather
      signatures on petitions in areas of the Employer's premises, it will do so on non-duty time.
      Furthermore, it shall notify the Human Capital staff one (1) workday in advance.

C. The Union shall be permitted to perform desk drops to bargaining unit employees subject to
      the following constraints:

        1. The employee performing the desk drop will do so on his or her own time (e.g., during
            work breaks, lunch periods, before/after work, on annual leave or LWOP). When desk
            drops are performed after work hours, they will be completed in a time and manner
            consistent with the CFPB's security procedures.

        2. Desk drops will not be conducted in areas where no bargaining unit employees are
            located.




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34. Dues Withholding
Section 1
Eligible employees who are members of the Union may pay dues through the authorization of
voluntary allotments from their compensation. To be eligible to make such voluntary allotments,
an employee must:

        1. Be an employee of the bargaining unit covered by this Agreement;

        2. Be a member in good standing in the Union;

        3. Have voluntarily completed Standard Form 1187 (SF-1187) ("Request for Payroll
           Deductions for Labor Organization Dues"); and

        4. Have a regular net salary, after other legal and required deductions, sufficient to cover
           the amount of the authorized allotment for dues.




Section 2
The Union will:

        1. Inform and educate members of the voluntary nature of the system for the allotment
           of labor organization dues;

        2. Purchase SF-1187 forms and make them available to employees;

        3. Assure that each SF-1187 is properly completed and inform the designated official of
           the Employer of any changes;

        4. Inform the designated official of the Employer of any employee who has been expelled
           or ceases to be in good standing with the Union;

        5. Inform the designated official of the Employer of any changes in the dues amounts or
           the formula for membership dues (including tables by both dollar amount and


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           percentage of salary being withdrawn for dues). Such changes may not be made more
           frequently than once every 12 months; and

        6. Provide the designated official of the Employer with the names and complete mailing
           addresses and changes thereto of officials to whom dues withholding information
           should be submitted.




Section 3
The Employer will:

        1. Deduct and process voluntary allotments of dues and changes in dues upon
           certification from the Union national president in accordance with this Article.
           Changes in the dues amounts will be made as soon as possible, but no later than one
           full pay period after notification by the Union;

        2. Withhold authorized dues on a bi-weekly basis at no cost to the Union or the
           employee;

        3. Start dues withholding no later than one full pay period following receipt of a properly
           certified SF-1187;

        4. Reinstate dues withholding for employees temporarily assigned to positions outside
           the bargaining unit as soon as possible, but no later than one full pay period following
           their return to the bargaining unit;

        5. Notify the Union when an employee, who has submitted an SF-1187, is not eligible to
           enroll in the automatic dues withholding program because he/she is not an employee
           in the bargaining unit covered by this Agreement;

        6. Have the Office of Labor Relations, Office of Human Capital, Operations Division,
           provide to the UNION a copy of Standard Form 1188 or other revocation documents
           received within three (3) working days after receipt.

        7. Prepare remittances and reports as follows:




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        a. Transmit to the Union the total amount deducted for all employees and total amount
            remitted to the Union;

        b. Remittance will be made per pay period by Electronic Fund Transfer directly to an
            account designated by the Administrative Controller, National Treasury Employees
            Union, 800 K Street, Suite 1000, N.W., Washington, D.C. 20001. The Employer also
            will provide the following information in an Excel spreadsheet via a secure FTP or
            secure web service hosted by NTEU:

           1. Employees' names in alphabetical order by last name;

           2. Employee ID (unique agency identifier)

           3. SSN

           4. Band level;

           5. Adjusted base pay (including locality or geo pay);

           6. Hourly salary;

           7. Hours worked in pay period;

           8. Pay plan;

           9. Total amount of dues withheld;

           10. Pay period start date;

           11. Pay period end date;

           12. Identification of duty location;

           13. Organization code;

           14. Identification of the labor organization, including the Union chapter number;

           15. BU Code Descriptors:

                            i. D Continuing (Pay Period that Seasonal returns to duty)

                          ii. HSeparation (Other than Retirement)



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                           iii. J Movement Out of Recognition Area

                           iv. L Temporary Promotion/Reassignment to Non-Bargaining Unit
                                Position

                            v. M     Return to BU after Temporary Promotion/Reassignment

                           vi. N Non-Duty Status (Seasonal Continues to be in Non-Duty Status)

                          vii. R Retirement

                          viii. X Deceased

         c. The Employer will provide a bi-weekly dues report to the Chapter President.




Section 4
A. The Employer will terminate an employee’s dues withholding allotment no later than one
      full pay period after the Employer learns that:

        1. An employee ceases to be a member in good standing in the Union;

        2. The Union loses exclusive recognition for the covered unit;

        3. An employee is reassigned or promoted from the unit for which the Union has been
            accorded exclusive recognition; or

        4. An employee is separated from employment with the Employer.

B. Revocation notices for employees who have had dues allotments in effect for more than one
      (1) year must be submitted to the payroll office during pay period fifteen (15) each year.
      Revocations will become effective during pay period eighteen (18). Revocations may only be
      affected by submission of a completed SF-1188 that has been initialed by the Chapter
      President or his or her designee. If the SF-1188 is not initialed, the Employer shall return the
      SF-1188 to the employee and direct the employee to the proper Union official for initialing.
      SF-1188s that are returned by an employee prior to the end of pay period 18 will be effective




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      in pay period 18. To revoke such dues withholding, employees must have had dues withheld
      for at least one (1) year.

C. Revocation notices for employees who have had dues allotments in effect for more than one
      (1) year and whose SF-1187 was submitted after August 10, 2020, will become effective as
      soon as administratively feasible. Revocations may only be affected by submission of a
      completed SF-1188 that has been initialed by the Chapter President or his or her designee. If
      the SF-1188 is not initialed, the Employer shall return the SF-1188 to the employee and
      direct the employee to the proper Union official for initialing.

D. Revocation notices for employees who have not had dues allotments in effect for one (1) year
      must be submitted on or before the one (1) year anniversary date of their dues allotment.
      Revocations may only be affected by submission of a completed SF-1188 that has been
      initialed or signed by the Chapter President or his or her designee. If the SF1188 is not
      initialed or signed, the Employer shall return the SF-1188 to the employee and direct the
      employee to the proper Union official for initialing. The SF-1188 will become effective the
      first full pay period after the employee’s anniversary date.

E. Administrative errors which deny the UNION its full amount of dues will be corrected, and
the next remittance to the UNION will be adjusted to include the amount not previously
forwarded. Administrative errors which result in an overpayment to the UNION will not be
recollected if the erroneous payments were received by the UNION in good faith and without
fraud and misrepresentation in accordance with 5 U.S.C. § 5584 and applicable regulations.




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35. Waiver of Overpayment
Section 1
An Employee may request a waiver of a debt arising out of an erroneous payment of pay or
allowances or an erroneous payment involving travel, transportation, or relocation expenses the
collection of which would be against equity and good conscience and not in the best interests of
the United States. Waiver of the obligation to repay an overpayment, regardless of amount, will
be granted only if that overpayment occurred through administrative error and there is no
indication of fraud, misrepresentation, fault, or lack of good faith on the part of the Employee in
accordance with 5 U.S.C. § 5584 and applicable regulations. The Employer will suspend
collection of the overpayment in question pending final decision of the waiver request to the
maximum extent permitted by law, rule, and regulation.




Section 2
An Employee who is given a specific RIF notice, or who receives a buyout or early-out, will not
be required to repay the cost of any training previously provided by the Employer.




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36. Retirement/Resignations
Section 1
A. An employee may request to withdraw a retirement application or resignation at any time
      prior to its effective date in accordance with the applicable retirement plan and provided the
      withdrawal is communicated in writing to the Employer.

B. The employee’s request to withdraw a resignation prior to its effective date will generally be
      approved. The Employer may decline a request to withdraw a resignation before its effective
      date only when the agency has a valid reason and explains that reason to the employee. A
      valid reason includes, but is not limited to, administrative disruption, commencement of a
      financial retirement benefit, or the hiring or commitment to hire a replacement. Avoidance
      of adverse action proceedings is not a valid reason.




Section 2
A. The Employer will provide access to financial education and individual counseling related to
      retirement planning multiple times per year.

B. The Employer will provide employee pre-retirement and financial planning seminars
      multiple times each year. At least one seminar each year will be a pre-retirement seminar
      tailored to employees planning for retirement. Topics to be covered in the various seminars
      will include, but are not limited to:

          Employer and federal retirement benefits and retirement planning (including Federal
           Reserve System (FRS) retirement plan, FERS/TSP, CSRS, CSRS Offset and Social
           Security);

          Health and life insurance issues (including FEHB, Medicare and FEGLI);

          family/lifestyle adjustments;

          Budgeting, including paying for college/paying off college debt;


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          Income tax issues, including estate and tax planning.

      An eligible employee may attend as many or as few retirement and/or financial planning
      seminars, as presented through the approved CFPB vendor, as they choose.




Section 3
Employees shall be provided duty time to participate in bureau-sponsored retirement and
financial planning seminars. Employees within five years of retirement will also be provided up
to eight hour of duty time to attend an external Federal retirement planning seminar.




Section 4
The Employer agrees to provide employees who are covered by the Federal Reserve Retirement
Plan access to their pension and 401(k) data through the Federal Reserve SmartBenefits
website. The Employer also agrees to provide employees with a link to CFPB Rewards
Highlights, which identifies benefits available to Bureau employees and CFPB Value of Benefits
which help employees identify the average value of their benefits.




Section 5
The Employer will work closely with the Plan administrator to clarify guidance, and to help
ensure Employees are provided accurate retirement estimates and other information about
retirement and thrift plan benefits and criteria. The Employer will promptly communicate to all
impacted employees known issues with these estimates or criteria.




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37. Disciplinary Actions
Section 1
A. Disciplinary actions will be taken only for such cause as will promote the efficiency of the
      federal service.

B. For the purpose of this Article, a disciplinary action is defined as a reprimand or a
      suspension of fourteen (14) calendar days or less.

C. If a disciplinary action is canceled, all documentation relative to that action (or proposed
      action) in the employee's Official Personnel File will be destroyed, with confirmation of
      destruction sent to the employee. Any copies of the action (or proposed action) should also
      be removed from the supervisor’s files; however, the Employer will not destroy any
      documentation required to be preserved under laws, rules, or regulations.




Section 2
In effecting disciplinary actions, the Employer endorses the use of like penalties for like offenses
and progressive discipline. The Employer will consider the existence of any mitigating and/or
aggravating circumstances, the nature of the position occupied by the employee at issue, and any
other factors bearing upon the incident(s) or act(s) underlying the action. The degree of
discipline administered will be proportionate to the offense and will be determined on a case-by-
case basis.




Section 3
A. The Employer may consider alternative approaches to traditional disciplinary actions in
      certain circumstances. However, alternative discipline will be used only when agreed upon
      as appropriate by the Employer and the employee. Alternative discipline provides the




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      opportunity to address employee misconduct in a more positive manner by offering the
      employees options to traditional discipline.

B. The alternative discipline agreement will be maintained by the Employer in a manner that is
      consistent with the retention requirements of the underlying action. The alternative
      discipline agreement will not be placed in the employee’s Official Personnel Folder (OPF).

C. Failure to complete the alternative discipline will result in the imposition of the original
      penalty. Alternative discipline may be relied upon when applying the concept of progressive
      discipline.




Section 4
A. A written reprimand will state the specific reasons for the action and will advise the
      employee of his/her rights to challenge the written reprimand through the negotiated
      grievance procedure. The employee will also be provided with the documentation or other
      evidence upon which the action is based. Written reprimands will be placed in the
      employee’s Official Personnel Folder for no more than two (2) years from the date of
      issuance.

B. When a suspension of fourteen (14) calendar days or less is proposed, the following
      procedures will apply, except in emergency situations:

        1. The employee will be given at least ten (10) workdays advance written notice of the
            proposed effective date of the suspension, which will state specifically why the suspension
            is being proposed, the employee's right to reply and the time limits for same. The
            Employer will provide a copy of any information relied upon to support the action to
            the affected employee. This provision in no way limits the Union's right to additional
            information under 5 USC 7114 or any other applicable law, rule, or regulation.

        2. The final decision in any sustained suspension of fourteen (14) days or less will
            normally be made by a deciding official who is at a higher management level than the
            official who issued the notice of proposed suspension. An employee has the right to
            make an oral and/or written reply within 10 workdays of the date the letter of
            proposed action is received by the employee. Prior to the expiration of the ten (10)



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           workdays, the employee shall have a reasonable amount of duty time, normally up to
           four hours, but more time may be reasonable based on the complexity of the case, to
           prepare the oral and/or written reply.

        3. If the employee elects to make an oral reply, the oral reply will be made to the deciding
           official by videoconference if the employee and the deciding official are not co-located,
           unless agreed otherwise. The employee may submit a written outline of the points
           covered upon conclusion of the oral reply. The Employer will prepare a summary of the
           oral reply for the record. The Employer will provide a copy of this summary to the
           employee or his or her Union representative who may submit any clarifications or
           corrections within five (5) workdays of receipt of the summary. If the parties agree that
           an in-person oral reply meeting is necessary, the Employer will pay all travel and per
           diem expenses of the employee.

        4. The final decision letter will be issued prior to the effective date of the suspension and
           shall contain the reasons for the decision and the dates of the suspension. The final
           decision will address relevant factual disputes raised by the employee in the summary
           or written reply and will contain a statement of the employee's right to file a grievance
           under the negotiated grievance procedure contained in this Agreement. A grievance
           concerning a suspension of fourteen (14) days or less may be filed at Step 2 of the
           negotiated grievance procedure.




Section 5
A letter of reprimand will be removed from an employee’s OPF no later than two (2) years from the
date of issuance. At that time, all documentation relative to the reprimand in the employee's
Official Personnel File will be destroyed, with confirmation of destruction sent to the employee.
Any copies of the letter of reprimand should also be removed from the supervisor’s files,
however, the Employer will not destroy any documentation required to be preserved under laws,
rules, or regulations. A reprimand may be relied upon for the purpose of progressive discipline
during the two-year retention period but may not be relied upon thereafter.




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38. Adverse Actions
Section 1
A. An adverse action, for the purpose of this Article, is defined as a removal, a suspension for
      more than 14 calendar days, a reduction in pay band, a reduction in pay, or a furlough of 30
      calendar days or less of an employee. A removal or reduction in pay band based on
      unacceptable performance may be taken under this Article rather than under the
      Unacceptable Performance Article.

B. The Employer must demonstrate by a preponderance of evidence that an adverse action will
      be taken only for such cause as will promote the efficiency of the federal service.

C. The provisions of this Article do not apply to probationary or trial employees, except as
      otherwise provided by law.

D. If an adverse action is withdrawn, canceled, or overturned based on the merits, all
      documentation relative to that action (or proposed action) in the employee's Official
      Personnel File will be destroyed, with confirmation of destruction sent to the employee. Any
      copies of the action (or proposed action) should also be removed from the supervisor’s files;
      however, the Employer will not destroy any documentation required to be preserved under
      laws, rules, or regulations.




Section 2
The parties agree to the concept of progressive discipline designed primarily to correct and
improve employee behavior rather than to punish. However, the Employer will evaluate each
situation warranting adverse action individually and, in instances involving serious offenses,
progressive discipline may not be appropriate. Prior to deciding what action is a proper response
to the incident or act, the Employer will consider any mitigating or aggravating factors,
including, but not limited to, the following factors:




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A. The nature and seriousness of the offense, and its relation to the employee’s duties, position,
      and responsibilities, including whether the offense was intentional or technical or
      inadvertent, was committed maliciously or for gain, or was frequently repeated;

B. The employee’s job level and type of employment, including supervisory or fiduciary role,
      contacts with the public, and prominence of the position;

C. The employee’s past disciplinary record;

D. The employee’s past work record, including length of service, performance on the job, ability
      to get along with fellow workers, and dependability;

E. The effect of the offense upon the employee’s ability to perform at a satisfactory level and its
      effect on the Employer’s confidence in the employee’s ability to perform assigned duties;

F. Consistency of the penalty with those imposed upon other employees for the same or similar
      offenses;

G. Consistency of the penalty with any applicable Employer table of penalties;

H. The notoriety of the offense or its impact on the reputation of the Employer;

I. The clarity with which the employee was on notice of any rules that were violated in
      committing the offense, or had been warned about the conduct in question;

J. Potential for the employee’s rehabilitation;

K. Mitigating circumstances surrounding the offense, such as unusual job tensions, personality
      problems, mental impairment, harassment, or bad faith, malice, or provocation on the part
      of others involved in the matter; and

L. The adequacy and effectiveness of alternative sanctions to deter such conduct in the future
      by the employee or others.




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Section 3
The Employer will follow these procedures when proposing and deciding to take an adverse
action against an employee under this Article:

A. In all cases of proposed adverse action, except for emergency suspensions and actions taken
      in which there is reasonable cause to believe the employee has committed a crime for which
      a sentence of imprisonment may be imposed, the employee will be given written notice
      stating the specific reasons for the proposed action at least 30 calendar days in advance of
      the action and informed of his/her right to reply to the proposed action.

B. Along with the notice of proposed adverse action, the Employer will provide a copy of any
      information relied upon to support the action to the affected employee. Where the Employer
      has relied on witnesses to support the reasons for an adverse action to the extent any written
      statements were taken, they shall be made a part of the file which is provided to the
      employee and his/her representative when designated. This provision in no way limits the
      Union’s right to additional information under 5 USC 7114 or any other applicable law, rule,
      or regulation.

C. An employee has the right to make an oral and/or written reply within ten (10) workdays
      from the date the letter of proposed action is received by the employee. The employee will be
      given a reasonable amount of duty time, normally up to eight (8) hours, but more time may
      be reasonable based on the complexity of the case, to prepare the oral and/or written reply.
      If the employee elects to make an oral reply, it will be made to the deciding official. The
      employee may submit a written outline of the points covered upon conclusion of the oral
      reply. The Employer will prepare a summary of the oral reply for the record. The Employer
      will provide a copy of this summary to the employee or his or her Union representative who
      may submit any clarifications or corrections within five (5) workdays of receipt of the
      summary.

D. If the employee and deciding official are not co-located, oral replies to proposed adverse
      actions (other than proposed removals) will be conducted by videoconference or telephone.
      Oral reply meetings on proposed removals will be held in-person if requested by the
      employee. If travel is permitted under this section, the Employer will pay travel and per
      diem expenses of the Employee per the Travel Article.




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E. The final decision in any sustained adverse action will normally be made by a higher-level
      management official than the official who issued the notice of proposed action. The final
      decision letter shall contain the Employer’s reasons for the decision. The final decision will
      also address any relevant factual disputes raised by the employee in the summary or written
      reply and will contain a statement of the employee's right to appeal an adverse decision to
      the Merit Systems Protection Board or if the Union decides to invoke arbitration, notice to
      seek arbitration must be served upon the Employer in accordance with the Grievance
      Procedure and Arbitration Articles.




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39. Unacceptable Performance
Section 1
A. For purposes of this Article, an action based on unacceptable performance under 5 USC Ch.
      43 is a reduction in pay band or removal of an employee whose performance fails to meet
      established performance standards in one or more critical elements.

B. The Employer must demonstrate that an action taken under this Article for unacceptable
      performance is supported by substantial evidence.

C. The provisions of this Article only apply to employees who have grievance rights under 5
      CFR 432.106(b) and do not apply to the removal of probationary or trial employees (except
      those who are preference eligible) or to performance-based removals under 5 USC Ch. 75.

D. To the extent allowed by law, all documentation related to an action based on unacceptable
      performance that is withdrawn, cancelled, or overturned based on the merits will be
      removed in an employee’s official personnel file, with confirmation of such action sent to the
      employee.




Section 2
Before taking an action based on unacceptable performance, the Employer will comply with the
requirements of the Performance Management Article, regarding notice of a decline in
performance and provide an opportunity to improve during a Performance Improvement
Period.




Section 3
The Employer will follow these procedures when proposing and deciding to take an action under
this Article:



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A. The employee will be provided 30 calendar days advance written notice of the proposed
      effective date of the action. The notice will identify both the specific instances of
      unacceptable performance and the related elements and standards.

B. The employee will be provided with a copy of any information relied upon to support the
      proposal. This provision in no way limits the Union’s right to additional information under 5
      USC 7114 or any other applicable law, rule, or regulation.

C. The employee will be advised in writing of his/her right to representation.

D. The employee will be provided a reasonable amount of duty time, normally up to eight (8)
      hours, but more time may be reasonable based on the complexity of the case, to prepare
      his/her response to the proposed action.

E. The employee will be provided the opportunity to reply to the notice orally and/or in writing
      within ten (10) workdays from the date the employee receives notice of the proposed action
      unless the employee has previously approved leave, then the 10 workdays begin on the day
      the employee returns to work. The Employer may consider a written request to extend the
      reply period. If the employee elects to make an oral reply, it will be made to the deciding
      official. The employee may submit a written outline of the points covered upon conclusion of
      the oral reply. The Employer will prepare a summary of the oral reply for the record. The
      Employer will provide a copy of this summary to the employee or his or her Union
      representative who may submit any clarifications or corrections within five (5) workdays of
      receipt of the summary.

F. If the employee and deciding official are not co-located, oral replies to proposed
      performance-based actions (other than proposed removals) will be conducted by
      videoconference or telephone. Oral reply meetings on proposed removals will be held in-
      person if requested by the employee. If travel is permitted under this section, the Employer
      will pay travel and per diem expenses of the Employee per the Travel Article.

G. The employee will be given a final decision concerning the proposed action, usually within
      30 calendar days after expiration of the advance notice period. Normally, the final decision
      will be issued by an official who is at a higher management level than the official who
      proposed the action. The final decision will be issued prior to the effective date of the action
      and will specify instances of unacceptable performance by the employee on which the action
      is based. The final decision will also address any relevant factual disputes raised by the


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      employee in the summary or written reply and will contain a statement advising the
      employee of his/her rights to challenge the unacceptable performance action.




Section 4
If the Employer’s final decision is to remove an employee or to reduce his or her pay band based
on unacceptable performance, the employee may appeal the decision to the Merit Systems
Protection Board or, if the Union decides to invoke arbitration, notice to seek arbitration must
be served upon the Employer in accordance with the Grievance Procedures and Arbitration
Article.




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40. Probationary/Trial Period
Employees
Section 1
In accordance with law, employees in the competitive service will serve a probationary period of
one (1) year. Employees in the excepted service will serve a trial period of two (2) years, unless
the employee is a preference eligible veteran pursuant to 5 U.S.C. Section 2108, in which case
the trial period will be one (1) year. During the probationary or trial period, the employee's
conduct and performance in fulfilling the duties of his/her position will be observed, and the
employee may be separated from the Service in accordance with this Agreement, law and
applicable regulations.

Before an employee accepts a new position in the Bureau, he/she will be clearly informed as to
whether or not he/she will be required to complete a new probationary or trial period.




Section 2
A. During the probationary or trial period of the employee, the EMPLOYER will strive to:

        1. closely observe the employee's conduct and performance;

        2. provide guidance in regard to work related problems. When it appears that the
           employee's performance or conduct may be lacking, the EMPLOYER will:

        a. explain what is required of the employee in the position;

        b. identify areas where the employee needs improvement; and,

        c. suggest ways or means for the employee to improve his or her performance or
            conduct; and




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        3. evaluate the employee's potential and determine whether the employee is suited for
            continued employment with the EMPLOYER.

B. It is the goal of the EMPLOYER to keep employees apprised of the status of their
      employment. The EMPLOYER will counsel the employee in those areas of concern to the
      EMPLOYER or those areas in which the employee has indicated he/she would like further
      guidance or knowledge. A probationary or trial employee will normally be advised of his or
      her progress toward successful completion of the probationary or trial period no later than
      90 days prior to the end of that period.




Section 3
If a probationary or trial period employee is separated under the provisions of this Article, the
employee's separation must be effected before the employee has completed his or her
probationary/trial period.




Section 4
When separation during a probationary or trial period is based, in whole or part, on conduct
before employment, the following procedures will apply:

A. the employee will be notified in writing ten (10) workdays in advance of the proposed
      separation except when less than ten (10) days remain in the probationary or trial period or
      in emergency situations;

B. the notice will contain a detailed statement of the reasons for the proposed separation;

C. upon request, the employee shall have the right to orally reply to the notice of the proposed
      separation. The employee may also submit a written response and submit affidavits in
      support of his or her reply. The employee may be represented by the UNION in the
      formulation of the written reply or presentation of this oral reply. The employee, upon
      request, shall be provided copies or access to any documents on file which evidence the
      employee's misconduct;




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D. the EMPLOYER will give due consideration to the employee's reply; and

E. the EMPLOYER will provide the employee with a written notice of its final decision.




Section 5
All notices to separate a probationary or trial period employee will contain a statement
concerning the employee's right to appeal, in accordance with law and regulation, to the MSPB
or the Equal Employment Opportunity Commission, as appropriate.




Section 6
All provisions of this Agreement apply to probationary and trial employees, except where such
application would be inconsistent with law, rule, or regulation. It is recognized that removal of a
probationary or trial period employee is not subject to the grievance and arbitration provisions
of this Agreement in accordance with Federal law.




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41. Reduction in Force
Section 1
A. The Employer will use to the maximum extent practicable a variety of tools to mitigate the
      need to conduct a reduction in force (RIF). These include:

          Noncompetitive reassignment into other Employer vacancies for which an employee is
           qualified, absent just cause;

          Career transition assistance services;

          Retirement counseling;

          Up to twenty four (24) hours of duty time to search for positions outside the Bureau;

          Requesting voluntary early out and separation incentive payment authority from the
           Office of Personnel Management and Federal Reserve Board, as applicable, when more
           than 12 employees are affected.

B. The Employer will consider to the maximum extent practicable the use of strategies, such as
      job swapping between an employee who wants to leave and one whose position can be filled
      with a qualified employee who will otherwise be subject to a RIF.

C. The Employer will use RIF only as a last resort, when efforts to avoid it using one or more of
      the above tools are not successful.

D. Where practicable the Employer will issue Career Transition Assistance Plan letters far
      enough in advance of a RIF so that the affected employees have this benefit for six months
      prior to the effective date of the RIF.




Section 2
This Article applies to any RIF conducted by the Employer during the term of this Agreement.
Any RIF will be carried out in accordance with applicable laws, rules, and regulations. When the


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Employer reaches a final decision involving a RIF, it will provide National NTEU with a written
notice at the earliest practicable date but not later than 90 calendar days prior to the planned
effective date, unless the circumstances leave the employer no choice but to give less notice. The
notification will include the reason for the RIF, approximate number and types of positions
affected, geographic location, and anticipated date of the planned action. In recognition that
some of the information provided to National NTEU is considered private and personal to
employees, National NTEU will maintain the confidentiality of that information.




Section 3
If requested, the Employer will brief the Union concerning the RIF at a mutually agreeable time
as soon as practicable, but no later than two weeks after notification.




Section 4
The Employer will make a reasonable effort to keep employees in a competitive area anticipating
a RIF generally informed of recent developments and decisions. After notification of the Union,
the Employer may hold general meetings with unit employees.




Section 5
The Employer shall provide the Union with advance courtesy notice and the opportunity for
feedback prior to the establishment of competitive areas.




Section 6
The Employer shall establish competitive levels consisting of positions in a competitive area in
the same pay band and classification series that are similar enough in duties, qualification
requirements, and working conditions so that the incumbent of one position may be reassigned to
any of the other positions in the level without undue interruption. The Union will be notified of



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the competitive levels once they have been finalized by the Employer. Competitive level
determinations shall be made in accordance with controlling regulations.




Section 7
When a competing employee is to be released from a competitive level, the Employer shall
establish a separate retention register for that competitive level. Competing employees are
listed by tenure group, veterans preference sub-group, and length of service (with credit for
performance included in computing total length of service). The Union will be provided a copy
of any retention registers at the time they are finalized.




Section 8
A. Additional service credit for performance is based on the last three most recent ratings of
      record which were received by the employee during the four-year period prior to the date of
      issuance of specific RIF notices.

B. To be creditable for RIF purposes, ratings must have been issued to the employee, including
      all appropriate signatures and reviews, and must be on record. In the RIF context, this
      means that the rating has been entered into the automated personnel system and is available
      for use by Human Resources. Performance appraisals will not be given solely to improve an
      employee’s retention standing for RIF purposes.

C. Credit under the Employer’s performance appraisal system will be given based on the
      employee’s summary ratings as follows: Level 3 equals 20 years, Level 1 equals 0 years.
      Employees with performance ratings received under another Agency’s performance
      appraisal system will receive 20 years for Level 3 (fully successful or equivalent) and above.
      Employees who have not received three ratings of record within the past four years will
      receive service credit in accordance with 5 CFR 351.504(c)(1) through (c)(2).




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Section 9
Assignment rights (i.e., bump and retreat rights), if any, will be determined in accordance with
controlling regulations and Employer policy. Employees in the excepted service will be provided
assignment rights outside their competitive levels.




Section 10
A. An employee involuntarily placed in a lower pay band as the result of a RIF will receive
      saved pay and saved band protection for a period of two years, during which the employee
      retains his or her higher salary and pay band and is entitled to all benefits of that band
      (including potential for merit increases). At the end of the two-year period, the employee will
      be moved to the lower pay band.

B. If the employee’s current salary is at or below the lower pay band maximum at the time of
      the change to a lower band, the employee will retain his/her current salary.

        1. If the employee’s current salary is above the lower pay band maximum at the time of
            the change to a lower band, it will be reduced to the lower pay band maximum.




Section 11
Before separating any employee by RIF, the Employer will ensure the employee is advised of the
provisions of the Employer’s Career Transition Assistance Plan.




Section 12
The Employer shall issue specific RIF notices to employees affected by a reduction in force at
least 60 calendar days before the effective date of the RIF.




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Section 13
A specific RIF notice shall contain the following information:

        1. The specific RIF action being taken (e.g., separation, demotion, or furlough for more
           than 30 calendar days), the reason for the RIF, and the effective date of the action;

        2. The employee’s competitive area, competitive level, retention subgroup, service date,
           and the three most recent performance ratings of record received during the last four
           years of federal service;

        3. The place where the employee may inspect the regulations and records pertinent to
           his/her case;

        4. If applicable, the reasons for retaining a lower standing employee in the same
           competitive level;

        5. The employee’s right to appeal the RIF action to the Merit Systems Protection Board
           (MSPB) under the provisions of the Board’s regulations (including a copy or access to
           a copy of the MSPB procedures);

        6. Information for applying for unemployment insurance through the employee’s state
           program;

        7. As applicable, the employee’s right to reemployment consideration and career
           transition assistance information under the Employer’s Career Transition Assistance
           Plan;

        8. All other information required by RIF regulations.




Section 14
Upon request, an employee who has received a specific RIF notice, and/or the employee’s
representative, if the representative is acting on behalf of the individual employee, may review
retention registers and any other records used by the Employer to the extent that the registers
and records have a bearing on a specific action taken, or to be taken, against the employee.



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Section 15
The Employer will maintain all lists, records, and information pertaining to the RIF for at least
one year in accordance with applicable laws, rules, and regulations.




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42. Contracting Out
Section 1
The Employer will notify the Union regarding any anticipated review of a function currently
being performed by bargaining unit employees, undertaken for the possibility of contracting out
that function. The Union shall be advised prior to any decision by the Employer to contract out
work. If the Employer makes a final decision to contract out, the Union shall have the
opportunity to engage in impact and implementation bargaining concerning any adverse
personnel actions for employees resulting from the contracting out of work. The Employer will
make reasonable efforts to minimize any adverse impact on employees if a function is contracted
out. The Employer will comply with all applicable laws, rules, and regulations.




Section 2
Prior to submission of the list of "Commercial Activities Inventory" under the Federal Activities
Inventory Reform Act, the Employer will give the Union the opportunity to provide input with
regard to bargaining unit positions included on the list.




Section 3
Nothing in this Article shall prevent the Union from exercising its right to bargain over any and
all negotiable issues related to any contracting out decision, to the maximum extent allowable by
law.




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43. Grievance Procedure
Section 1
A. A grievance means any complaint –

        1. By any employee concerning any matter relating to the employment of that employee;

        2. By the UNION concerning any matter relating to the employment of any employees in
             the bargaining unit;

        3. By any employee, the UNION, or the EMPLOYER concerning:

        a. the effect or interpretation, or claim of breach, of this Agreement; or

        b. any claimed violation, misinterpretation, or misapplication of any law, rule or
             regulation affecting conditions of employment.

        4. Except that the following matters are not grievable and therefore this Article shall not
             apply with respect to:

        a. Any claimed violation relating to prohibited political activities;

        b. Retirement, life insurance or health insurance;

        c. A suspension or removal in the interest of National security;

        d. Any examination, certification, or appointment;

        e. The classification of any position which does not result in the reduction in grade or
             pay of any employee;

        f.   An appeal by an employee of a RIF action;

        g. An action terminating a temporary promotion and returning the employee to the
             position from which (s)he was temporarily promoted, unless termination would




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             constitute a prohibited personnel practice or other violation of law or government-
             wide regulation;

        h. Any matter in which the affected employee has elected to appeal through a statutory
             or regulatory processes, e.g., the EEOC (by filing a formal complaint), MSPB (by
             filing an appeal to the MSPB), FLRA (by filing an FLRA charge) or OSC (by filing a
             complaint with OSC);

        i.   Non-adoption of a suggestion;

        j.   Filling of supervisory positions or other positions outside the bargaining unit;

        k. Termination, removal, or separation, as the case may be, of an employee during a
             probationary or trial period; and return of an employee during a probationary or trial
             employee period in a managerial or supervisory position to a non-managerial or
             nonsupervisory position;

        l.   A separation or termination of a non-preference eligible from the excepted service
             before the employee has two years of current continuous service and acquired a right
             to appeal to the MSPB;

        m. The expiration of a temporary or term appointment, or expiration of term-to-perm
             appointments to the extent consistent with law, rule, regulation or negotiated
             agreement;

        n. Any claim that must be brought under "The Federal Employees' Compensation Act
             and Office of Workers' Compensation Programs;"

        o. The contents of Agency ethics rules to the extent these are consistent with law, rule,
             regulation or negotiated agreement;

        p. Non-selection from a group of properly rated and ranked candidates to the extent
             consistent with law, rule, regulation or negotiated agreement;

        q. A warning, counseling, or notice of proposed action. Proposed actions that are
             implemented in a subsequent notice of decision would be grievable under this Article
             or subject to statutory appeal, as appropriate;




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         r. The content of job elements and performance standards, to the extent consistent with
             law, rule, regulation or negotiated agreement;

         s. Contracting out of work currently performed by bargaining unit employees, to the
             extent consistent with law, rule, regulation or negotiated agreement.

B. Grievances may be initiated by employees, singly or jointly, by the UNION for itself, by the
      UNION on behalf of one or more employees, or by the EMPLOYER.

C. This grievance procedure shall be the exclusive administrative procedure available to the
      Parties and the employees for resolving a grievance, except as to the following:

        1. MSPB

         A grievance involving an adverse or unacceptable performance action is defined as
         removal, suspension for more than fourteen (14) calendar days, reduction in grade,
         reduction in pay, or furlough of thirty (30) calendar days or less. Such a grievance may
         be raised either under the appropriate appellate procedure or under this negotiated
         grievance procedure, but not both. An employee shall be deemed to have exercised his or
         her option at such time as he or she timely files a notice of appeal under the applicable
         appellate procedure or timely files a grievance in writing in accordance with the
         provisions of this Article, whichever event occurs first.

         An employee who receives a notice of final action regarding an adverse or unacceptable
         performance action has thirty (30) calendar days beginning with the day after the
         effective date of the action to appeal the action to the Merit Systems Protection Board. If
         the employee decides to seek recourse through this negotiated grievance procedure and
         the UNION decides to invoke arbitration, notice of a decision to seek arbitration must be
         served upon the EMPLOYER within twenty (20) workdays beginning with the day after
         the effective date of the action; however, if the Union elects to refer the matter to Step 4
         of the grievance procedure under Section 4D, below, the invocation of arbitration must
         be served on the EMPLOYER within twenty (20) workdays of the Step Four decision.

        2. EEO

         An employee may file a grievance under this Article or a formal EEO complaint with the
         Bureau's EEO Office regarding a particular matter, but not both. An employee is deemed



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         to have exercised his/her option to raise a matter through the EEO process or through
         the grievance process at such time as the employee files a formal complaint of
         discrimination with the Bureau's EEO Office or files a grievance in writing in accordance
         with the provisions of this Article, whichever event occurs first.

        3. OSC

         An employee who believes (s)he has been discriminated against on the basis of marital
         status, political affiliation, sexual orientation, parental status or protected genetic
         information may file a grievance under this Article, or if appropriate a Complaint of
         Possible Prohibited Personnel Practice with the Office of Special Counsel, but not both.

        4. FLRA:

         If an alleged grievance also constitutes an alleged unfair labor practice, the aggrieved
         Party has the option to seek redress under this Article or under the FLRA's unfair labor
         practice procedure, but not both. The aggrieved Party is deemed to have exercised its
         option to raise a matter as an unfair labor practice or as a grievance at such time as the
         aggrieved Party timely files an unfair labor practice charge with the FLRA or timely files
         a grievance in writing in accordance with the provisions of this Article, whichever event
         occurs first.




Section 2
A. It is understood that an employee processing a grievance under this Article shall be limited
      to UNION representation, self-representation, or a representative approved by the UNION.
      If an employee presents a grievance without UNION representation, the UNION will be
      given the opportunity to be present at all formal discussions of the grievance and at all
      grievance meetings. The UNION will be given reasonable advance notice of such meetings.

B. An employee will be given a reasonable amount of official time to prepare and present a
      grievance or appeal, including attendance at meetings with the EMPLOYER.




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Section 3
Employees, designated representatives, and employee witnesses will be assured freedom from
restraint, interference, coercion, discrimination, intimidation, or reprisal arising out of their
initiation or participation in the resolution of a grievance.




Section 4
A grievance as defined in Subsection 1.A. of this Article shall be processed as follows:

A. Step one

        1. The employee must file a written Step One grievance to Labor Relations within twenty
           (20) working days from the date of the action giving rise to the grievance or twenty
           (20) working days after the employee becomes aware of the action or reasonably
           should have become aware of the action, whichever is earlier.

        2. The immediate supervisor or the lowest management level capable of granting the
           relief sought will normally be the Step One official responsible for responding to the
           grievance. If, because of the nature of the grievance, any party believes the immediate
           supervisor is not the appropriate Step One official (e.g., the immediate supervisor was
           not responsible for the matter being grieved, and/or does not have the authority to
           grant the remedy requested), that party may contact Labor Relations to discuss
           whether the immediate supervisor should hear the grievance. This decision by Labor
           Relations will not be grievable or appealable by the Union.

        3. If the Employer determines that it is necessary to re-direct the grievance to a different
           management official with authority to address the issues raised in the grievance and
           the relief sought, an appropriate extension of the time limit for responding will be
           made.

        4. Grievances involving a group or groups of 5 or more employees within a work unit
           (such as an office or division) with different first line supervisors may be filed directly
           at Step Two of this grievance procedure with the appropriate management official.
           Grievances involving a group or groups of employees in more than one (1) work office



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           or division with different second line supervisors may be filed directly at Step Three of
           this grievance procedure with the appropriate management official.

        5. "Institutional Grievances" by the Union, concerning the effect or interpretation or a
           claim of breach of the provisions of law or this agreement relating to the rights and
           benefits that accrue to the Union as the exclusive representative of bargaining unit
           employees, will be filed in accordance with the procedures set forth in Section 6,
           below.

        6. Every grievance filed pursuant to this Article must be in writing and identify the
           grieving employee(s), or a statement that the grievance is filed on behalf of the
           UNION. In addition, the grievant must present an account of the incident giving rise
           to the grievance, reference the appropriate contractual provision, law, rule, regulation,
           or policy alleged to have been violated, and a statement of the remedy sought. The
           EMPLOYER agrees it will not dispose of the grievance solely because of an incorrect
           citation.

        7. If a meeting is requested, the Step One official shall meet with the grievant and
           UNION representative, whenever possible, within ten (10) working days after the
           receipt of the grievance. If the Step One official is not located at the grievant's work
           site, the meeting may be conducted via video conference or by telephone.

        8. The Step One official will issue a written decision to the grievant, with a copy to the
           UNION representative, within twenty (20) working days after the date of the meeting
           or, if no meeting was held, within twenty (20) working days of the date the grievance
           was filed.

B. Step two

        1. If the grievant is not satisfied with the Step One decision, the grievant may appeal the
           grievance in writing to Labor Relations within twenty (20) working days after receipt
           of the Step One decision. The written appeal shall include a copy of the original
           grievance filed and a copy of the Step One official's decision.

        2. If a meeting is requested, the Step Two official or designee shall meet with the
           grievant and UNION representative (no more than one) whenever possible, within ten
           (10) working days after receipt of the appeal. If the Step Two official is not located at



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           the grievant's work site, the meeting may be conducted by telephone or video
           conference.

        3. The Step Two official shall issue a written decision to the grievant with a copy to a
           designated UNION representative within twenty (20) working days after the meeting
           or, if no meeting is held, within (20) working days after receipt of the appeal.

        4. Absent mutual agreement to amend a grievance or consolidate separate grievances, no
           new issues may be raised by the grievant or the Union after the first step except in
           response to issues raised in an Employer response. Similarly, the Employer cannot
           raise new grounds that are beyond the scope of its initial action or first step decision.

C. Step three

        1. If the grievant is not satisfied with the Step Two decision, the grievant may appeal the
           grievance in writing to Labor Relations within twenty (20) working days after receipt
           of the Step Two decision. The step three management official must be at a higher
           supervisory level than the step two management official.

        2. The written appeal shall include a copy of the original grievance and Step Two appeal
           filed, and a copy of the Step One and Step Two officials' decisions (if provided).

        3. If a meeting is requested, the Step Three official or designee shall meet with the
           grievant and no more than two (2) UNION representatives whenever possible within
           ten (10) workdays after receipt of the written appeal. If the Step Three official is not
           located at the grievant's worksite, the meeting may be conducted by telephone or
           video conference.

        4. The Step Three official shall issue a written decision to the grievant with a copy to the
           designated UNION representative within twenty (20) working days after the meeting
           or, if no meeting is held, within twenty (20) working days after the receipt of the
           appeal.

D. Step four (optional)

        1. If the UNION is not satisfied with the Step Three decision it may at its option, appeal
           the grievance in writing to the Director's Chief of Staff, with a copy to the Labor
           Relations Office within twenty (20) working days after receipt of the written decision


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            of the Division Director/designee at Step Three. This option will be limited to a
            maximum of seven (7) grievances per year.

        2. This Step of the grievance procedure is not available to those who are self--
            represented.

        3. The written appeal should include a copy of the original grievance, the Step Two and
            Three appeals filed and a copy of the Step One, Two and Three officials' decisions.

        4. The Director's Chief of Staff or designee shall issue a written decision to the grievant
            with a copy to the designated UNION representative within twenty (20) working days
            of the receipt of the appeal.

E. If the grievant is not satisfied with the Step Three (or Step Four decision, where applicable),
      the matter may be referred to arbitration by the UNION in accordance with the Arbitration
      provisions. The referral to arbitration must be made within twenty (20) workdays after
      receipt of the written decision of the final step decision.

F. All decisions at each Step of the grievance procedure shall be delivered to the grieving
      employee, and his or her designated representative.




Section 5
A. A grievance involving travel exemptions and/or waivers that can only be approved by the
      CFO's office must be raised under this section of the negotiated grievance procedure. The
      grievant must file such grievance within twenty (20) workdays from the date of the action
      giving rise to the grievance or twenty (20) working days after the grievant becomes aware of
      the action or reasonably should have become aware of the action, whichever is earlier. The
      grievance must be in writing and present the name(s) of the grieving employee(s). In
      addition, the grievant must present an account of the incident giving rise to the grievance,
      reference the appropriate contractual provision, law, rule, regulation, or policy alleged to
      have been violated, and a statement of the remedy sought.

B. The grievance must be filed with the Lead, Labor Relations who will forward it to the Office
      of Finance and Procurement (OFP). There will then be a two-step grievance process as
      follows:


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      Step one:

        1. The OFP will assign the matter to an OFP employee who has the authority to hear the
            grievance and provide a remedy.

        2. That OFPemployee will render a step-one decision within twenty (20) workdays of the
            grievance being filed.

      Step two:

        1. If the grievant is not satisfied with the Step One decision, the grievant may present a
            written Step Two grievance to Labor Relations and a copy to the Chief Financial
            Officer within twenty (20) working days of the issuance of the Step One decision. A
            grievant may not raise new issues after Step One. The Step Two grievance shall
            include a copy of the original grievance filed and a copy of the Step One decision.

        2. The Step Two official will be the CFO or his/her designee.

        3. The CFO or designee will issue a final decision to the grievant with a copy to the
            designated Union representative within twenty (20) workdays after receipt of the
            grievance.

C. There will be no step three grievance under this section. If the grievant is not satisfied with
      the Step Two decision, the matter may be appealed to Step Four or to arbitration. The appeal
      to Step Four or to arbitration must be made within twenty (20) workdays after receipt of the
      written decision of the CFO or designee.




Section 6: Institutional Grievances
In lieu of the step-by-step procedure set out in Section 4 of this Article, the UNION may submit
a written grievance to the General Counsel, Legal Division, or designee with a copy to the Lead,
Labor Relations, Office of Human Capital when it alleges that the EMPLOYER has violated
terms and conditions specifically granted to the UNION by statute or under this Agreement.
These "Institutional Grievances" by the Union will be submitted in writing within twenty (20)
workdays after the occurrence of the act which gave rise to the grievance or twenty (20)
workdays after the UNION became aware of the action. Upon receipt of the grievance, the



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UNION and EMPLOYER representative (no more than two representatives for each Party unless
mutually agreed otherwise) shall meet within ten (10) workdays to discuss the grievance. A
written decision will be issued to the UNION within twenty (20) workdays after the meeting. If
the UNION is not satisfied with the decision, it may appeal the decision to arbitration in
accordance with the Arbitration provisions of this Agreement.




Section 7
When two (2) or more employees file individual grievances involving the same facts, events and
the same issues arising out of the same incident, at the Union's option the grievances may be
consolidated and processed through the grievance and arbitration procedure together. Upon
mutual agreement, the parties may elect to consolidate other grievances involving two (2) or
more employees.




Section 8
A. All time limits referred to in this Article may be extended by written mutual consent of the
      Parties prior to the expiration of such time limits. Per written request of the Union, time
      limits will be tolled when the Bureau has not responded to an information request. Time
      limits will no longer be tolled when the Bureau states, in writing, that it has provided all
      information that the Bureau believes it is required to release under 7114b.

B. Failure of the Employer to observe the time limits where no extension has been agreed to
      shall entitle the grievant to advance the grievance to the next Step.

C. Failure of the grievant or Union to observe the time limits contained in this procedure,
      where no extension has been granted, will result in termination of the grievance with no
      option to refile on the same matter. In cases where the Employer’s response is late, the time
      limits for the grievant’s response shall begin on the date the Employer’s response is received
      by the Union.




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Section 9
A. All grievance step meetings will provide the employee and the Union with an opportunity to
      present his, her or its case or position in discussions of the grievance with the management
      representatives.

B. Upon advance written request by the Union, the Employer will provide reasonable official
      time for employee/Union witnesses with relevant information to meet with the Union
      pursuant to the grievance process. Under no circumstances will a witness requested by the
      Union or grievant be compelled to appear or answer questions involuntarily.




Section 10
A. If the EMPLOYER alleges that a grievance is not grievable and/or is not arbitrable the
      EMPLOYER shall notify the UNION in writing, stating all the reasons for such
      determination.

B. When the EMPLOYER alleges an issue to be non-grievable or non-arbitrable, the UNION
      will have twenty (20) working days to amend and re-file the grievance if it wishes. It will be
      resubmitted at the level at which the issue was raised and proceed as a normal grievance.

C. Questions that cannot be resolved by the Parties as to whether a grievance is on a matter
      subject to the negotiated grievance procedure or arbitration shall be resolved by submitting
      the issue to the arbitrator assigned the full case.

D. If a question of grievability is raised, the grievance shall proceed through the grievance
      procedure with the question of grievability joined to the grievance.




Section 11
When EMPLOYER grievances arise, they will be submitted in writing to the NTEU National
President. Such a grievance must be submitted in writing to the National President twenty (20)
workdays after the occurrence of the act which gave rise to the grievance or twenty (20)
workdays after the EMPLOYER became aware of the action. The management official who filed


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the grievance, or designee, will meet within ten (10) workdays with the UNION to ensure that all
pertinent facts are made available. The UNION will provide a written decision to the
management official or designee within ten (10) workdays after the date of the meeting. If the
grievance is not settled by this method, the matter may be referred to arbitration by the
EMPLOYER. A letter invoking the grievance for arbitration must be served on the UNION's
National President within twenty (20) workdays of the written decision.




Section 12
In connection with potential or actual grievances, the Employer will respond to the Union's
requests for information submitted pursuant to 5 U.S.C. Section 7114(b)(4) within a reasonable
period of time. Normally, within 10 workdays of receipt of the information request, Labor
Relations will let the designated NTEU steward know that the request was received and will let
the steward know an approximate amount of time that will likely take to respond to each item
requested.




Section 13
The Bureau may offer non-binding mediation at any time to resolve the matter during any phase
of the grievance process.




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44. Arbitration
Section 1
A. Upon written notification by either the EMPLOYER or the UNION, any unresolved
      grievance may be appealed to binding arbitration.

B. Such appeals by the Bureau must be hand-delivered, emailed, or sent by certified mail to the
      Union's national president and appeals by NTEU must be hand-delivered, emailed, or sent
      by certified mail to the General Counsel, Legal Division, or designee with a copy to the Lead,
      Labor Relations, Office of Human Capital.




Section 2
The procedure for selecting an arbitrator for grievances arising under this Agreement is set forth
below.

The EMPLOYER and the UNION will continue to use their established panel of arbitrators to
hear disputes brought under this procedure.

A. The arbitration panel will have a minimum of five (5) arbitrators. The panel may contain
      more names upon mutual agreement of the Parties. Cases will be assigned to arbitrators on
      the panel on a rotating basis, in alphabetical order, absent mutual agreement.

B. Replacement arbitrators, as necessary, will be selected based on the following procedures:
      The Parties will first informally discuss the possible arbitrator in an attempt to agree on
      which arbitrator(s) shall become a member of the panel. Absent agreement, the Parties will
      obtain a list of experienced Federal sector labor arbitrators from the Federal Mediation and
      Conciliation Service or any other mutually agreeable source; the cost of any list will be
      shared equally by the Parties. The Parties shall each strike a name from the list until the
      agreed-upon number of arbitrators for the panel remains; a coin toss determining which
      party shall strike first.




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C. Either party may unilaterally remove one arbitrator from the panel during each 12-month
      period of this Agreement by giving notice to the other party. Upon receipt of that notice, no
      further cases will be assigned to that arbitrator, but the arbitrator will hear and decide any
      cases already assigned. Upon removal of an arbitrator from the panel, the Parties will move
      expeditiously to name a replacement. The Parties will use the procedures listed to select any
      replacement arbitrator.

D. Within 30 calendar days after receipt of a request for arbitration, the parties will assign the
case to the next arbitrator on the panel, on a rotational basis.

E. The arbitrator will hear the grievance as promptly as practicable, on a date and at a site,
normally the Employer's premises at or nearest to the grievant's worksite, mutually agreeable to
the parties during regular hours of the basic workweek.

F. Unless mutually agreed otherwise by the parties, if the party invoking a case for arbitration
has not contacted the arbitrator for possible hearing dates within six months, the case will be
deemed to be moot and considered withdrawn. No further arbitration will take place with
respect to the matters covered by that grievance.

G. If the Parties fail to agree on a joint submission of the issue for arbitration, each shall present
a separate submission, with a copy to the other Party, and the arbitrator shall determine the
issue(s) to be heard.




Section 3
A. The arbitrator's fees and all of the arbitrator's expenses, including travel expenses, incurred
      under this procedure shall be borne equally by the parties. Unless the parties agree
      otherwise, a verbatim transcript of the hearing will be made. The parties will share the cost
      of the court reporter and will each bear the expense of the copies of the transcript it obtains.
      The parties will share equally the cost of the transcript supplied to the arbitrator.

B. Once the hearing date has been established, a party unilaterally requesting that an
      arbitration hearing be postponed, delayed, or cancelled for any reason that results in fees
      being charged by the arbitrator or the court reporter will pay any and all fees associated with
      the requested change. The fact that one party has no objection to the request of the other



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      party for postponement, delay, or cancellation of the arbitration hearing will not absolve the
      requesting party from the paying of all the fees being charged.

C. In any case where the parties mutually agree to postpone, delay, or cancel an arbitration
      proceeding, or if the parties settle the matter prior to an arbitration hearing, the parties will
      share equally the cost of any fees being charged by the arbitrator or the court reporter that
      are associated with the requested change.




Section 4
A. The parties will exchange lists of potential hearing witnesses normally within 15 calendar
      days prior to the scheduled hearing. The Employer will make reasonable efforts to produce
      Agency employees as witnesses if requested by the Union. However, each party reserves the
      right to question the relevance or necessity of any potential witness, and the arbitrator will
      resolve any such questions prior to the date of the hearing.

B. Each party has the responsibility and obligation to produce its witnesses on the day of the
      hearing. The grievant and all employees who are called as witnesses will be excused from
      duty to the extent necessary to participate in the arbitration hearing, without loss of pay or
      charge to annual leave.

C. The hearing shall be informal and strict rules of evidence will not apply. The grievant shall
      have the burden of proof by a preponderance of evidence, except where it is otherwise
      allocated by law.

D. Issues may not be raised for the first time at arbitration that were not raised during the
      course of the grievance processing or were not raised during the processing of the adverse or
      performance-based action giving rise to the arbitration.

E. The arbitrator shall have the authority to make all grievability and/or arbitrability
      determinations. The arbitrator may render a decision on issues of grievability and/or
      arbitrability prior to addressing the merits of the original grievance. Absent mutual
      agreement, the parties will be entitled to submit post-hearing briefs, provided that all
      documents given to the arbitrator are also provided to the opposing party's representative at
      the same time.



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F. The arbitrator shall have no power to add to, subtract from, or modify the terms of this
      Agreement. The award will be limited to the issues presented at arbitration. The arbitrator's
      decision will be final and binding, and the arbitrator will have the authority to make an
      aggrieved employee whole, or issue any other remedy, to the extent such remedy is
      consistent with law, rule, and regulation.

G. The arbitrator shall have the obligation of ensuring that all necessary facts and
      considerations are brought before him or her by the representatives of the Parties.

H. Except in cases subject to the expedited procedures set forth as follows in Section 5, the
      arbitrator shall submit his/her decision to the Employer and the Union advocate as soon as
      possible, but in no event later than 30 calendar days following the close of the record or
      receipt of the transcript, whichever is later before him/her, unless the parties waive this
      requirement.

I. Either Party may file an exception to the arbitrator's award with the Federal Labor Relations
      Authority under regulations prescribed by the Authority except that exceptions to an
      arbitrator's award in connection with a grievance filed under Section 1.C.1 of the Grievance
      Procedure, shall be handled in accordance with the requirements of 5 U.S.C. Section 7121(f).
      A copy of such exception shall be provided concurrently to the other Party.

J. An arbitrator has the authority to award reasonable attorney fees in accordance with the
      standards established under 5 U.S.C. Section 5596.




Section 5 -Expedited Arbitration
A. At the UNION's option, any grievance over the following issues may be appealed to
      expedited, binding arbitration rather than the normal arbitration procedure set forth in this
      Agreement:

        1. reprimands and admonishments;

        2. details and reassignments (not including a removal as a result of a directed
            reassignment);

        3. denial of leave requests;


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        4. requests for official time;

        5. individual employee work schedules issues that will only affect a particular employee;

        6. dues withholding;

        7. issues concerning the UNION's access to the EMPLOYER's space or services; or

        8. travel reimbursement issues such as vouchers not being paid on time or the wrong
            amount of money being repaid.

B. By mutual agreement, the Parties may process any other grievable issue under this
      procedure.

C. The UNION has fifteen (15) working days from the date the grievant receives the decision at
      the final step of the Grievance Procedure to invoke expedited arbitration. It will do so by
      notifying the EMPLOYER by email, hand delivery or certified letter within that time limit.
      The letter will indicate whether or not the UNION wishes to use the expedited procedure.

D. Upon written notice to the EMPLOYER that it is invoking this expedited arbitration
      procedure, the UNION will determine the next three (3) available dates of the arbitrator for
      a hearing date acceptable to the parties. Within five (5) workdays of identification of such
      dates, the Parties will select one (1) of those dates, and the selected date shall be the date of
      the hearing. In no case will the hearing be sooner than thirty (30) calendar days after the
      Parties’ selection of the hearing date.

E. The following special procedures will apply to the arbitration of any dispute under expedited
      arbitration procedures:

        1. No briefs may be filed. No transcript will be made, absent mutual agreement.

        2. At the close of the hearing, the Parties may submit copies of precedent setting case
            decisions and/or memoranda outlining legal points and authorities.

        3. The arbitrator will issue a bench decision, if possible. If not, he or she will issue a brief
            written decision within ten (10) workdays of the close of the hearing. If attorney's fees
            are requested as part of the remedy, then the arbitrator may retain jurisdiction to
            consider this issue if consistent with the decision, and briefs may be filed on this issue.



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45. Labor-Management Forum
Section 1
A. The Employer and the Union recognize that a successful Labor-Management program can
      only be achieved by an ongoing exchange of information and discussion of all workplace
      matters affecting bargaining unit employees. For this reason, the Employer and the Union
      agree to the creation of Labor-Management Forum (LMF). The Parties, initially consisting
      of four management representatives and four Union representatives, will establish a Charter
      to outline the framework for the LMF, including but not limited to, number of participants,
      length of meetings, agenda, forum structure, and other procedures.

B. The Forum will be a mechanism to provide the UNION with pre-decisional input in
      workplace matters to the fullest extent practicable, without regard to whether those matters
      are negotiable subjects of bargaining. Workplace matters include substantive and
      operational issues, including those covered by the CFPB Strategic Plan and performance
      objectives, such as staffing, budget, reorganizations, work processes and procedures, and
      other changes to conditions of employment. CFPB management will endeavor to bring all
      significant workplace issues for which changes are being contemplated to the Forum to
      provide the opportunity for UNION and employee input before decisions are made.

C. The Forum may utilize data from the CFPB Annual Employee Survey (AES), the annual
      Federal Employees Viewpoint Survey (FEVS) and other mutually agreed upon sources of
      employee feedback to identify opportunities for workplace improvements.

D. The Forum will meet up to four (4) times per year. Agenda items should normally be
      exchanged 14 calendar days in advance of the meetings. Meetings will not be used for airing
      any grievances that have already been filed or discussing disputes relating to individual
      employees. However, upon mutual agreement, the applicable time limits for filing
      institutional grievances or bargaining proposals will be tolled in order for the parties to
      attempt to resolve the dispute through the LMF.




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E. The Forum will meet in person or via teleconference as determined by the parties. When
      meeting in person, all time spent for travel and meetings will be Union official time, and
      travel will be reimbursed by the Employer.

F. The operation of the LMF is not intended to substitute for the day-to-day relationship
      between the parties.




Section 2
A. All bargaining unit employees participating on any other working groups established by the
      Agency to consider possible changes in working conditions will be selected by the UNION.




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46. Midterm Negotiations
Section 1
A. The Union recognizes that the Employer has the right to exercise its management rights as
      set forth in the Civil Service Reform Act during the life of this Agreement and, in accordance
      with applicable law, rule, regulation and this Agreement, to initiate changes in operational
      and administrative procedures and programs when the Employer determines it is in the best
      interest of CFPB.

B. The Employer recognizes that the Union has the right to bargain over the procedures which
      the Employer will observe in exercising its management rights authority, and/or over
      appropriate arrangements for employees adversely affected by the exercise of the Employer's
      management rights and authorities. This in no way waives any of the Union's rights to
      negotiate to the maximum extent allowable by law.




Section 2
Except in cases of emergency as provided in the Civil Service Reform Act, such as unforeseen
occurrences precluding such notice, the Employer shall provide the Union with reasonable
advance notice of intended changes in personnel policies or practices or conditions of
employment. Written notification of national changes shall be provided to the NTEU National
President or designee, with a concurrent notice to the Chapter President. Notice of local changes
shall be provided to the Chapter President, or designee.




Section 3
If the Union would like to request an official briefing from the Employer, it must request the
briefing within five (5) working days of receipt of the official notice. If the Union wishes to
negotiate concerning the implementation or impact on employees of the proposed change(s)
and substance when permitted by law, the Union will submit written proposals to the Employer


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within ten (10) working days after notification of the proposed change(s) affecting bargaining
unit employees, or ten (10) working days after providing a briefing to the Union, whichever is
later. The Union agrees that any proposals submitted in the context of bargaining will be related
to the proposed change(s) and will not deal with extraneous matters. The union recognizes that
Management will unilaterally implement the change in working conditions if the union does not
submit negotiable proposals during the time frames listed above. Negotiations will normally
begin within five (5) working days after receipt by the Employer of the Union's proposals.
Changes in conditions of employment resulting from these negotiations will not be effective
until the date of execution of any agreement reached, subject to Section 7.C below.




 Section 4
The submission of proposed changes by the Employer and the submission of proposals by the
Union under Sections 2 and 3 above shall not preclude either Party from submitting other
proposals or counterproposals during the course of negotiations.




Section 5
Where negotiating sessions are required, the sessions will be conducted as follows:

A. The Parties will conduct negotiating sessions via telephone, email, or other existing
      technology. CFPB will pay for travel and per diem (for up to four nights) for up to two
      bargaining unit employees up to three times per calendar year to negotiate over substantial
      mid-term initiatives. The Union may unilaterally elect to send representatives to
      Washington, D.C. for negotiating sessions at the Union’s expense (travel, lodging, per diem,
      and any other related expenses). In such instances, the Employer will provide official time
      for such travel, subject to the Article on Official Time.

B. Negotiating sessions will be conducted during the regular administrative workday.

C. When negotiating, the Union bargaining team shall be limited to four (4) employee
      representatives and two (2) National NTEU staff members, unless the Parties mutually agree
      otherwise. The Union may appoint additional members up to the number of Employer




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      members in attendance at the negotiations. The above referenced numbers do not include
      technical experts which may be utilized by the Parties to address specific issues.




Section 6
Agreements negotiated under the provisions of this Article will be subject to agency head
approval pursuant to 5 U.S.C. § 7114(c).




Section 7
A. If an agreement has not been reached, either Party may contact the Federal Mediation and
      Conciliation Service (FMCS) to submit the remaining issues to mediation.

B. If negotiable issues remain outstanding, either Party may proceed to the Federal Service
      Impasses Panel (FSIP) for resolution of all outstanding negotiable issues.

C. The Employer may implement the mid-term initiative at its peril if the only remaining union
      proposals that the Parties have not agreed to are non-negotiable.




Section 8
A. To the extent permitted by law, the Union may initiate mid-term bargaining by proposing
      changes in conditions of employment provided that such changes do not relate to matters
      addressed in this or any other agreement between the Parties, and provided further that
      such changes do not relate to matters over which the Union has waived its right to bargain
      during the negotiation of this Agreement.

B. Notice of changes in conditions of employment proposed by the Union will be served on the
      Employer. The Union's submission shall be limited to five (5) issues per year. Such notices
      will be affected by e-mail, certified mail, or hand delivery to the Lead, Labor Relations.




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47. Work Space and Parking
This Article does not apply when management allocates space to employees as a reasonable
accommodation or management-designated space.


Section 1 - Definitions
A. Bureau Facility refers to any location managed by the Bureau, including headquarters and all
regional offices.

B. Management Designated Space (MDS) refers to space allocated for purposes determined by
Management.

C. New Hires are defined as those new to the Bureau.

D. Work Location Designation is a term assigned to employees based on the location where they
are assigned to perform their job duties and the percentage of time they work there.

E. Types of work location designations available as defined in the Remote, Telework, and
   Hybrid Program Article are (1) Office Primary; (2) Telework Primary; and (3) Remote.


Section 2 - Space Allocation
A. CFPB has determined that it will allocate space in Bureau Facilities when the following
situations occur:

            1. New Hires are onboarded
            2. Employees change their Work Location Designation
            3. An Office Primary employee receives a promotion that changes their space
               allocation designation
            4. A yearly seat selection process
B. Employees will be allocated space within a Bureau Facility based on their Work Location
Designation.

            1. Employees who are considered Office Primary will be assigned space within a
               Bureau Facility in accordance with the space prioritization factors.
            2. Employees who are considered Telework Primary or Remote will not be assigned
                space, but will be offered hoteling space within a Bureau Facility according to
                their current pay band and the space prioritization factors to the extent available.
C. To the extent feasible, CFPB will allocate specific space to employees based on their work
location designation and in accordance with their current pay band:



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             1. Pay bands CN-71 and above will be allocated single offices of at least 120 square
                feet (SF)
             2. Pay band CN-60 will be allocated double offices of at least 150 SF
             3. Pay bands CN-53 and below will be assigned workstations of at least 60 SF
D. CFPB will allocate space to employees based on the following space prioritization factors:

             1. Current pay band
             2. Length of time at the Bureau including:
                             A. Time detailed from the Bureau to other agencies
                             B. Prior tours of duty at the Bureau
                             C. Pathways intern (but otherwise excluding time as a contractor,
                                volunteer, or detailee to the Bureau while employed by another
                                organization)
             3. Length of time in current or higher pay band
             4. Tiebreaker (e.g., coin flip)
E. To the extent feasible, voluntary step-downs (e.g., CN-60 or CN-71 employee selecting a
workstation) for allocated space are permitted, during the yearly seat selection process.



Section 3- Space Amenities
A. Capacity permitting, CFPB will offer subsidized parking at the headquarters location (1700 G
Street) through a reservation system as follows:

        1. Office Primary employees may request a monthly parking space at a rate of $140 per
           month and will be given priority over employees who have not requested monthly
           parking.

        2. All employees, regardless of their Work Location Designation are eligible to park at
           1700 G Street for a daily parking rate of $7 per day if there is sufficient space.
           Employees must reserve and pay for their daily parking spot in advance using the
           reservation system.

B. CFPB will provide a central location with securable lockers at the headquarters facility (1700
G Street) and each of the regional offices for Telework Primary or Remote employees that have
reserved a hoteling space.

C. CFPB will provide Office Primary employees who are assigned a single office, double office or
workstation at a Bureau facility at least one filing cabinet or similar piece of furniture that may
be secured.

D. Upon employee request, CFPB will collaborate with the appropriate division and/or office to
determine if additional storage is needed and the best method to address the need.



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E. CFPB will maintain a fitness center at the Headquarters Facility (1700 G Street).




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48. Ground Rules For Term
Negotiations Matters
Section 1-Purpose
This Article establishes the ground rules the Parties will follow for all Term bargaining matters,
to include any CBA Articles reopened in accordance with this Agreement and compensation
negotiations.




Section 2-Bargaining Teams
A. Each party's bargaining team will consist of up to seven (7) employee members. The Union
team may also include a non-employee national NTEU representative. Each party will designate
one of those team members to serve as the Chief Spokesperson. The Parties will identify their
respective team members no later than one (1) business day before the first day of bargaining.


B. If for any reason a member of either team cannot participate in the negotiations, the Chief
Spokesperson for that member's team may temporarily or permanently replace the team
member. The Chief Spokesperson will provide the other team with the name of the replacement
as soon as possible.

C. Either party may, with advance notice, bring up to five (5) subject matter experts (SMEs) to
each bargaining session; SMEs may be rotated based on the topic(s) being discussed. The party
requesting the presence of SMEs will bear all costs associated with their attendance. There will
be no transcript or recording of any bargaining session, but each party will be allowed to have
one historian present to take notes and will bear all costs associated with their attendance. This
historian may change and may not necessarily be the same person throughout the negotiations.
The historian will have a non-speaking role.




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D. The parties may each invite up to twelve (12) observers to attend each bargaining session that
doesn’t involve confidential compensation information provided to the Bureau by the Board of
Governors of the Federal Reserve System. Observers on both sides will not have a speaking role
and may not disrupt the proceedings in any way and must be identified to the other party in
advance of the bargaining session. To limit any potential disruption, observers will be muted
and may only join with cameras off. The parties agree to the use of a video conferencing
platform that allows for the parties to set the default to muted and camera off for observers.
Bargaining team members with a speaking role will be able to turn on their own cameras and
mics as needed. Observers cannot be changed during a single bargaining session. Morning and
afternoon sessions are considered separate sessions for this purpose.


E. All NTEU team members, subject matter experts, and historians present for any discussion of
confidential compensation information provided to the Bureau by the Board of Governors of the
Federal Reserve System will be required to sign non-disclosure agreements provided by the
Bureau prior to participating in that bargaining session.


F. Except for those specifically included in these Ground Rules, no other individuals will be
permitted at the bargaining sessions without the Parties' mutual consent. SMEs and observers
will be identified to the Parties' representatives at the beginning of each bargaining session.


Section 3- Schedule and Conduct of Bargaining
Sessions
A. Bargaining sessions will be conducted via video conference on the dates agreed upon by the
parties for each negotiation. Bargaining sessions will be held from 10 a.m. to 4:30 p.m. ET
unless otherwise agreed. Changes to this schedule may be made by mutual agreement of the
Parties.


B. The Bureau will provide official time for up to seven (7) bargaining unit employees who
are serving as official bargaining team members, up to two (2) subject matter experts, and one
(1) historian to participate in each bargaining session; official time will not be provided to
observers. A reasonable amount of official time will also be provided to the Union’s bargaining
team members and SMEs to prepare for bargaining. Such time shall be provided following an



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approved request by the employee’s supervisor. Official time will be administered in accordance
with Article 32 of this Agreement.


C. The CFPB will arrange for the release of Union negotiating team members from their normal
duty assignments, with corresponding reductions to their workload, to participate in bargaining-
related activities unless management determines that the employee's absence would
substantially interfere with the Bureau's business needs.


D. Either Chief Spokesperson may call a caucus during the bargaining sessions. The caucusing
party will make every effort to restrict the number and length of these caucuses.


Section 4-Proposals
A. The Bureau and NTEU will exchange initial proposals twenty-four hours before the start of
the first day of scheduled negotiations.

B. When the Parties reach tentative agreement on a topic, the language will be initialed and
dated by the Chief Spokespersons. An original copy of the agreed-to proposal will be provided to
each party. Tentative agreement on topic(s) will not preclude the Parties from reconsidering or
revising the agreed-to topic(s). If agreement cannot be reached on a topic, that topic will be
tabled and the negotiations will proceed. After the Parties have negotiated on all issues and
proposals, they will make a good faith effort to reach agreement on any tabled topics.


Section 5-Impasse Resolution Procedures (5
U.S.C. § 7119)
A. If the Parties are unable to reach agreement despite good faith negotiations, either party may
request the assistance of the Federal Mediation and Conciliation Service (FMCS) in accordance
with law.


B. The Parties will attempt to schedule any assistance provided by the FMCS as soon as
practicable.


C. If an impasse is not resolved through the efforts of the FMCS, either party may request the
Federal Service Impasses Panel (FSIP) to resolve the dispute(s).


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Section 6. Questions of Negotiability
The parties agree that they will not pursue the involvement of the Federal Labor Relations Authority
(FLRA) over any dispute about negotiability until they have attempted to resolve the issue voluntarily. If
the parties are unable to settle these disputes, the Union reserves its right to file a negotiability appeal
with the FLRA.


Section 7. Ratification and Agency Head
Review
A. The Union retains the right to subject any voluntary agreement to ratification. The Union will
have up to thirty (30) days from the date of tentative agreement to ratify the agreement. If the
agreement is not ratified, the Parties will resume negotiations on issues identified by either
party in a manner consistent with the procedures established in these Ground Rules.


B. The Union will promptly notify the Bureau when the agreement has been ratified, or if it
decides not to subject the agreement to ratification.


C. The Agency will have up to 30 days from the date the ratification notice is provided (or the
date of a decision by the FSIP, if the Agreement is imposed) to complete Agency Head Review.
In the event that any provisions are disapproved on Agency Head Review, the entire agreement
covered by these negotiations is disapproved. At that point, the Union may elect to renegotiate
any or all provisions covered by these negotiations. In the event that a discrete provision is (are)
disapproved, the disapproved provision(s) may, by mutual agreement, be severed from the
agreement and the approved portion of the agreement may, by mutual agreement, go into effect.
The Agency will provide the Union with an explanation of why the agreement failed Agency
Head Review within seven (7) working days of the disapproval. Within fifteen (15) working days
of such notice, the parties will commence negotiations. If the parties are unable to reach an
agreement on any remaining issues, either party will request assistance from the FMCS. FMCS
shall determine under what circumstances and in what manner it will provide service and
assistance. In the event that FMCS certifies the parties to be at impasse, either party may
request the assistance of the FSIP.




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49. Duration
Section 1
This Agreement will become effective upon completion of Agency Head Review. However, on
any Article where the Agency needs to conduct training prior to implementation, and such
training cannot be provided prior to the completion of Agency Head Review, the Agency will be
provided up to sixty (60) days to conduct such training prior to implementation of that Article.


Section 2
A. This Agreement shall remain in effect for a period of four (4) years from its effective date and
shall be automatically renewable for additional one (1) year periods unless either Party notifies
the other Party, in writing, at least sixty (60) days, but not more than one hundred five (105)
days prior to the expiration date of its intention to re-open, amend, modify, or terminate this
Agreement. Such written notice shall be accompanied by a statement of the Article(s) in the
Agreement that the Party desires to modify.

B. If negotiations on a new Agreement are not concluded prior to the expiration date, this
Agreement shall continue in full force until a new Agreement has been approved.


Section 3
During the thirty (30) day period beginning twenty-four (24) months after the effective date of
this Agreement, either Party may reopen negotiations on any two (2) existing Articles (with the
exception of Articles 2, 3, 5, 9, 12, 22, 31-34, 37-39, 41, 43-47, and 49) or MOUs (as stated in
Section 4). The request must be in writing and shall be accompanied by specific proposals. The
Parties shall begin negotiations no later than thirty (30) days after receipt of the notice.
However, in order to exercise the rights set forth in this Section, either party must notify the
other party and hold a meeting followed by written notice of its intent to exercise this right
within sixty (60) days of the effective date of this Agreement.




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Section 4
Absent an express provision to the contrary, all MOUs agreed to by the Employer and the Union
prior to the effective date of this Agreement shall remain in effect for the duration of this
Agreement, provided that such agreements do not contain terms and conditions in conflict with
this Agreement, law, or regulation. Either party shall have the right to reopen such agreements
in accordance with this Article, either as part of the midterm reopener (per Section 3 above) or
upon the expiration of this term Agreement, or as expressly provided under the terms of the
MOU.

This Agreement is executed on this 23rd day of October 2024:

For the Consumer Financial Protection                 For the National Treasury Employees Union
Bureau

_____________________________                         _____________________________
Brian Sherry                                          Stephen Keller
Chief Negotiator, CFPB                                Chief Negotiator, NTEU
Collective Bargaining Negotiation – Team              Collective Bargaining Negotiation – Team
Members:                                              Members:
Ari Taragin Director, Labor Relations                 Cat Farman, Chapter President
Christine Vosseller,                                  Cynthia Woerner, NTEU National Field
Project Manager and Historian                         Representative

                                                      Jasmine Hardy, Executive Vice-President

                                                      Ricky Boirard, Vice-President of the Field

                                                      Tracey Brumfield, Treasurer

                                                      Charles Perkins, Steward

                                                      Carmen Cruz, Steward

                                                      Justin Irons, Historian




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